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     1               IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
     2                            EASTERN DIVISION
     3
          IN RE NATIONAL PRESCRIPTION          | MDL No. 2804
     4                                         |
          OPIATE LITIGATION                    | Case No. 17-MD-2804
     5                                         |
          APPLIES TO ALL CASES                 | Hon. Dan A. Polster
     6
     7                                   - - -
     8                       Tuesday, April 23, 2019
     9                                   - - -
   10              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   11                         CONFIDENTIALITY REVIEW
   12                                    - - -
   13
   14
   15               VIDEOTAPED DEPOSITION of MATTHEW PERRI, III,
          BS Pharm, Ph.D., RPh, held at Jones Day,
   16     1420 Peachtree Street, N.E., Suite 800, Atlanta,
          Georgia, commencing at 9:28 a.m., on the above date,
   17     before Susan D. Wasilewski, Registered Professional
          Reporter, Certified Realtime Reporter and Certified
   18     Realtime Captioner.
   19
   20
   21                                    - - -
   22                       GOLKOW LITIGATION SERVICES
   23                877.370.3377 ph | 917.591.5672 fax
   24                             deps@golkow.com
   25

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                                                        Page 2                                                   Page 4
    1 APPEARANCES:                                                1   APPEARANCES:
    2 Counsel for Plaintiffs:                                     2   Counsel for Teva Pharmaceuticals USA, Inc.,
    3  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP                        Cephalon, Inc., Watson Laboratories, Inc., and
         BY: MARK P. CHALOS, ESQUIRE                              3   Actavis LLC:
    4       mchalos@lchb.com                                      4    MORGAN LEWIS & BOCKIUS, LLP
         222 2nd Avenue South, Suite 1640                              BY: MELISSA M. COATES, ESQUIRE
    5    Nashville, Tennessee 32701-2379                          5       melissa.coates@morganlewis.com
         Phone: (615) 313-9000                                         200 South Biscayne Boulevard, Suite 5300
    6                                                             6    Miami, Florida 33131
    7    CRUEGER DICKINSON LLC                                         Phone: (305) 415-3000
         BY: KRISTA K. BAISCH, ESQUIRE                            7
    8       kkb@cruegerdickinson.com                              8
         4532 North Oakland Avenue                                    Counsel for Rite Aid:
    9    Whitefish Bay, Wisconsin 53211                           9
         Phone: (414) 210-4367                                         MORGAN LEWIS & BOCKIUS, LLP
   10                                                            10    BY: MATTHEW R. LADD, ESQUIRE
   11                                                                     matthew.ladd@morganlewis.com
        Counsel for Endo Health Solutions Inc.,                  11    101 Park Avenue
   12 Endo Pharmaceuticals Inc., Par Pharmaceutical, Inc.,             New York, New York 10178-0060
        Par Pharmaceutical Companies, Inc., f/k/a Par
                                                                 12    Phone: (212) 309-6000
                                                                 13
   13 Pharmaceutical Holdings, Inc.
   14  ARNOLD & PORTER KAYE SCHOLER LLP
                                                                 14   Counsel for AmerisourceBergen Corporation and
         BY: SEAN HENNESSY, ESQUIRE                                   AmerisourceBergen Drug Corporation:
                                                                 15
   15       sean.hennessy@arnoldporter.com                             REED SMITH LLP
         601 Massachusetts Avenue, NW                            16    BY: JOSEPH MAHADY, ESQUIRE
   16    Washington, D.C. 20001-3754                                      jmahady@reedsmith.com
         Phone: (202) 942-5000                                   17    1717 Arch Street, Suite 3100
   17
   18                                                                  Philadelphia, Pennsylvania 19103
        Counsel for Walgreens Defendants:
                                                                 18    Phone: (215) 851-8100
                                                                 19
   19
         BARTLIT BECK LLP
                                                                 20   Counsel for Johnson & Johnson and the Janssen
   20    BY: LESTER C. HOUTZ, ESQUIRE
                                                                      Pharmaceuticals Defendants:
                                                                 21
            lester.houtz@bartlit-beck.com                              O'MELVENY & MYERS LLP
   21    1801 Wewatta Street, Suite 1200                         22    BY: ROSS B. GALIN, ESQUIRE
         Denver, Colorado 80202                                           rgalin@omm.com
   22    Phone: (303) 592-3100                                   23    7 Times Square
   23                                                                  New York, New York 10036-6537
   24                                                            24    Phone: (212) 326-2000
   25                                                            25

                                                        Page 3                                                   Page 5
    1 APPEARANCES:                                                1 APPEARANCES:
    2 Counsel for McKesson Corporation:                           2 Counsel for Cardinal Health, Inc.:
    3  COVINGTON & BURLING LLP                                    3  WILLIAMS & CONNOLLY LLP
       BY: MEGAN L. RODGERS, ESQUIRE                                   BY: JOSHUA D. TULLY, ESQUIRE
    4     mrodgers@cov.com                                        4       jtully@wc.com
       3000 El Camino Real                                             725 Twelfth Street, N.W.
    5  5 Palo Alto Square, 10th Floor                             5    Washington, D.C. 20005
       Palo Alto, California 94306-2112                                (202) 434-5000
    6  Phone: (650) 632-4700                                      6
    7                                                             7
    8   Counsel for Purdue Pharma L.P., Purdue Pharma Inc.,           Counsel for Mallinckrodt LLC:
        and The Purdue Frederick Company:                         8
    9                                                                  ROPES & GRAY LLP
         LYNN PINKER COX HURST                                    9    BY: ELIZABETH BIERUT, ESQUIRE
   10    BY: JOHN VOLNEY, ESQUIRE                                         elizabeth.bierut@ropesgray.com
            jvolney@lynnllp.com                                  10    1211 Avenue of the Americas
   11    2100 Ross Avenue, Suite 2700                                  New York, New York 10036-8704
         Dallas, Texas 75201                                     11    Phone: (212) 596-9000
   12    Phone: (214) 981-3800                                   12
   13
   14   Counsel for Walmart Inc., f/k/a Wal-Mart Stores,              APPEARANCES VIA TELEPHONE AND STREAM:
                                                                 13
        Inc.:                                                         Counsel for the Henry Schein Defendants:
   15
                                                                 14
         JONES DAY                                                     LOCKE LORD LLP
   16    BY: EDWARD M. CARTER, ESQUIRE                           15    BY: BRANDAN MONTMINY, ESQUIRE
            emcarter@jonesday.com                                         brandan.montminy@lockelord.com
   17    325 John H. McConnell Boulevard, Suite 600
         Columbus, Ohio 43215                                    16    2200 Ross Avenue, Suite 2800
   18    Phone: (614) 649-3939                                         Dallas, Texas 75201
   19                                                            17    Phone: (214) 740-8445
   20 Counsel for Allergan Finance, LLC:                         18
   21  KIRKLAND & ELLIS LLP                                      19 Counsel for H.D. Smith LLC:
       BY: ERICA B. ZOLNER, ESQUIRE                              20  BARNES & THORNBURG LLP
   22     erica.zolner@kirkland.com                                    BY: MONIQUE HANNAM, ESQUIRE
          ZACHARY A. CIULLO, ESQUIRE                             21       hannam@btlaw.com
   23     zac.ciullo@kirkland.com                                      11 South Meridian Street
       300 North LaSalle Street                                  22    Indianapolis, Indiana 46204
   24  Chicago, Illinois 60654                                   23   ALSO PRESENT:
       Phone: (312) 862-3247                                     24    JOSHUA COLEMAN, Videographer
   25                                                            25    JONATHAN JAFFE, jjaffe@its-your-internet.com

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    1                 ---                                              1                   ---
    2                INDEX                                             2         THE VIDEOGRAPHER: We are on the record. My
    3                 ---                                              3     name is Josh Coleman. I'm the videographer for
    4 Testimony of: MATTHEW PERRI III, BS Pharm, Ph.D., RPh
                                                                       4     Golkow Litigation Services. Today's date is
    5                                 PAGE
    6     DIRECT EXAMINATION BY MR. VOLNEY............ 9               5     April 23rd, 2019. The time is approximately
    7     CROSS-EXAMINATION BY MS. RODGERS............ 204             6     9:28 a.m.
    8     CROSS-EXAMINATION BY MR. LADD............... 309             7         This deposition is being held in Atlanta,
    9     CROSS-EXAMINATION BY MR. CARTER............. 337             8     Georgia, in the matter of In Re: National
   10                                                                  9     Prescription Opiate Litigation for the United
   11              EXHIBITS
                                                                      10     States District Court, Northern District of Ohio,
   12          (Attached to transcript)
   13 MATTHEW PERRI DEPOSITION EXHIBITS                   PAGE
                                                                      11     Eastern Division.
   14 Perri Exhibit 1 Expert Report of Matthew Perri 11               12         The deponent is Matthew Perri. Counsel will
                 III, BS Pharm, PhD, RPh                              13     be noted on the stenographic record.
   15            March 25, 2019                                       14         The court reporter is Susan Wasilewski, who
   16 Perri Exhibit 2 Curriculum Vitae           11                   15     will now swear in the witness.
                 Matthew Perri III
                                                                      16         THE COURT REPORTER: Would you raise your
   17
      Perri Exhibit 3 Schedule 2: Perri Prior     11
                                                                      17     right hand?
   18            Testimony and Depositions                            18         Sir, do you solemnly swear or affirm the
   19 Perri Exhibit 4 Chapter 5 - Place: The      207                 19     testimony you're about to give will be the truth,
                 Pharmaceutical Industry Supply                       20     the whole truth, and nothing but the truth?
   20            Chain                                                21         THE WITNESS: Yes, I do.
   21 Perri Exhibit 5 Schedule 10: Marketing Messages 247
                                                                      22         THE COURT REPORTER: Thank you.
   22
                                                                      23         MATTHEW PERRI, III, BS Pharma, Ph.D., RPh,
   23
   24                                                                 24   called as a witness by the Track One Defendants,
   25                                                                 25   having been duly sworn, testified as follows:

                                                             Page 7                                                     Page 9
    1              EXHIBITS                                            1              DIRECT EXAMINATION
    2          (Attached to transcript)
    3 MATTHEW PERRI DEPOSITION EXHIBITS                       PAGE
                                                                       2   BY MR. VOLNEY:
    4                                                                  3     Q. Dr. Perri, my name is John Volney. I
      Perri Exhibit 6 A Practical Introduction to the 247              4   represent Purdue Pharma in this case. I'm here to
    5            Use of Opioids for Chronic Pain
                 By Jennifer P. Schneider, MD                          5   take your deposition as an expert for the plaintiffs
    6            MCKMDL00578003 through 578009                         6   in the matter. You understand that?
    7 Perri Exhibit 7 PBI Prescribing Course Module 247
                 1: Principles of Pain
                                                                       7     A. I do.
    8            Management & Ethical Treatment                        8     Q. Have you given a deposition before?
                 11-15-14                                              9     A. Yes, I have.
    9            Jennifer P. Schneider
                 MCKMDL00577963 through 577991                        10     Q. How many times?
   10                                                                 11     A. In matters like this, three, I believe,
      Perri Exhibit 8 E-mail - Subject: Campaign       253
   11            3578-AMI-Mallinckrdt
                                                                      12   three times.
                 Hydrocodone has been Released!                       13     Q. So --
   12            MCKMDL00546914 through 546916                        14     A. Possibly four.
   13 Perri Exhibit 9 E-mail - Subject: Pain Care     266
                 Forum                                                15     Q. So you understand how the process works?
   14            PPLP004086826 and 4086827                            16     A. Yes, I do.
   15 Perri Exhibit 10 Expert Report of Matthew Perri 286
                 III, BS.Pharm, Ph.D., R.Ph.
                                                                      17     Q. So it's going to be important today that you
   16            JM Smith Corporation v Cherokee                      18   let me finish my question before you begin your
                 Pharmacy, et al.                                     19   answer. Understand?
   17
   18                                                                 20     A. I do.
   19                                                                 21     Q. And I'll do the same. I will try to provide
   20
   21
                                                                      22   you the courtesy of letting you finish your question
   22                                                                 23   before I ask my next question. Is that fair?
   23                                                                 24     A. It's fair, and I appreciate that.
   24
   25                                                                 25     Q. And you understand that it's your obligation

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    1   today to tell the truth?                                    1        MR. VOLNEY: Counsel had asked for copies.
    2     A. Yes.                                                   2     I might shoot some across the table here.
    3     Q. Is there any reason why you can't testify              3           (Discussion off the record.)
    4   fully and truthfully today? For example, are you            4   BY MR. VOLNEY:
    5   taking any medications?                                     5     Q. Now, let's look at your -- your -- you've
    6     A. I'm not taking anything that would interfere           6   identified yourself as a -- an expert in
    7   with my ability to testify or to tell the truth,            7   pharmaceutical marketing. What academic degrees do
    8   yes.                                                        8   you hold?
    9     Q. Okay. So I think it's going to be a bit of             9     A. So I have a BS in pharmacy from Temple
   10   a slog. It might last for two days, so if you need         10   University, Philadelphia, Pennsylvania, and a Ph.D.
   11   a break, please let me know.                               11   in pharmacy and marketing from the University of
   12     A. I definitely will do that.                            12   South Carolina.
   13     Q. And I just ask that if there is a pending             13     Q. When did you get your BS in pharmacy?
   14   question, you answer that question before we take          14     A. I received my BS from Temple University,
   15   the break. Understand?                                     15   Philadelphia, 1981.
   16     A. Agreed.                                               16     Q. And then when did you get your Ph.D.?
   17     Q. Now, last point, it's important that you              17     A. And the Ph.D. from the University of South
   18   answer verbally, meaning it's hard for Susan to take       18   Carolina was in 1985.
   19   down nods of the head or shakes of the head. So you        19     Q. In connection with your education as a -- at
   20   understand you're to give a verbal answer?                 20   Temple University, did you take any courses related
   21     A. I do.                                                 21   to Schedule II or narcotic drugs?
   22     Q. All right. Now, you've been identified as             22     A. I don't remember specific courses; however,
   23   an expert by the plaintiffs in this case. What is          23   I know that the Schedule II or narcotic, or just
   24   the subject matter of your expertise?                      24   controlled substances, would have been covered in
   25     A. The subject matter of my expertise is                 25   pharmacology. They would have been covered in

                                                       Page 11                                                           Page 13
    1   pharmaceutical marketing.                                   1   dispensing labs where we learned the dispensing
    2     Q. Now, I've premarked a few exhibits there in            2   process and procedures for controlled substances
    3   front of you.                                               3   versus others.
    4         (Perri Exhibit 1 was marked for                       4         So I feel certain that there were lectures
    5   identification.)                                            5   and exercises at Temple. However, I don't believe
    6   BY MR. VOLNEY:                                              6   we had an entire course that was devoted to
    7     Q. Could you confirm for me that the report               7   controlled substances.
    8   that you've issued in the case, without the                 8     Q. Did you have any course work -- have you had
    9   schedules, I've marked as Exhibit 1?                        9   any course work in your educational career related
   10         MR. CHALOS: Do you have another copy of              10   to controlled substances, other than what you just
   11     that?                                                    11   explained to me?
   12         MR. VOLNEY: Sure.                                    12     A. Just for clarification, I would -- I want to
   13     A. Yes. Exhibit 1 is the -- entitled Expert              13   distinguish, you know, that in my overall career,
   14   Report of Matthew Perri, III.                              14   there may have been a continuing education program
   15         (Perri Exhibit 2 was marked for                      15   or something like that, and I would have to look
   16   identification.)                                           16   back and see.
   17   BY MR. VOLNEY:                                             17         So I feel certain that at some point in
   18     Q. And then Exhibit 2 is a copy of your CV?              18   time, I've either been required to take a controlled
   19     A. Yes, it is.                                           19   substances CE, either by South Carolina or Georgia.
   20         (Perri Exhibit 3 was marked for                      20   However, I don't think it's been any formal course
   21   identification.)                                           21   work, which is what I think the gist of your
   22   BY MR. VOLNEY:                                             22   question was.
   23     Q. And then Exhibit 3 is a copy of your prior            23     Q. Correct. Let's look at -- let's look at
   24   testimony in the last four years, fair?                    24   your CV. I think there's a -- I think you've
   25     A. Yes, it is.                                           25   indicated in your CV and also in your report that

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    1   you are a member of the Georgia Drug Utilization             1   each drug class that's being considered on that
    2   Review Board?                                                2   meeting. And so as part of that review, we would be
    3     A. Yes.                                                    3   reviewing studies.
    4     Q. Are you currently a member?                             4         However, there wouldn't be any marketing
    5     A. Yes.                                                    5   material, but there is also what they called the
    6     Q. Tell me, what is -- is that sometimes                   6   manufacturers' forum, where manufacturers are
    7   referred to as the DURB?                                     7   allowed to come and present their views on their
    8     A. DURB.                                                   8   drugs, which gets incorporated into that meeting.
    9     Q. DURB. What does the DURB do?                            9   The manufacturers forum does.
   10     A. The Drug Utilization Review Board, or DURB,            10         So yes and no. I guess I saw some marketing
   11   is the advisory committee to the state of Georgia's         11   materials over the years. I don't recall any
   12   Medicaid that recommends changes to their preferred         12   specific documents, but the board itself, in making
   13   drug list to ensure the health of the citizens in           13   decisions, would have reviewed primarily clinical
   14   the state of Georgia.                                       14   information, but at the same time, as practitioners,
   15         And in that capacity, we review clinical              15   we would have also been exposed to marketing efforts
   16   information. We evaluate drugs by class and make            16   that may have been present.
   17   decisions regarding their status on the formulary,          17     Q. Do you -- do you recall any specific
   18   which we recommend to the department. It's up to            18   marketing materials that you reviewed in connection
   19   the department to make final decisions.                     19   with your service on the DURB? And obviously I'm
   20     Q. How long have you been on the DURB?                    20   talking about marketing materials for opioid
   21     A. I started working on the Drug Utilization              21   painkillers.
   22   Review Board in about 2001, and I served on the             22     A. I don't remember a specific document, but as
   23   board for a few years before I was appointed                23   I said, I know that I was exposed to documents
   24   chairman of that board. Traditionally, chairmen             24   during that time period by -- in particular, one
   25   serve a one- or two-year term, and I think I served         25   salesman that -- sales representative that -- that

                                                        Page 15                                                         Page 17
    1   about five or six or seven years as chairman                 1   did call on me in his capacity as a sales rep, both
    2   eventually and then retired from the board in 2012,          2   as -- through my position as UGA, where I was
    3   and then in 2018 I was asked to come back, so I did.         3   director of clinical practice, and the service on
    4     Q. So you've been on the DURB for                          4   the DURB board.
    5   approximately -- I guess your first go-round was 11          5     Q. Do you recall the particular manufacturer
    6   years, and now you're back on as of 2018?                    6   that that sales represented -- representative
    7     A. Yes.                                                    7   represented?
    8     Q. Do you know whether any of the Schedule II              8     A. I do.
    9   opioid painkillers that are at issue in this lawsuit         9     Q. Which one was it?
   10   are on the approved list for the DURB?                      10     A. It was Purdue.
   11     A. I believe some of them are, yes.                       11     Q. What do you recall about your meeting with
   12     Q. In your role as a board member and then                12   that sales rep?
   13   chair, did you consider any materials that you would        13     A. He was very friendly. He was very dedicated
   14   be -- that you would consider to be marketing               14   to his job. He was pretty persistent in getting --
   15   materials for those opioid pain killers?                    15   trying to set up meetings to come and talk to the
   16     A. I'm trying to -- to think about what the               16   clinical practice group at the College of Pharmacy.
   17   right answer to that question is. I know over the           17   And I honestly don't recall whether he was ever
   18   years I've been exposed to marketing materials              18   successful. I think we tried to set up meetings.
   19   related to opioids. I don't recall any specific             19   I'm not sure that a meeting ever occurred.
   20   documents. I actually recall a salesman or two, but         20     Q. Do you know what time frame these
   21   I don't -- I don't recall any specific documents or         21   interactions occurred, or do you recall?
   22   marketing materials.                                        22     A. It had to be between 2001 and 2005,
   23         I do recall -- as part of the DURB board              23   somewhere in that time period.
   24   process, we receive, before each meeting, a clinical        24     Q. Who puts together the clinical binder that
   25   binder, which is a clinical review of each drug or          25   the DURB considers?

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    1     A. Over time, it's been different people, but              1   prior authorization criteria for Northstar, that is
    2   in my -- to the best of my recollection, the only            2   the agent that actually solidifies those criteria.
    3   one I'm familiar with in recent 10 years is                  3         But generally it's just a recommendation.
    4   Northstar Healthcare Consulting. They're located in          4   We don't set the criteria. We don't evaluate the
    5   Alpharetta, Georgia.                                         5   criteria. We just examine the formulary and make
    6     Q. Does -- I take it that the DR -- DURB                   6   recommendations.
    7   decides both what drugs to add to the preferred drug         7     Q. And the formulary that we're talking about
    8   list, correct?                                               8   is a formulary of drugs would be made available to
    9     A. They -- they decide what drugs they will                9   Georgia Medicaid --
   10   recommend to be added to the drug list.                     10     A. Yes.
   11     Q. Fair. Recommend. Does -- is there a --                 11     Q. -- patients?
   12   does the DURB have a role to consider what drugs it         12     A. And, sorry, forgive me for calling it a
   13   might recommend to be removed from the list?                13   formulary. I try to always refer to it as the
   14     A. So just to clarify, a preferred drug list,             14   preferred drug list, or PDL, but, essentially, it's
   15   you can't really not cover something. As long as            15   a formulary. It's just a more open version of that
   16   the manufacturer participates in the rebate program,        16   because of the Medicaid rebates.
   17   their drugs get in the formulary, but we have other         17     Q. Is the PDL published?
   18   tools at our disposal, primarily preferred or               18     A. Yes, it is.
   19   nonpreferred status and prior authorization or step         19     Q. And something I could find online?
   20   therapy.                                                    20     A. Yes, you can. I know that if you go to the
   21          So we don't really remove a drug, which is           21   Department of Community Health website, you can go
   22   what I think your question was asking me, but we can        22   right now and look and see what the status of every
   23   make it more difficult to get to a drug.                    23   drug is, whether it's preferred, nonpreferred, prior
   24     Q. And what are the ways you make it more                 24   authorization.
   25   difficult to get to a drug?                                 25     Q. How often does the DURB meet?

                                                          Page 19                                                         Page 21
    1     A. Initially, it would be preferred versus                 1     A. Over the years, we've met as often as
    2   nonpreferred status, which you might be familiar             2   monthly, but traditionally we meet quarterly.
    3   with in terms of tiers, a first, second, or fourth           3     Q. What -- is there a record of the meetings
    4   tier in a formulary. Preferred drug status has a             4   that occur, like the minutes of the meeting?
    5   lower copay and is -- generally, there is no barrier         5     A. As far as I know, Georgia Open Records
    6   to prescribing that drug.                                    6   requires those meetings, except for the executive
    7         A nonpreferred drug has some barrier, but              7   sessions, to have their minutes maintained in an
    8   really, it's insignificant.                                  8   archive and available to the public.
    9         But prior authorization is the most potent             9     Q. Are the clinical binders that the DURB
   10   tool that we possess, and prior authorization can           10   considers maintained?
   11   dramatically change the utilization of a drug.              11     A. That's a good question. I don't know. I do
   12     Q. How does prior authorization work?                     12   know that when I receive those binders, that they
   13     A. Prior authorization works through the                  13   are -- as the materials in this case, they're always
   14   process where the prescriber has to basically make a        14   marked confidential and not for distribution. So I
   15   case for why the patient needs that particular drug,        15   don't know what the rules are about that.
   16   rather than one that is not required for prior              16     Q. Earlier, when I was asking you questions
   17   authorization or does not require prior                     17   about your meetings with sales representatives for
   18   authorization, and hopefully is, you know, either           18   drug manufacturers, you indicated that you had met
   19   preferred status or nonpreferred without prior              19   at least one representative for Purdue. I take it
   20   authorization.                                              20   that that was not in connection with your service on
   21         Prescribers generally have to, either                 21   the DURB? That was some other reason you met with
   22   through a phone call or a letter or a fax, justify          22   them?
   23   the need in that particular patient.                        23     A. Actually, I was introduced to him through
   24         And the prior authorization criteria can be           24   the Drug Utilization Review Board, and he then, I
   25   anything. We have, from time to time, recommended           25   guess, also learned that I was director of clinical

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    1   pharmacy practice at the university, and that I had           1 However, the -- to say that we didn't consider that
    2   a team of about 10 faculty who were working in                2 would probably not be true because any of us who
    3   community practice that he felt would be a good               3 were exposed to any marketing materials would
    4   group for him or someone from his company to meet             4 probably have been exposed to a package insert at
    5   with.                                                         5 some point as well.
    6     Q. And sitting here today, you don't recall                 6       I don't think we would rely on that very
    7   whether that meeting between him and the clinical             7 heavily, but it probably would have been present in
    8   practice ever took place?                                     8 the mix of things we looked at.
    9     A. I feel like we set up a meeting, but if it               9    Q. So obviously when a DURB board member shows
   10   took place, I don't think I was there. We used to            10 up for the board meeting, he or she can't erase from
   11   have a -- Friday mornings were kind of a regroup for         11 his mind his or her practice experience and what
   12   the group. We would come together, you know, review          12 they were exposed to outside of the DURB; fair?
   13   the week's activities, plan the next week's                  13    A. Yeah. I certainly think it's fair to say
   14   activities.                                                  14 that -- that the experience that you bring to
   15         And we also, from time to time, had                    15 that -- through your clinical experience is valuable
   16   continuing education or in-services by either one of         16 to the board, and it would be very hard to filter it
   17   our group or somebody from the outside. And as I             17 out, number one. And number two, I don't think we
   18   said, I just don't ever recall that occurring with           18 would want them to filter that out.
   19   regard to -- it might have. I just don't recall.             19      Q. How many members are on the DURB?
   20     Q. Does the -- in connection with its review of            20      A. The board has fluctuated in size over time.
   21   drugs to determine whether to recommend to put them          21   I think there are currently about 12 or 14 members.
   22   on the PDL, does the DURB consider marketing                 22   Back when I was serving as chairman, there were as
   23   materials?                                                   23   many as 20 to 22 members for a period of time. The
   24     A. I think to the extent that as practitioners,            24   board, as I said, has fluctuated in size.
   25   most of them are exposed to marketing efforts, that          25         The difference has been when managed

                                                         Page 23                                                          Page 25
    1   that's going to factor into their decision-making in          1   Medicaid versus fee for service Medicaid first
    2   some way. I think literature would certainly                  2   started, we had representatives from all the
    3   support that the external stimuli of -- of                    3   different managed care organizations.
    4   marketing, it's hard to filter out.                           4         That has changed. Now we've gone back to
    5         I do think that -- that we try to rely                  5   just a standard board with the appropriate
    6   primarily on the scientific evidence when possible,           6   representation from different types of physicians,
    7   practice experience when possible, and other                  7   pharmacists, nurses, consumers, and so forth. So
    8   information as it is -- as it's presented or as               8   the numbers have -- have changed, as well as the
    9   we're exposed to it.                                          9   composition.
   10     Q. When you talk about the DURB members relying            10     Q. How many physicians are -- is there a set
   11   on scientific evidence, what kinds of scientific             11   number of physicians who need to be on the DURB?
   12   evidence are you talking about?                              12     A. I think they have rules, and I haven't
   13     A. Well, the -- for example, the clinical                  13   reviewed those lately. I know back when I was
   14   binders that are produced by Northstar Healthcare            14   chairman back in the mid-2000s, I was -- I was aware
   15   Consulting, they usually are a summary of the most           15   of what those ratios needed to be, but I really
   16   relevant and most recent research related to any             16   don't know what they are now.
   17   particular drug or drug class.                               17     Q. But there's physicians? There's nurses?
   18         So there may be a clinical trial, a review             18     A. We have had nurses. I know -- I know we
   19   paper, a review of physiology or pathophysiology,            19   attempt to have a good representation of physicians,
   20   and so it -- those are generally not promotional.            20   pharmacists, and some type of nurse or consumer
   21   They are intended to be more pure science.                   21   advocate or somebody that's not necessarily directly
   22     Q. Does the DURB look at or consider the                   22   tied into the medical profession as a -- as a
   23   package insert created for particular drugs?                 23   representative on the board.
   24     A. I know that we've never, to my knowledge,               24         And I could look, if -- if you'd like, to
   25   reviewed a package insert at a DURB board meeting.           25   see what the board's composition is now, because I

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    1   think I know what everybody does, but it would be          1     Q. Is that -- the way I asked my question
    2   hard to remember without looking.                          2   before was whether you talked to any DURB board
    3      Q. In connection with putting together your             3   member. I take it if I'd asked you, have you talked
    4   expert opinions in this case, did you interview or         4   to any practitioner in connection with putting
    5   talk to any DURB board members?                            5   together your expert opinions in this case, the
    6      A. I think the answer to that is yes, but               6   answer would be "no." Is that right?
    7   not -- it wasn't a formal interview. The coauthor          7     A. No, that would not be correct.
    8   of the Pharmaceutical Market textbook is Brent             8     Q. Okay. What practitioners have you talked
    9   Rollins, and Brent is a former student of mine. He         9   to?
   10   earned his Ph.D. back around 2008 or '09, I think.        10     A. I did make an inquiry of two pharmacist
   11         And Brent, when I retired from the board, he        11   colleagues about the ordering of CIIs. I used to
   12   was admitted to the board. And I do recall asking         12   work for Walmart and --
   13   him about this -- not this case, but I remember           13     Q. Sorry. Hold that thought. There is a phone
   14   asking him if the sales rep that I used to know back      14   issue. They can't hear. So let's --
   15   when I was on the board was still around. And so          15         THE VIDEOGRAPHER: We are now going off the
   16   it's not really an interview, but I did ask him that      16     video record. The time is currently 9:52 a.m.
   17   question.                                                 17       (Recess from 9:52 a.m. until 9:55?a.m.)
   18      Q. What did you learn?                                 18         THE VIDEOGRAPHER: We are now back on the
   19      A. He said that he indeed was up until very            19     video record. The time is currently 9:55 a.m.
   20   recently.                                                 20   BY MR. VOLNEY:
   21      Q. Did you make any effort to contact that             21     Q. So, Dr. Perri, before we had this
   22   sales rep?                                                22   interruption, I'd asked you a question about what
   23      A. No, I did not.                                      23   practitioners you talked to in connection with
   24      Q. Why were you asking Mr. Rollins about               24   arriving at your opinions in this case. And you
   25   whether that sales rep was still around?                  25   indicated that you had talked to two pharmacists?

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    1     A. I asked Dr. Rollins that question --                  1     A. Two pharmacist colleagues, that's right.
    2     Q. Sorry, Dr. Rollins.                                   2     Q. Okay. Who did you talk to and why?
    3     A. Yes.                                                  3     A. First it was Nancy Shepherd and Andy Hassel.
    4     Q. Apologies?                                            4   And Nancy is a former Walmart employee, and Andy is
    5     A. It's okay. I asked him that question just             5   a former CVS employee.
    6   to -- just out of curiosity. I remember -- it was          6         And I wanted to verify with Nancy that my
    7   actually -- I remember his name was Michael Packer.        7   recollection of Walmart's ordering of CIIs and CIIIs
    8   And I asked him, just because I was curious if he          8   through V was consistent with her recollection. And
    9   was -- you know, given the fact that the opioids           9   with Andy, because I've never worked with CVS, I
   10   were in the news lately, if Michael was still around      10   wanted to verify how they did order CIIs at CVS.
   11   and/or, you know, anybody in terms of the sales of        11         The reason behind that was because I was
   12   the opioids.                                              12   able to locate information for, for example,
   13     Q. So other than your conversation with                 13   Walgreens on how they did their ordering and so
   14   Dr. Rollins, do you recall any other conversations        14   forth, but I was not able to nail that down for
   15   with any DURB board member in connection with             15   Walmart or CVS. So I wanted to make sure that I had
   16   putting together your expert opinions in this case?       16   the right information in terms of what their
   17     A. Actually, the conversation with Dr. Rollins          17   ordering practices were.
   18   wasn't in connection to this. It was just                 18         So those were related to the manufacturers
   19   curiosity, but just in the interest of full               19   as much as it did to just CVS and Walmart.
   20   disclosure, I wanted to know -- I wanted you to know      20     Q. So what we talk about CIIs or CIIIs or CIVs
   21   that I did ask him that question.                         21   or CVs, what are we talking about?
   22     Q. Got it.                                              22     A. Controlled substances that usually have
   23     A. No. I have not discussed, for purposes of            23   special handling and ordering possibly. And is
   24   this report, any -- I haven't asked or interviewed        24   your -- is your question intended to how they
   25   anyone regarding my preparation of this report.           25   were -- how they were ordered for those -- what I

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    1   found, or something different?                               1   diet and exercise recommendations. We followed and
    2     Q. Well, it's, like, what are they and then why            2   maintained their refills, for example, for blood
    3   did it matter to you?                                        3   pressure, cholesterol medicine, and did wellness
    4     A. The -- it mattered because the -- the issue             4   assessments, followed diabetes, followed
    5   of -- the marketing issue of distribution is                 5   anticoagulation, those activities.
    6   important, and if the chain pharmacies were                  6         So we worked in the doctor's office very
    7   distributing and ordering from their own wholesale           7   closely with physicians during that period of time.
    8   distribution centers, that would have -- that would          8   And I say "we." That was the community practice
    9   have bearing -- possibly have bearing on my                  9   group that I was the director of, so that would have
   10   opinions.                                                   10   been the time period that I did have overlap with
   11         So if a -- one of the chains did or didn't            11   the Purdue rep.
   12   distribute CIIs, which it turns out that they all           12         And also through -- I don't know if I see it
   13   did at some point, but that could have had bearing          13   on here or not, but I volun -- the only -- the only
   14   on my opinions in terms of the marketing of the             14   pharmacy practice I do right now is as a volunteer
   15   opioids in this case.                                       15   at the Mercy Health Clinic, and the Mercy Health
   16     Q. Did you talk to any other practitioners                16   Clinic is a clinic for indigent care patients, just
   17   other than the -- the two pharmacists you just              17   basically people who have no insurance and no real
   18   identified for me?                                          18   way to pay. So they have a full-time pharma -- not
   19     A. Practitioners? No.                                     19   full-time, she's part-time, but they have a
   20     Q. Did you interview any prescribers?                     20   pharmacist that's there a couple of days a week
   21     A. With respect to the issues in this case, no,           21   during the day, but a lot of these folks can't get
   22   I did not interview any particular prescribers, but         22   there during the day, so they have volunteer
   23   I've worked with physicians and work with physicians        23   pharmacists come in at night, along with volunteer
   24   still on a continuous basis.                                24   physicians. So we work side by side with the docs
   25     Q. Well, what work do you do with physicians?             25   at the Mercy Clinic to basically just take good care

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    1     A. If -- we could go through the CV and I could            1   of patients.
    2   point a few things for you, but --                           2     Q. In connection with your pharmacy work and
    3     Q. Sure. Let's do it.                                      3   community practice, is that volunteer work?
    4     A. Okay.                                                   4     A. The work as a pharmacist in community
    5     Q. Exhibit 2?                                              5   practice between 1981 and 2007 was usually for a
    6     A. Yeah.                                                   6   chain drugstore, and it was for -- it was
    7     Q. Try out the ELMO here.                                  7   moonlighting.
    8     A. Yeah.                                                   8        When I was the director of pharmacy practice
    9     Q. Tell me where you're looking.                           9   group, that was -- that was part of my duties at the
   10     A. Just looking at Page 1 of Exhibit 2.                   10   University of Georgia, so I was also getting paid
   11     Q. Yeah.                                                  11   through that.
   12     A. If you -- if you look down the list of                 12        The Mercy Clinic that we started in or about
   13   positions that I've held, there are a couple of them        13   2001 or 2002 with a group of pharmacists and
   14   that stand out.                                             14   physicians, there was about four or five of us that
   15         1981 through 2007, pharmacist in community            15   got that going, that was all volunteer work and has
   16   practice. As a pharmacist, we communicated with             16   been to this day.
   17   doctors routinely for a variety of reasons.                 17     Q. Do any of those pharmacy or pharmacist
   18         The position -- I'm looking here to see --            18   positions that you've held involve dispensing
   19   2001 through 2006, clinical pharmacist at Athens            19   Schedule II narcotics?
   20   Primary Care Pharmacy Care Clinic, that was a clinic        20     A. The work in community practice would have
   21   that was devoted to disease management and health           21   involved that as a community pharmacist, but we did
   22   and wellness.                                               22   not dispense anything at the -- we -- we recommended
   23         And we basically saw patients that were               23   prescriptions, but did not dispense at the primary
   24   receiving care from their primary care doctor, and          24   care office. And we do not do anything with
   25   we did follow-up assessments, patient education,            25   controlled substances at the Mercy Clinic.

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    1     Q. Okay. So where was the community practice              1     A. Yes. UGA SBIRT Interprofessional Training
    2   located?                                                    2   Program, that's it.
    3     A. So the community pharmacy practice would               3     Q. Who else is working with you on that grant?
    4   have been for a variety of chains. Initially, it            4     A. The principal investigator is Amanda
    5   was a company called Pathmark, which any of you from        5   Abraham, and she's in the School of Public and
    6   up north might recognize, Drug Emporium, the A & P          6   International Affairs and has a strong focus in
    7   food stores. I think I've worked some with Kroger.          7   addiction and addiction research.
    8   Yeah, I've worked with Kroger. I've worked with             8         The rest of the team is -- I -- I can't
    9   Walmart.                                                    9   pronounce her name, but it's June, and she's in
   10     Q. So, okay. That makes sense. You said                  10   social work. Let's see. Who else is on there?
   11   moonlighting, so --                                        11   Justin is in psychology, and Brian -- Brian McBride,
   12     A. Right.                                                12   is in -- at Georgia Tech in either psychology or
   13     Q. -- while you were teaching, you were also             13   social work, and I'm, of course, the pharmacy
   14   moonlighting as a pharmacist?                              14   connection.
   15     A. Right.                                                15     Q. Is there a -- well, let me see if I can ask
   16     Q. And then in connection with your                      16   you in an open-ended way.
   17   moonlighting from '81 to 2007, you would have              17         In pharmacy practice, are pharmacists
   18   dispensed any drugs pursuant to the prescriptions          18   trained to identify common signs of possible abuse
   19   that you received as a pharmacist; fair?                   19   or misuse of narcotics, prescribed narcotics?
   20     A. That is correct.                                      20         MR. CHALOS: Object to the form.
   21     Q. And did you receive any particular training           21     A. Well, I can't speak to all pharmacy schools,
   22   related to opioid painkillers as a community               22   but I know what we do at Georgia, and at present we
   23   pharmacist?                                                23   do introduce the concept of the SBIRT program. The
   24     A. Other than what I received in pharmacy                24   SBIRT starts out with a couple lectures on why it's
   25   school and through my internship training, I don't         25   important, and in that, we -- the idea of being able

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    1   think there would have been anything in addition to         1   to screen your patients to identify those who have
    2   that.                                                       2   potentially problems with substance abuse in
    3     Q. For example, you didn't receive any                    3   general. It could be opioids, it could be alcohol,
    4   additional training about how to identify potential         4   it could be anything.
    5   cases of abuse or misuse of Schedule II narcotics?          5      Q. Could be benzodiazepines, any drugs you
    6     A. To the best of my recollection, that was not           6   could possibly abuse, I take it?
    7   something that I was trained in at that time.               7      A. Yes. And we focus primarily on alcohol,
    8   However, since that point in time, I have received          8   opioids, and things like marijuana that -- that we
    9   training in those areas, and I now teach pharmacy           9   can screen -- we take a public health perspective to
   10   students those skills.                                     10   it, because we're -- we're looking at it from the
   11     Q. And when did you receive that training?               11   angle, does this drug use have a potential to impact
   12     A. That started for me in about 2014 perhaps,            12   the patient's health and their existing care?
   13   '15, somewhere in that -- about that time. We              13         So what we do at Georgia is we introduce the
   14   received a sizable grant from SAMHSA, Substance            14   topics. We teach the students how to use screening
   15   Abuse and Mental Health Services Administration, to        15   tools to identify patients who might be at risk. We
   16   implement SBIRT, Screening, Brief Intervention,            16   can't give them a test and say, you're at risk or
   17   Referral to Treatment in the pharmacy curriculum.          17   you're not at risk. We can say, you know, based on
   18         The grant was also designed to introduce it          18   information you've provided, you may be at risk, and
   19   in psychology and social work, as well at a couple         19   here's how that might be impacting your health.
   20   of institutions, including the University of Georgia       20         So with that information, then a pharmacist
   21   and Georgia Tech. So we have now integrated that           21   who is dispensing, who had that information, could
   22   into the pharmacy curriculum.                              22   also then know if the patient was at higher risk for
   23     Q. And so if we look at your report, which is            23   addiction or something along those lines.
   24   Exhibit 1, Page 2, Footnote 1, is that what that is        24      Q. Is there a prescription monitoring program
   25   referring to, the SAMHSA grant?                            25   in Georgia?

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    1     A. I believe so, yes. I don't currently                   1     A. Four years.
    2   practice, so I -- I know I've signed up for it, but         2     Q. And give me a sense of what percentage of
    3   I've never accessed it because I'm not currently            3   time you spent taking marketing classes in the
    4   practicing.                                                 4   business school versus pharmacy classes in the
    5     Q. Okay. Fair. So as a -- as a doctor of                  5   pharmacy school.
    6   pharmacy, you're not a prescriber of drugs, I take          6     A. Wow.
    7   it?                                                         7     Q. I know it's a long time ago.
    8     A. Clarification. I am not a doctor of                    8     A. Probably 75 percent, 80 percent at the
    9   pharmacy. I'm --                                            9   business school. They -- some of the courses
   10     Q. Sorry.                                                10   weren't in the business school either. You know,
   11     A. I have a BS in pharmacy. My doctorate is in           11   the graduate school has all kinds of requirements.
   12   pharmacy and marketing, but it's not clinical              12   You have to have statistics. You had to have
   13   pharmacy, so it's not a clinical doctorate. They           13   psychology. You had to have a foreign language.
   14   changed the degree in about 2000, turned it into a         14         So probably 20 percent was those outside
   15   PharmD, rather than a BS. They just added one more         15   courses, and then three-quarters of the rest was the
   16   year to the curriculum. So I have a BS in pharmacy         16   business school. And it was basically marketing,
   17   and a Ph.D., rather than a PharmD.                         17   marketing management, marketing theory classes.
   18     Q. Okay. And the Ph.D. is the Ph.D. that's               18     Q. So back to my original question: As a
   19   focused on pharmaceutical marketing?                       19   pharmacist, you're not a prescriber of any drugs; is
   20     A. Right.                                                20   that fair?
   21     Q. As a separate subject?                                21     A. Yes, for the most part; however, some
   22     A. Yes.                                                  22   pharmacists do an -- they -- they do recommend or,
   23     Q. Is that a marketing degree, or is that a              23   under protocol, do some prescribing. Generally that
   24   pharmacy degree?                                           24   does not apply to controlled substances.
   25     A. That's a good question. The -- the                    25     Q. In order to get access to one of the
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    1   situation was -- at the University of South                 1   controlled substances that's involved in this
    2   Carolina, when I was recruited to go there back in          2   lawsuit, you would have to get a prescription from a
    3   1981, the College of Pharmacy had just applied for a        3   medical doctor or a doctor of osteopathy; fair?
    4   graduate program, and it was going to be a graduate         4        MR. CHALOS: Object to the form.
    5   degree in pharmacy or what they, at that time,              5     A. Or someone who's legitimately able to
    6   called pharmacy care administration.                        6   prescribe it, yes.
    7         Because that program wasn't approved, they            7     Q. Okay. But you, yourself, are not, in your
    8   said, well, we're going to have this approved any           8   words, legitimately able to prescribe a Schedule II
    9   day now, and so -- but we don't, so currently you're        9   narcotic; fair?
   10   going to have to be enrolled in the marketing              10     A. Not by law, that's fair.
   11   program over at the business school.                       11     Q. Are you -- do you consider yourself
   12         So I took my courses and did the business            12   qualified to testify about how doctors make the
   13   school program, and about two or three months before       13   decision to prescribe opioid painkillers?
   14   I graduated, the pharmacy program finally got              14        MR. CHALOS: Object to the form.
   15   approved. So I had taken all the pharmacy classes          15     A. From a perspective of marketing, absolutely.
   16   that I needed to take, taken all the business              16   From a patient care perspective, the decision
   17   classes that I needed to take. So they basically           17   process is well-known to me. So I think I do -- I
   18   gave me a dual -- a dual major.                            18   do have skills and expertise in that area, but I
   19         The interesting thing about that is you              19   didn't -- I didn't do any analysis in this case
   20   don't get a degree from the University of South            20   about how doctors treated their patients or made
   21   Carolina in pharmacy or marketing. You get a               21   decisions about opioids.
   22   doctorate from the University of South Carolina, and       22     Q. Do you consider yourself qualified to
   23   you have an area of focus. So my focus was                 23   evaluate whether a particular prescription was
   24   marketing and pharmacy.                                    24   medically necessary?
   25     Q. How long did it take you to get that?                 25        MR. CHALOS: Object to the form.

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    1     A. So that -- again, that was not part of what           1   the FDA, I -- that's not something I could provide
    2   I did in this matter. As a pharmaceutical marketing        2   opinions about.
    3   expert, that would not be part of an analysis that I       3     Q. Have you ever participated in a submission
    4   would undertake.                                           4   of a new drug application to the FDA?
    5         As a pharmacist, if I were to review a case,         5     A. No, I don't -- I have not.
    6   and you provided me with the clinical picture, I           6     Q. Have you ever drafted marketing materials
    7   think pharmacists -- any pharmacist would be able to       7   for FDA approval?
    8   tell you, given a clinical presentation of a               8     A. So when you say "drafted," for me as a
    9   patient, what might or might not be clinically             9   marketer, it has a perfect specific meaning. And
   10   indicated.                                                10   that's somebody sitting at a desk with a graphic
   11         That's just part of what we do as                   11   design, coming up with, you know, a magazine style
   12   pharmacists. We're the -- sort of the final               12   slick or something like that, or it could be
   13   gatekeeper, and so that would be something that we        13   crafting of a clinical trial.
   14   could do, but, again, I did not do that in this           14         So in the first case, I -- I've never
   15   matter.                                                   15   drafted materials for the FDA. I have drafted
   16     Q. Okay. Just -- I'm trying to understand the           16   materials for use in studies, but I haven't drafted
   17   scope of your opinions and your expertise.                17   materials that would be submitted to the FDA.
   18         So my understanding of your responses to my         18         I have participated in -- in analysis and so
   19   question is that you have pharmacy training that          19   forth that were part of trials or part of research
   20   would allow you to evaluate in certain circumstances      20   that may have been submitted to the FDA at some
   21   whether you thought a prescription was warranted or       21   point in time, but I would have to look at just a
   22   not, but that's not what you're doing in this case?       22   few articles that I coauthored with folks in the
   23         MR. CHALOS: Object to the form.                     23   clinical side to really evaluate that.
   24     Q. Fair?                                                24         So I think the answer to your question is
   25     A. Right. The analysis in this case was                 25   no.
                                                      Page 43                                                           Page 45
    1   limited to -- to pharmaceutical marketing and not          1      Q. I -- in connection with rendering your
    2   the clinical aspects of patients.                          2   opinions in this case, do you intend to render an
    3     Q. Are you -- do you have any training in pain           3   opinion that any particular defendant in this case
    4   management?                                                4   violated FDA regulations?
    5     A. No additional training outside of what I did          5         MR. CHALOS: Object to the form.
    6   in pharmacy school at -- at the time.                      6      A. So I don't -- I don't think -- I don't think
    7     Q. Do you have any training in palliative care?          7   that opinion is one that I've expressed in my
    8     A. So training versus experience, I mean, I've           8   report, but there are opinions that come kind of
    9   had patients that were under palliative care in the        9   close to that, and I'm sure we'll get to that at
   10   day, but I've -- I've never undertaken any                10   some point.
   11   additional training in that area.                         11      Q. Have you had any professional experience
   12     Q. Are you -- do you have any particular                12   dealing with FDA warning letters or notices of
   13   familiarity with the FDA's advertising regulations?       13   violation?
   14     A. Well, to the extent that FDA rules,                  14      A. I have been exposed to FDA warning letters
   15   guidelines, regulations, impact pharmaceutical            15   through my work on a couple of cases like this one.
   16   marketing, I would be familiar with that. I don't         16   I've also been made aware of warning letters through
   17   consider myself an expert on the FDA, though.             17   the process of the Drug Utilization Review Board.
   18     Q. Don't consider yourself an expert on                 18   As I recall, there had been times when warning
   19   FDA's -- sorry. Strike that.                              19   letters had been discussed at that board.
   20        Do you consider yourself an expert on the            20         So -- so through the media as well, where
   21   FDA's marketing regulations?                              21   I -- where there have been companies that -- that
   22        MR. CHALOS: Object to the form.                      22   received warning letters or other types of actions
   23     A. So I think I'm -- I'm knowledgeable about            23   by the FDA that's been publicized, I would be
   24   the aspects of marketing that are controlled by the       24   exposed to it through that as well.
   25   FDA, again, as far as that goes. Inner workings of        25      Q. But in terms of interfacing directly with

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    1   the FDA with respect to a particular warning letter,         1   the problem may not be continuing to expand.
    2   I take it the answer is, you -- you have not done            2         However, there are many aspects to the
    3   that?                                                        3   opioid addiction issue, many of which I'm not an
    4      A. I've never received a warning letter from              4   expert to discuss or to review.
    5   the FDA, no.                                                 5         But it is -- with specific regard to your
    6      Q. But you've never -- I mean, I get it, but              6   question on the pendulum swinging back, I don't
    7   you've never represented or worked for a                     7   think it's swinging back. I think we've -- we've
    8   manufacturer and helped that manufacturer respond to         8   reached a point at which the pendulum is sort of
    9   a warning letter; fair?                                      9   hanging out there, and we have yet to see what's
   10      A. That's fair. I -- I get your question now.            10   going to happen as a result.
   11   No, I have not done that.                                   11     Q. Let's look back at your report.
   12      Q. Do you have any professional experience               12     A. Excuse me?
   13   marketing Schedule II or Schedule III drugs?                13     Q. Let's look at your report. Let's look at --
   14      A. Only as a receiver of the information, not            14         MR. CHALOS: This --
   15   as a marketer of the information.                           15     Q. -- Paragraph 8.
   16      Q. Do you know how treatment with opioid                 16         MR. CHALOS: This light is red.
   17   analgesics has changed since the mid-1990s?                 17         THE VIDEOGRAPHER: Looks like --
   18      A. I do.                                                 18         MR. VOLNEY: Sorry. Can you hear me?
   19         MR. CHALOS: Object to the form.                       19         MR. CHALOS: Sorry if I misspoke.
   20      Q. You do?                                               20         MR. VOLNEY: It's my fault. Too much going
   21      A. I do.                                                 21     on in front of me.
   22      Q. And how do you know that?                             22   BY MR. VOLNEY:
   23      A. Well, I've seen a shift in the paradigms              23     Q. Let's look at Paragraph 8. Just trying to
   24   about pain management, and that has gone from a very        24   identify in your report what qualifications you have
   25   conservative approach to the use of pain medicines          25   that are specifically related to the area of

                                                          Page 47                                                         Page 49
    1   to a much more liberal approach to the use of pain           1   opioids, and we've talked about the SBIRT that's
    2   medicines.                                                   2   identified in Exhibit 1 on Page 2. Is there
    3      Q. Has the pendulum started to swing back                 3   anything else in here in your qualifications or on
    4   towards conservatism?                                        4   your CV related to the area of opioids?
    5          MR. CHALOS: Object to the form.                       5      A. Yes.
    6      Q. To your knowledge?                                     6      Q. What else is there?
    7          MR. CHALOS: Object to the form.                       7      A. Well, at Footnote 1 is actually two grants.
    8      A. So the -- the pendulum -- it's an                      8   The first one is a policy analysis at Georgia
    9   interesting analogy, I think. The -- the problem             9   Medicaid, which I started in about the same time
   10   with looking at the pendulum is that there is a             10   period that we started the SAMHSA grant. And that
   11   large body of patients that have been exposed to            11   study is designed to evaluate the impact of Medicaid
   12   opioids that have developed problems associated with        12   safety measures that they put in place in about
   13   their use.                                                  13   2008, 2009 to limit patient exposure to opioids.
   14          And that group doesn't really get smaller            14         And that study funded by the National
   15   unless somebody dies or gets either put on some kind        15   Institute of Health, the National Institute on Drug
   16   of maintenance treatment or medication-assisted             16   Abuse, just recently -- we just recently completed
   17   therapy or some sort of cognitive behavioral                17   it. We're still finishing all the analysis.
   18   therapy, and you know, is basically treated for             18         But associated with that, we also published,
   19   their addiction. And in those cases, many times             19   I think, three or four papers, certainly three, and
   20   it's still an addiction. It's just being treated.           20   then there's one or two that are still in the
   21          So to say the pendulum is swinging back is           21   developmental stages, assessing Medicaid policies
   22   not something I'm sure I can agree with, but I think        22   with regard to changes they made to the Medicaid
   23   we have seen a plateau. And the numbers -- while            23   program back in that time period, again, designed as
   24   the numbers remain high, I think that the recent            24   safety measures to limit exposure to opioids where
   25   research that I've seen has showed a plateau, that          25   possible.

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    1         So in addition to that, the training that I            1      A. Yes.
    2   have as a pharmacist certainly, I think, qualifies           2      Q. So one of them is Opioid Analgesics and
    3   me in terms of knowing about opioids and their               3   Georgia Medicaid Trends and Potential Inappropriate
    4   impact on patients.                                          4   Prescribing Practices by Demographic
    5         Also, the technical aspects of opioids and             5   Characteristics, 2004 to 2019?
    6   their distribution, the -- from the marketing angle          6      A. So the article wouldn't be that. The
    7   specifically, opioids are part of the prescription           7   article would be listed on Page 4 of the CV.
    8   drug marketing arena, and they have some special             8      Q. All right.
    9   rules that I identify in my report based on the              9      A. Articles Number -- Number 4, 5, and 6 are
   10   nature of opioids.                                          10   the three that were published.
   11     Q. Does that cover the -- your work in the area           11      Q. 4, 5, and 6?
   12   of opioids?                                                 12      A. Right. And we have one that's in
   13     A. So I think the only thing I'd like to add to           13   preparation right now. That's listed as Number 1,
   14   that is that -- that generally, a lot of the things         14   but the 4, 5, and 6 are the three that are -- that
   15   that I've done over time have related to issues that        15   have actually -- I think Number 4 is actually --
   16   would be the same whether we're talking about               16   it's no longer in press. I think it's been
   17   opioids or other prescription medications, and I            17   published, but I'd have to check. Number 5 is
   18   think those are all tangentially related. I don't           18   definitely in print, and Number 6 is definitely in
   19   think that there's any that are directly related.           19   print.
   20     Q. All right. Let's -- let's look at                      20      Q. When you talk about potential inappropriate
   21   Exhibit 3.                                                  21   prescribing practices, what does that mean?
   22     A. In addition to that, we --                             22      A. So as part of the opioid grant, the policy
   23     Q. Sure.                                                  23   analysis, one of the variables that we looked at in
   24     A. -- made a couple of presentations at                   24   our regression modeling was whether the prescribing
   25   regional, national, international meetings regarding        25   by the physician met certain clinical criteria.

                                                          Page 51                                                         Page 53
    1   opioids. These are identified in the CV, but these           1         And some folks out in Utah developed those
    2   were just -- these -- these would be presentations           2   criteria very specifically. They've been used in a
    3   that were related to the papers that we published as         3   lot of research nationwide. It's just referred to
    4   well.                                                        4   generally as appropriate or inappropriate --
    5     Q. What page are you looking at?                           5   potentially inappropriate prescribing.
    6     A. This would be on Page 13 of the CV, and I               6         As an aside, this is why I mentioned that
    7   think they there are actually one or two that might          7   some of the work I've done elsewhere actually
    8   be missing here, but I could check, the ones that            8   applies here because I've looked at inappropriate
    9   begin with the name Jawordhana, those two                    9   prescribing in other categories; for example, in the
   10   presentations both.                                         10   elderly, not specifically related to opioids, but
   11     Q. Did you participate in giving those                    11   potentially inappropriate prescribing where some set
   12   presentations?                                              12   of clinical criteria that have been developed by
   13     A. They -- they were -- as I recall, I                    13   experts in the field are applied to a claims
   14   participated in the development of the                      14   database to determine if the prescribing was indeed
   15   presentations. I did not present them. The                  15   appropriate or not by that assessment.
   16   first -- the first author listed would have been the        16         It does not take into account the clinical
   17   presenting author. I would have been the senior             17   picture of the patient, only these objective
   18   author on both of those papers.                             18   indicators that can be assessed from a claims
   19         And that was -- that was the team on the              19   database.
   20   opioid grant. It's a slightly different team than           20         So potentially inappropriate prescribing
   21   the SAMHSA grant, but that would include Jayani             21   would have been situations, for an example where a
   22   Jawordhana, Amanda Abraham, who was consistent on           22   benzodiazepine was prescribed at the same time as an
   23   both projects, Henry Young, and myself.                     23   opioid analgesic, or where there was an overlap of
   24     Q. Is there -- was there more than one article            24   less than seven days between one opioid prescription
   25   that was the result of the -- this collaboration?           25   and another, or when the dose exceeded a certain

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    1   number of morphine milligram equivalents within a           1   and a muscle relaxant.
    2   particular time period.                                     2         So there are some reasons why, over time,
    3         So those are some examples of the ways we             3   physicians may have prescribed those along with an
    4   assess objectively appropriateness of prescribing.          4   opioid for pain, but I think research has borne out
    5   I think another one is Suboxone along with an               5   over time that it's not a good idea to use those two
    6   opioid. There might be one or two others. I -- we           6   together.
    7   can look at that article and see.                           7     Q. Do you consider -- well, there's a lot of
    8         But again, potentially inappropriate                  8   marketing discussion in your report. Drugs are
    9   prescribing was assessed objectively through those          9   marketed -- well, here, the prescription drugs we're
   10   criteria, and then we simply used that as a variable       10   talking about here, a particular patient wouldn't
   11   in our analysis. So one of the variables on the            11   get a prescription drug unless a doctor made the
   12   right-hand side of the equation, the independent           12   medical judgment that it was necessary to write that
   13   variables would have been related to that                  13   prescription for that patient; is that fair?
   14   inappropriate prescribing.                                 14         MR. CHALOS: Object to the form.
   15      Q. I take it you queried the Georgia Medicaid           15     A. Well, a little bit earlier you asked me if I
   16   database and the records that are available via that       16   was going to have opinions about the prescribing
   17   database and then just identified particular cases         17   process for individual patients, and I told you no.
   18   where there were these potential inappropriate             18   So I probably should stick to my -- my answer on
   19   prescribing practices?                                     19   that and say, you know, that's not something I
   20      A. That -- generally, that's what we did.               20   evaluated.
   21   We -- we received the database from Medicaid, and          21     Q. So in terms -- in terms of doing your case
   22   then we proceeded to get it into a suitable format         22   study in this -- in this lawsuit, you didn't look at
   23   for analysis. The -- the analysis itself, once we          23   prescribing practices by doctors; fair?
   24   identified patients who had taken any opioid during        24     A. I did not look at individual patient level
   25   the entire study period, we then looked at -- for          25   decisions by doctors. I did look at the decision
                                                         Page 55                                                          Page 57
    1   the -- we looked for those specific potentially             1   process that doctors use in making that decision for
    2   inappropriate criteria.                                     2   a patient globally and from a theoretical
    3     Q. But you're not making a judgment whether, in           3   perspective as -- as relates to the marketing and
    4   a particular case or any subset of potential cases,         4   why marketing impacts that decision.
    5   that there was an actual inappropriate prescribing          5     Q. So you are aware that potential
    6   practice. It was just the potential for that.               6   inappropriate prescribing practices can create
    7   Fair?                                                       7   dangers to patients who are prescribed opioid
    8     A. I think -- I think that's -- I think that's            8   painkillers; fair?
    9   a fair way to say that what -- what we looked at was        9         MR. CHALOS: Object to the form.
   10   not an assessment of whether the prescribing was           10     A. So in looking at potentially inappropriate
   11   actually appropriate or inappropriate. It was just         11   prescribing, there's -- there's two parts to that.
   12   these objective criteria that have been shown over         12   There's the objectivity of it. It's been -- it's a
   13   time, by lots of experts, to be pretty good                13   criteria that's been developed by experts that if
   14   indicators of whether that was the case or not.            14   these occur, then we're more likely to see
   15     Q. Did you find that the most prevalent                  15   inappropriate prescribing, and bad things happen.
   16   potential inappropriate prescribing practice by            16   At the same time, just because someone used a
   17   doctors was overlapping opioid and benzodiazepine          17   benzodiazepine and an opioid together, it doesn't
   18   prescriptions?                                             18   mean a bad thing happened.
   19     A. I don't have the article here in front of             19         So the analysis is slightly different
   20   me, but I think, as I recall, that was what we             20   between those two, and I'm not sure how to answer
   21   found.                                                     21   your question because I didn't evaluate whether
   22     Q. What are benzodiazepines?                             22   those bad things happened.
   23     A. Benzodiazepines are, for example, lorazepam,          23         The -- that's actually the focus of the last
   24   diazepam, clonazepam. They're -- they're a category        24   paper that's not finished yet, where we're looking
   25   of drugs that are centrally acting and anxiolytic          25   at patient outcomes and patient outcomes in relation

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    1   to these -- these potentially inappropriate               1   gatekeepers in between potential patients and the --
    2   prescribing.                                              2   the Schedule II, Schedule III narcotics; fair?
    3         So soon I should know the answer to the             3     A. By gatekeepers, you mean healthcare
    4   question whether or not benzodiazepines and opioids       4   professionals that are making decisions on their
    5   caused a statistically significant increase in            5   behalf, yes.
    6   negative outcomes for patients, but as we sit here        6     Q. Right. And that includes a doctor?
    7   today, I can't tell you that I know the answer to         7     A. It would include a doctor or any prescriber.
    8   that.                                                     8     Q. Also include a government organization like
    9     Q. Do you know what a learned intermediary is?          9   the FDA --
   10         MR. CHALOS: Object --                              10         MR. CHALOS: Object to the form.
   11     A. Yes.                                                11     Q. -- who would have to approve the drug?
   12         MR. CHALOS: -- to the form.                        12         MR. CHALOS: Object to the form.
   13     A. Yes, I do.                                          13     A. I guess at some level, the FDA's new drug
   14     Q. What is a learned intermediary?                     14   approval process or abbreviated new drug
   15     A. A prescriber is a learned intermediary, for         15   applications process would have some impact on what
   16   example.                                                 16   was actually available to practitioners, so
   17     Q. So a healthcare provider who is licensed to         17   you couldn't say they were not involved.
   18   prescribe a particular drug is a learned                 18     Q. And I think you would agree that
   19   intermediary?                                            19   pharmacists, licensed --
   20         MR. CHALOS: Object to the form; calls for a        20     A. Can -- I'm sorry.
   21     legal conclusion.                                      21     Q. Sorry. I interrupted you.
   22     A. Could you read that again?                          22     A. I have a bad habit of thinking before I
   23     Q. I'm reading from your book --                       23   speak, and I get -- I get stepped on sometimes, but
   24     A. Yeah.                                               24   the -- the thing about that is, is that the FDA is
   25     Q. -- Pharmaceutical Marketing --                      25   making a decision at a global, societal level about

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    1     A. Right.                                               1 what's available, whereas the individual
    2     Q. -- Page 158 --                                       2 practitioner is making a decision for that patient.
    3     A. Right.                                               3 I think that's an important distinction.
    4     Q. -- in a chapter written by Mr. or                    4     Q. Got it. You would also consider the -- a
    5   Dr. Brideau and Dr. Fanning.                              5   pharmacist to be potentially a gatekeeper?
    6     A. Yes.                                                 6     A. At a --
    7     Q. Are they colleague of yours?                         7        MR. CHALOS: Object to the form.
    8     A. They're acquaintances, yes. They work --             8     A. The pharmacist as a gatekeeper is at a
    9   they used to work at Philadelphia College of              9   different -- I think level in the distribution and
   10   Osteopathic Medicine College of Pharmacy.                10   supply chain, and so, yes, I would consider them a
   11     Q. And they state under the subheading Brief           11   gatekeeper as well.
   12   History of Governmental Prescription Drug                12     Q. Okay. So I'm about to change subject
   13   Regulations, that: Prescription medications are not      13   matters. Do you want to take a break?
   14   considered consumer goods because their use requires     14     A. I absolutely do. Thank you.
   15   a learned intermediary, quote, a healthcare provider     15     Q. Okay.
   16   licensed to prescribe, to diagnose the condition         16        THE VIDEOGRAPHER: We are now going off the
   17   treated by the drug, recommend the drug and then         17     video record. The time is currently 10:35 a.m.
   18   monitor the use of the drug, including its               18     This is the end of Media Number 1.
   19   effectiveness and adverse events.                        19       (Recess from 10:35 a.m. until 10:49 a.m.)
   20         Do you agree with that statement?                  20        THE VIDEOGRAPHER: We are now back on the
   21         MR. CHALOS: Object to form.                        21     video record with the beginning of Media
   22     A. Yes. I have no reason to disagree with              22     Number 2. The time is currently 10:49 a.m.
   23   that.                                                    23   BY MR. VOLNEY:
   24     Q. Okay. I mean, you understand from your many         24     Q. So I failed to cover sort of one
   25   years of pharma -- pharmacy practice that there are      25   qualification-related matter before we move to the

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    1   case study methodology and then the specific                1   derive from being a testifying expert or a
    2   opinions you have in this case.                             2   consulting expert in litigation matters?
    3         You've identified for us at Schedule 2 of             3     A. Over -- over the years, it works out to be
    4   your report, what I've marked as Exhibit 3, which is        4   anywhere from 10 to 20 percent on an annualized
    5   your prior testimony for the last four years.               5   basis on average.
    6         Do you see that?                                      6     Q. Have you ever had any of your -- well,
    7     A. Yes, I do.                                             7   sitting here today, do you recall any marketing case
    8     Q. Is this accurate?                                      8   study expert opinions that you've given prior to
    9     A. Yes.                                                   9   this one where you've used the same methodology as
   10     Q. Can you tell me which of these matters                10   you're using in this case?
   11   involves a use by you of the case study methodology?       11     A. Yes.
   12     A. The -- if -- if -- I assume you're referring          12     Q. Okay. What -- what cases do you recall?
   13   to a marketing case study analysis versus a clinical       13     A. So we have to go off this grid to do that,
   14   case study analysis?                                       14   or is that not something we can do?
   15     Q. Correct. My understanding of your report in           15     Q. No. I think I'm entitled to ask. We can go
   16   this case is that it's a marketing case study              16   off the grid.
   17   analysis.                                                  17     A. Okay. So the first cases that I was
   18     A. Right.                                                18   involved in was another MDL that was related to
   19     Q. Fair?                                                 19   average wholesale pricing and what was referred to
   20     A. The reason I bring that up is because                 20   as spread pricing, and I used a case methodology in
   21   several of these other cases were a patient case           21   that.
   22   study, so it's an individual patient that was being        22         I also used a case methodology in -- and
   23   studied. So it's a similar analysis, different             23   there were -- one, two -- there were three AWP cases
   24   subject matter completely, but similar methodology         24   that I used that same methodology for.
   25   for formulating opinions.                                  25         I used a similar methodology in an off-label

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    1         But with respect to your question, the 2018           1   marketing case in about 2009 or '10.
    2   BCBS, et al., v. GSK used -- it sort of -- it was           2         Also, a little after that, I was retained by
    3   sort of an abbreviated case, but it was a similar           3   the Department of Justice to examine hospice
    4   methodology to the --                                       4   marketing, and I used the methodology there,
    5     Q. What did that case involve?                            5   although those opinions were not admitted. The --
    6     A. Am I at liberty to discuss it? Because I               6   my understanding is the judge said that while she
    7   did sign a protective order and --                          7   felt that I was a marketing expert, that because I
    8     Q. Well, just generally, is it a products                 8   had not worked in hospice before, that she didn't
    9   liability case? Is it a pharmacy marketing case?            9   think I should be providing opinions on hospice.
   10     A. It was a marketing case with specific                 10         Then the next time I used that -- that same
   11   relationship to manufacturing and manufacturing            11   methodology would have probably been -- the exact
   12   issues as they relate to marketing.                        12   same methodology would have probably been the Blue
   13     Q. So is that -- of the -- of these half dozen           13   Cross Blue Shield case.
   14   on Exhibit 3, the one that involves a marketing case       14     Q. So the case where your opinion was excluded,
   15   study analysis is the BCBS versus GSK?                     15   do you -- is that the matter of United States of
   16     A. Yes, but as I said, that -- it was a very             16   America vs. Aseracare, Inc.?
   17   different kind of case. It was -- number one, it           17     A. Yes.
   18   was just one company, and many of the opinions were        18     Q. And that was pending in the Northern
   19   related to just how things worked in terms of the          19   District of Alabama, Southern Division?
   20   pharmaceutical marketplace.                                20     A. Yes. I think it still is pending, actually.
   21     Q. All right. How long have you been a                   21     Q. Still is pending. And in that case, you
   22   testifying expert career-wise?                             22   were an expert hired by the plaintiff, the United
   23     A. In -- in matters such as these, I started in          23   States of America or the Department of Justice?
   24   about 2007 and --                                          24     A. Yes.
   25     Q. And what percentage of your income do you             25     Q. And -- all right. Your opinion was excluded

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    1   in that case, right?                                       1     A. She has organized documents and worked at my
    2     A. That is my understanding.                             2   direction to just basically categorize, file, and
    3     Q. Now, let's see. How much are you getting              3   provide a listing of specific documents. For
    4   paid in this case?                                         4   example, Table II in my report, I had her
    5     A. My hourly rate is $350 per hour.                      5   primarily -- once the marketing message documents
    6     Q. And do you know how much you've billed so             6   were identified, I had her sort through them and
    7   far?                                                       7   divide them into the categories that we see in that
    8     A. I've billed about 700 and -- about 700                8   table.
    9   hours.                                                     9     Q. So in terms of Table II, that is, I guess,
   10     Q. So do the math for me. That's a lot. I'm a           10   her work product, but reviewed and approved by you
   11   lawyer, not a mathematician.                              11   and put into your report?
   12     A. It's about 210. If I'm paid everything that          12     A. Well, I mean, actually, we worked on it
   13   I've billed, then it's about $210,000 or a little         13   together, and she did -- once -- once the format was
   14   more than that.                                           14   laid out and the learning curve about what documents
   15     Q. Okay. That's an issue between you and him.           15   go where was decided, then she did build out the --
   16         Let's see. How long -- when were you first          16   the actual listings, and then I did go through and
   17   hired?                                                    17   review and edit everything. She did that at my
   18     A. First hired versus first contacted?                  18   direction, so --
   19     Q. Well, first contacted.                               19     Q. In terms of identifying the documents that
   20     A. Okay. First contacted in about 2012, 2013,           20   you considered to be relevant to your report, how
   21   somewhere in that time range.                             21   did you go about doing that?
   22     Q. And who contacted you?                               22     A. So I had access to the Relativity database,
   23     A. Ms. Linda Singer.                                    23   where I conducted some of my own searches. The first
   24     Q. Okay. What happened next with respect to             24   thing I did when I was contacted by the plaintiffs
   25   your contact and getting hired?                           25   was to send them a list of search terms.

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    1     A. Did a little bit of preliminary work at that          1         As you're probably aware, in July there was
    2   time, but my assessment was the document production        2   a very rapidly approaching deadline that was still
    3   needed to be more for me to look at. I needed to           3   on the books. And I indicated that, you know, for
    4   see specific kinds of marketing documents, so I just       4   me to conduct all the searches and go through that
    5   went idle with the case.                                   5   many documents that quickly would be impossible.
    6         And then I was recontacted in July of 2018.          6         So I gave them search terms and said, these
    7     Q. And who were you contacted by?                        7   are the kinds of documents I need to see. Can you
    8     A. Ms. Baisch, Krista.                                   8   conduct some searches and provide me with documents?
    9     Q. Krista, the woman sitting two to your                 9         So with that, basically, as I understand it,
   10   left -- to your right?                                    10   being done based on my search terms, which I believe
   11     A. Yes, to my right.                                    11   I've provided as well --
   12     Q. Okay. And is she your primary contact                12     Q. Uh-huh.
   13   person for this matter?                                   13     A. -- the individual searches that I did, as
   14     A. She has been.                                        14   well as some searches that Dr. O'Dowd did at my
   15     Q. And since you were hired in 2018, you've             15   direction, so that would be where the documents came
   16   spent about 700 hours, all told, on this matter?          16   from.
   17     A. Approximately, yes.                                  17         So when those documents were identified, I
   18     Q. Is anyone assisting you?                             18   then, you know, requested them to be provided to me
   19     A. I have an assistant, a pharmacist,                   19   in PDF format. Some of them were and some of them I
   20   Dr. O'Dowd, who has helped me on a few tasks.             20   had to search for myself on the Relativity system.
   21     Q. Who is he or she?                                    21     Q. Is it your testimony that all the defendant
   22     A. She is a pharmacist who, while she was in            22   documents that are identified in your report, you --
   23   pharmacy school, was -- took my marketing classes         23   you and your assistant were able to identify through
   24   and had an interest in this area.                         24   the use of your search terms?
   25     Q. What has she done?                                   25     A. I don't think that's what I said. I

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    1   think the -- the documents that are identified, for         1   noted, I distinguish customers with a "c" versus a
    2   example, the schedule that lists all the materials          2   capital C, but consumers I look at as a little more
    3   considered, contains documents that we identified,          3   broad term.
    4   that I identified, some that she identified on her          4         So, yes, to look at consumers including both
    5   own and reviewed with me, as well as some that were         5   patients as well as other customers, doctors, other
    6   identified by searches that were done by the                6   prescribers, third-party payers, insurance
    7   magicians at Relativity or attorneys or staff. I            7   companies, wholesalers, independent community
    8   don't know who did those searches, but they were            8   pharmacies, so a whole long list of potential other
    9   conducted. And so then they provided me with either         9   customers.
   10   lists of Bates numbers or links to Relativity              10         But we would definitely be interested in
   11   documents, which I then reviewed.                          11   their behavior, how the marketing impacted them, but
   12      Q. Got it. Tell me, what is the case study              12   not only that, also in the roles that they play and
   13   methodology?                                               13   how the information impacts them, the decisions that
   14      A. Okay. The case study methodology is a -- I           14   they make, the way they make those decisions, what
   15   think a widely accepted method of doing analyses in        15   they value in terms of information, and so on.
   16   marketing and in medicine.                                 16     Q. How did you make that -- or did you make
   17          I realize that's an open-ended question, but        17   that judgment in this case, or evaluate in this case
   18   I -- but I'm hesitant to go too far with that.             18   how the marketing impacted particular prescribers,
   19      Q. Okay. So let me split it up.                         19   third-party payers, insurance companies,
   20      A. Okay.                                                20   wholesalers, et cetera?
   21      Q. Case study methodology in terms of the               21     A. So a large part of that assessment was done
   22   marketing context, what do businesses or people use        22   based on the literature and research that's been
   23   the case study methodology for, and how do they do         23   done in this area to identify how information
   24   it in the marketing context?                               24   impacts, let's say, for example, prescribers.
   25      A. So case study methodology from a marketing           25   Sections in my report are pretty extensive notated

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    1   perspective is extremely useful because it allows us        1   about that literature.
    2   to look at complex systems of decisions in a real           2        But in addition to that, the marketing plans
    3   world context and to evaluate, you know, the -- the         3   and marketing metrics are very detailed in this case
    4   how and the why things were done and what happened.         4   about how customers responded to defendants'
    5     Q. Okay. When you talk about the real world               5   marketing. So that was a big part of the assessment
    6   context in the marketing arena, are you just focused        6   as well.
    7   on the -- what's in the marketing materials, or are         7     Q. Did you do any new research; for example,
    8   you also trying to figure out how the audience              8   take a survey?
    9   received and acted on those marketing materials?            9     A. So -- so in -- in the case study
   10     A. It's all of the above, because, actually,             10   methodology, one of the things that a case
   11   from a marketing perspective, the -- one of the key        11   researcher might do is interview people making the
   12   components, and actually a principle of marketing,         12   decision, making judgments, people designing the
   13   is awareness of the operating environment that             13   marketing plans.
   14   you -- that you have to live in.                           14        Unfortunately, in this instance, and it's --
   15        So from a marketer's perspective, a                   15   happens in most case studies that are done in this
   16   marketing plan or a marketing strategy would be            16   type of fashion, you can't do that.
   17   incomplete without assessment of what's going on out       17        But the interviews that you did through your
   18   there in the marketplace. So it's both of those            18   deposition process certainly provided a very similar
   19   issues that you bring up.                                  19   body of information to the kinds of questions that
   20     Q. And part of assessing what's going on in the          20   might be asked of interviews if I were to do those
   21   marketplace is trying to figure out how consumers          21   myself.
   22   are reacting to the marketing?                             22     Q. Now, why can't you do interviews in this
   23     A. So distinguishing consumers from -- from              23   case?
   24   who -- in a marketing perspective as applied here,         24     A. To my knowledge, I have no mechanism for
   25   you know, we have customers. And as you've probably        25   interviewing people in -- that are involved in -- or

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    1   defendants that are involved in the case.                1 this case?
    2     Q. Well, what about prescribers, the folks in          2        MR. CHALOS: Object to the form.
    3   Ohio who prescribed these medicines?                     3     A. So I think I need to break your question
    4     A. So -- so, you know, I did not look at the --        4   down a little bit.
    5   as part of my marketing analysis, I did not look at      5     Q. Sure.
    6   prescribers, per se.                                     6     A. The -- the -- I'm not sure I understand what
    7        From a marketing perspective, though, I did         7   you mean by a quantitative prescribing decision.
    8   look at, as I mentioned earlier, how the information     8   That doesn't really --
    9   would impact their decisions and how it might            9     Q. Well, I guess what I'm talking about is
   10   influence them.                                         10   causation. You're not going to say Dr. -- you can't
   11     Q. And I'm trying to understand sort of how you       11   say Dr. X prescribed Drug Y because he saw Marketing
   12   determine how a particular marketing message            12   Material ABC; fair?
   13   impacted a particular prescriber, and let me -- let     13        MR. CHALOS: Object to the form.
   14   me see if I can fairly recap what you've told me.       14     A. No, but I think if -- if I understand my
   15        One thing you've said you've done is you've        15   opinions correctly, I do believe that doctors,
   16   relied upon the literature that exists in the sort      16   prescribers, were influenced by marketing that
   17   of marketing case study universe, which is cited in     17   changed the way they prescribe medications, as a
   18   your report; fair?                                      18   general statement.
   19     A. I don't --                                         19     Q. Okay. General qualitative statement, I
   20        MR. CHALOS: Object to the form.                    20   understand that, and I read your report a number of
   21     A. Yeah. I don't think I said the marketing           21   times, and I get that.
   22   case study literature, but I said the literature --     22        But in terms of percentage of prescription
   23   there's a body of literature associated with            23   decisions that were influenced by marketing versus
   24   prescribing behavior. That's the literature I'm         24   percentage that were not?
   25   referring to.                                           25     A. That would -- that would be a different

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    1     Q. Okay. So you're relying on that body of             1   analysis, and I'm not even sure I know how to do
    2   prescribing behavior literature.                         2   that analysis, so I'd have to give that some
    3        And then second, I think you've identified          3   thought.
    4   for me that you're looking at defendants' own            4     Q. But that's not an analysis that you've done
    5   evaluation of the success or not of their marketing      5   in this case, sort of to break it down?
    6   plans; fair?                                             6     A. Yeah. In this matter, I have not looked at
    7     A. Yes.                                                7   the individual prescribing by an individual doctor
    8     Q. Anything else?                                      8   or tried to make an assessment as to why they
    9     A. Yes. The -- the marketing literature in             9   prescribed based on different inputs into this model
   10   general, not necessarily just related to physician      10   that we've talked about on Page 15.
   11   prescribing, also structures decision-making            11     Q. In terms of the universe of documents that
   12   processes, and it identifies a number of influences     12   you reviewed, did you limit that in any way? For
   13   on decision-making that must be considered in           13   example, was it just the documents that were
   14   analysis like this. That's also in my report. I         14   produced by the defendants?
   15   believe it's Figure 1 on Page -- Page 15.               15     A. No. As I said earlier, I think the -- I was
   16        So that also sort of structures the                16   not limited at all in what I had access to. I know
   17   theoretical underpinnings. And then all the             17   that there were -- I think close to 30 million or
   18   research that's been done that we've alluded to just    18   more documents in the document database that I had
   19   a moment ago impacts this basic decision model.         19   reviewed and searched. So I had no limitations on
   20     Q. I just want to make sure I understand, and I       20   that.
   21   apologize for repeating myself, but -- if I am.         21         I did provide the search terms, as I said,
   22        I take it that you've not really engaged in        22   and I was provided documents by plaintiffs'
   23   a quantitative analysis with respect to any             23   attorneys, based on my request for documents within
   24   particular prescribing decision in the state of Ohio    24   subject areas; for example, marketing plans. That
   25   or anywhere -- anywhere else in the United States in    25   was the -- the first thing on my list, the first

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    1   priority on my list was to see marketing plans and            1   places along the way, growing awareness of potential
    2   marketing planning documents.                                 2   problems with opioids, the rapid expansion of the
    3         When you -- when you do a search for that on            3   marketplace, so any number of issues that would come
    4   the Relativity database with 29 million documents,            4   up, the numbers of competitors in the marketplace,
    5   you get a lot of returns, and it's a lot of                   5   the numbers of competing alternative goods or drugs
    6   documents to look through.                                    6   that might be used.
    7      Q. When you talk about -- I'm on Page 4.                   7        So there are a number of factors that create
    8      A. Gotcha.                                                 8   the real world context. For example, the size of a
    9      Q. I just have some terminology questions.                 9   particular sales force is a real world context.
   10   First of all, the -- Exhibit 1, the report itself,           10     Q. Would you consider changes in thinking,
   11   has this been subjected to peer review?                      11   changes in medical judgment about the risks and
   12      A. Well, certainly the case study methodology             12   benefits of opioid painkillers over time to be part
   13   has been subjected to peer review over the years.            13   of the real world context that you should consider?
   14   It's not a new technique. It's -- it's been subject          14     A. Yes. I would -- I would consider -- I would
   15   to peer review in many publications regarding case           15   think that the real world context would necessarily
   16   study methodology.                                           16   include changing paradigms about treatment of pain.
   17         The theoretical underpinnings of the                   17     Q. Is part of the real world context that you
   18   research on prescribing behavior and pharmaceutical          18   considered the package inserts for these particular
   19   marketing, those have all been subject to peer               19   drugs and how they might have changed over time?
   20   review, but as far as I know, I was not at liberty           20     A. That -- we're -- we're bordering on outside
   21   to have anybody review this, this document, prior to         21   of real world context, and now we're bordering on
   22   it being, you know, used in this matter.                     22   actual context of marketing decision-making. So I
   23      Q. Okay. So I think the answer to my question             23   have to be careful how I answer that, but to a
   24   is no?                                                       24   degree, the -- a change in the package insert
   25         MR. CHALOS: Object to the form.                        25   could be reflective of a change in thinking at a

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    1      A. Not exactly. The -- the --                              1   regulatory agency, that's real world context.
    2      Q. And I was asking this particular document,              2          Decisions within a company, though, about
    3   this -- the conclusions that you reached in your              3   changing the package insert would not be. They
    4   expert report, it's not -- those particular                   4   would be marketing context. So it's a fine line
    5   conclusions have not themselves been subject to peer          5   there, I realize, but it has an important
    6   review, correct?                                              6   distinction to me.
    7      A. Well, the way you worded it, though,                    7      Q. I'm not following.
    8   concerns me, because there are opinions that I                8      A. I'm sorry. I can try that again.
    9   express that are completely consistent with                   9      Q. Try it again.
   10   literature that has been peer reviewed. So, I mean,          10      A. Okay. So let's take the package insert as
   11   I think it's just hard to categorize it that way.            11   an example. So if Purdue decides that they're
   12         If you're asking this particular document,             12   changing their package insert for whatever reasons,
   13   no, it has been not -- not been peer reviewed                13   based on new research or based on a marketing
   14   because it's subject to a protective order, but if           14   decision that's made, that is not necessarily real
   15   you're asking, have some of the opinions and -- are          15   world context. That's Purdue's marketing behavior.
   16   they validated elsewhere? Yeah, absolutely.                  16   It has significance from a marketing perspective.
   17      Q. When you say in Paragraph 16 that you're               17          If, however, the FDA comes to Purdue and
   18   examining marketing in a real world context, what            18   says, we don't like that package insert, we need you
   19   does that mean?                                              19   to change it, that's real world context, because
   20      A. Well, you know, I think with regard to                 20   it's the outside influencing Purdue, rather than
   21   opioids in particular, to look at the marketing and          21   Purdue making a marketing decision and taking that
   22   not consider what was happening at a societal level          22   to the marketplace.
   23   at any point during the marketing of the opioids             23      Q. Do you know whether that occurred, that
   24   would be taking it out of its real world context;            24   particular event occurred in this case?
   25   for example, omitting that there were, at various            25      A. Oh, yes, I do.

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    1     Q. And you know that the package insert for             1   I refer to the marketing messages as being false and
    2   OxyContin was changed along the way?                      2   misleading. So the assumption that I guess I was
    3     A. Yes.                                                 3   asked to make is that these -- a group of other
    4     Q. Did that -- did the changes in the package           4   experts will be providing testimony to that effect.
    5   insert -- are they reflected anywhere in your             5   I already had indication of that through the warning
    6   analysis?                                                 6   letters from the FDA.
    7     A. I believe so, yes.                                   7      Q. What other plaintiffs' experts are you
    8     Q. And tell me how.                                     8   referring to?
    9     A. Again, I -- I am a little -- I'm the only            9      A. I guess, as I recall, Kessler, Shoemaker,
   10   person in the room -- well, there's one other person     10   Lemke, Valentine, Perrin. I'm not sure I got them
   11   that doesn't have a computer, so -- but --               11   all, but I think there were five. Did I give you
   12     Q. I don't have one.                                   12   five?
   13     A. That's true, but to go -- I know that the           13      Q. I think so. So in connection with the case
   14   changing -- it seems in my report there is a section     14   study in this lawsuit, you were asked to make
   15   that refers to changes in marketing of opioids over      15   assumptions about -- that the defendants' marketing
   16   time, and I am pretty sure that it's either              16   messages were false, misleading, inaccurate, or
   17   referenced or discussed in that section about            17   designed to misstate the risks and benefits of
   18   changes to the Purdue packaging. So the                  18   defendants' drugs; fair? And I'm looking at --
   19   significance to that is -- is multi, though.             19      A. So --
   20   There's a lot of different marketing significance.       20      Q. -- Paragraph 154 of your --
   21     Q. I'm trying to understand sort of -- I mean,         21      A. I'm sorry. I can't help it. I have to
   22   I understand sort of the marketingspeak about it has     22   think about it.
   23   significance in the marketing perspective, but           23      Q. Yeah.
   24   I'm -- and perhaps we can get beyond this -- my          24      A. The -- I think it's -- I think that's true,
   25   mental block here.                                       25   but also, as I said, the -- the case study revealed
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    1         You're not prepared to and you're not going         1   information of its own merit based -- that had basis
    2   to testify that any particular prescribing physician      2   to that.
    3   was influenced by marketing; fair?                        3     Q. Is it typical in the case study methodology
    4         MR. CHALOS: Object to the form.                     4   that you would be asked to make an assumption that
    5     Q. Any -- like a quantitative analysis of 20            5   all of the defendants' marketing messages were
    6   percent of prescribing decisions were influenced by       6   false, misleading, inaccurate, or designed to
    7   marketing, anything like that?                            7   misstate the risks and benefits of defendants'
    8     A. Yeah.                                                8   drugs?
    9         MR. CHALOS: Object to the form.                     9     A. It depends.
   10     A. I have -- I have not undertaken any                 10         MR. CHALOS: Object to the form.
   11   quantitative analysis of individual prescribing          11     A. It depends.
   12   decisions. My opinions are related to overall            12     Q. Have -- have you done that before in
   13   prescribing by physicians in general.                    13   connection with any, I mean, expert opinion you've
   14     Q. Okay. And so I kind of view your -- I don't         14   given in a lawsuit?
   15   want to quarrel with you about this, but your report     15     A. I'm hesitating because the answer to that is
   16   is more of a qualitative report? This -- these are       16   "yes," but it -- I'm not sure I can discuss it. I
   17   the qualities of the marketing.                          17   don't know what -- I would need to ask you or these
   18         MR. CHALOS: Object to the form.                    18   other lawyers here what I'm allowed to say about the
   19     A. So case -- case method research is, by              19   GSK matter.
   20   definition, a qualitative research method, so, yes.      20     Q. I mean, I've -- I have reviewed the case
   21     Q. Okay. Good. What's next? Let's see. What            21   study research that's identified in your report, and
   22   is -- were you asked to make any assumptions in          22   I have not seen a particular piece of literature in
   23   connection with your case study in this matter?          23   the -- that talks about the case study methodology
   24     A. I'm not sure about assumptions. I guess it          24   where it says it's appropriate for the person
   25   is an assumption. In the latter part of the report,      25   forming the case study to make broad assumptions

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    1   about the truth or falsity of particular materials        1     Q. And you said it's at least consistent with
    2   that they're looking at. And I am wondering, what         2   the FDA documents that you've reviewed as well, the
    3   is the -- what's the academic basis, the expert           3   warning letters?
    4   basis, for you to do that in this case?                   4     A. Right.
    5         MR. CHALOS: Object to the form.                     5     Q. Right. Okay. Let's look at, sorry, Page 7,
    6      A. So with the case study method, there are            6   and this is a list -- I guess it's just -- here are
    7   always assumptions that have to be made, always.          7   the opinions, 1 through 7?
    8   There's never going to be a time where there aren't       8     A. Yes. One of the -- one of the things about
    9   assumptions that are made, and the assumptions just       9   the case study method, you know, there are different
   10   depend on the nature of the case.                        10   ways of writing it up. The -- one of the more
   11      Q. I mean, those are pretty big assumptions in        11   important things is to -- to communicate your
   12   this case, don't you think?                              12   opinions in a literary way almost.
   13         MR. CHALOS: Object to the form.                    13         And this was something that was developed
   14      A. Well, I think they would be big assumptions        14   by -- or a strategy, I think, that was developed by
   15   if there wasn't a lot of evidence in the case itself     15   Dr. Robert Yin, who's really sort of a leader on
   16   that I've mentioned that -- that led a reviewer to       16   thought processes on case study methods and case
   17   see that it was true.                                    17   study research.
   18      Q. And what evidence are you talking about            18         But he says one of the things you can do is
   19   again?                                                   19   put your -- you put your conclusions right out there
   20      A. The FDA warning letters in specific.               20   up front. And it's -- he calls it a suspense
   21      Q. Is that the sole basis for you to reach that       21   method, where you then -- the reader has to read the
   22   conclusion?                                              22   rest of the document to see where those opinions
   23      A. I'm not sure how to answer that because I          23   came from.
   24   think the basis for it is enough, based on the FDA       24         So it's part of a strategy that's -- that's
   25   citing that advertising was false or misleading.         25   accepted in case study reports and certainly one

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    1     Q. Do you consider yourself to be -- to have            1   that I applied in this case.
    2   expertise to be able to evaluate whether a                2     Q. And are these -- I know this is a synopsis
    3   particular drug manufacturer's representations about      3   of the seven opinions you intend to offer, but does
    4   the risks and benefits of its drugs are false or          4   this cover the waterfront in terms of the opinions,
    5   misleading?                                               5   at least the high level waterfront?
    6         MR. CHALOS: Object to the form. Object to           6     A. Yes, it does.
    7     the extent it calls for a legal conclusion.             7     Q. So if I want to know Dr. Perri's opinions in
    8     A. So are you asking if I have the knowledge or         8   this case, I would just have to look at this report,
    9   skill to look at an ad and say, hey, this just            9   and the entire -- all of his opinions are included
   10   doesn't sound right to me or --                          10   somewhere in this report?
   11     Q. Well, I'm really -- sorry. I'm not -- I'm           11     A. All of them are included in this report, and
   12   not being clear about what I -- what I -- what I'm       12   they are summarized on Page 7, 8, and 9.
   13   trying to understand.                                    13     Q. And are there any other opinions that you
   14         I take it that in this case, you're not            14   intend to offer that aren't in this report?
   15   intending to offer an opinion that particular            15          MR. CHALOS: Object to the form.
   16   advertisements are false or misleading; fair?            16     A. Not that I'm aware of.
   17   That's somebody else's role, that's Kessler's role,      17     Q. Okay. I mean, obviously, your report is
   18   the other guys you -- folks mentioned; fair?             18   really long. So it's chock-full of stuff, but
   19     A. Yes, that's true.                                   19   let's -- in terms of your discussion of marketing,
   20     Q. So in connection with your case study, you          20   did you pull that from any particular resource? Is
   21   tell us at Paragraph 154 you've just assumed that        21   that pulled from your Pharmaceutical Marketing
   22   the marketing messages were false and misleading,        22   textbook?
   23   right?                                                   23     A. It's pulled from 30 years of experience, and
   24     A. I'm pretty sure that I also said the part           24   most of it was just drafted, supplemented with
   25   about the FDA.                                           25   citations, and tweaked, so I honestly can't tell you

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    1   that -- I know I didn't take anything from the               1     Q. Well, are you familiar with the FDA
    2   marketing textbook, but I'm sure that -- because             2   regulations' fair balance requirements?
    3   I've written over the years, that -- that my writing         3     A. Yes, I am.
    4   is going to begin to sound just alike or it's going          4     Q. What do you know about the fair balance
    5   to be pretty close to the same thing.                        5   requirements?
    6     Q. Let's look at Paragraph 29.                             6     A. That when it comes to the communication of
    7     A. Paragraph 29?                                           7   information in an advertisement, there has to be a
    8     Q. Yeah. We're on Page 13. When you -- when                8   balance of the information, and that balance must be
    9   you talk about pharmaceutical marketing having a             9   based on an assessment of the benefits and the
   10   heightened standard -- do you see that -- is that           10   risks.
   11   heightened standard published anywhere?                     11        And the FDA has specific criteria that they
   12     A. So I think this is a generally accepted                12   use to make that assessment. Some of the FDA
   13   principle, that prescription pharmaceutical products        13   warning letters cited in this report discuss that
   14   are, by nature, more dangerous and require a more           14   very issue.
   15   careful approach to their marketing than other              15     Q. Tell me, when a manufacturer of drugs
   16   products, like bubble gum or baseball cards.                16   creates a marketing piece, are they required to
   17         I don't know that -- that it's published in           17   submit that to the FDA?
   18   a formal way, but I know that certainly, if you read        18     A. They are required to submit to the FDA their
   19   the introductory paragraphs to just about any of the        19   ad copy transmittal form -- I think it's a 2253 --
   20   research that's cited here, they'll talk about the          20   prior to that ad being used for the very first time.
   21   importance of the prescription marketplace, and             21   My understanding is, is that if the FDA does not
   22   that -- that drugs carry risks and benefits for             22   respond -- sometimes manufacturers will request a
   23   patients.                                                   23   specific response, but if they -- if the FDA doesn't
   24     Q. Right, but if I'm a pharmaceutical company             24   respond, the manufacturer is free to move forward
   25   and want to write some marketing for my new patent          25   with that ad.
                                                        Page 91                                                          Page 93
    1   medicine, is there anyplace I can look to determine,         1      Q. Does the -- what's the name of the
    2   like, what the -- what the rules are? Like, is               2   organization within the FDA that takes care of or
    3   there an FDA regulation, a publication?                      3   regulates pharmaceutical advertising?
    4     A. I think all of the above. I think certainly             4      A. DDMAC.
    5   the FDA has rules and guidelines and regulations. I          5      Q. DDMAC?
    6   think that you could look to pharmaceutical                  6      A. Division of Drug Marketing and
    7   marketing literature that is -- has got plenty of            7   Communications.
    8   information regarding, sort of the -- the dos and            8      Q. Yes. Does it have a new name now?
    9   don'ts.                                                      9      A. It does.
   10         If you look at the Pharmaceutical Research            10      Q. What's it called now?
   11   and Manufacturers Association, they have guidelines         11      A. I'm old school. I have not -- it's -- let
   12   that they've promulgated, as have other similar             12   me think about it. I'll get it for you. Yeah.
   13   organizations around the world.                             13      Q. OPDP?
   14     Q. Do you know what the FDA regulations are               14      A. Office of Prescription Drug Promotion,
   15   related to prescription drug advertisements?                15   right. That's it.
   16     A. I mean, in general, yes.                               16      Q. Okay.
   17     Q. I mean, specifically. I mean, you know that            17      A. Thank you.
   18   the FDA regulates prescription drug advertising.            18      Q. And do those particular organizations
   19   I'm asking, what do you know about that                     19   maintain or provide consumers, prescribers, the
   20   specifically?                                               20   ability to complain about particular advertisements?
   21         MR. CHALOS: Object to the form.                       21      A. There is a mechanism, a -- where you can --
   22     A. Well, if you're talking about -- that's --             22   I think it's called the Bad Ad Program, where you
   23   that's really a broad question. I mean, it's hard           23   can report a --
   24   to answer. I could start at the top and work my way         24      Q. Oh, yeah, sorry. Bad Ad Program, how long
   25   down with that.                                             25   has that been in existence?

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    1     A. I think the Bad Ad Program is -- is                    1     Q. In what way are they reflected in the
    2   relatively new, maybe 2010, 2012 era, but I'm not           2   metrics? Just that sales went up?
    3   positive on that. I -- let's put it this way. I             3     A. Well, you know, we have a level of need in
    4   believe there's always been a mechanism for someone         4   the population for pain, pain management, and that's
    5   to report a bad ad. I think it's a formal program           5   epidemiologically set at a certain level. We have a
    6   now that's been in existence about the last seven or        6   certain number of people with low back pain, a
    7   eight years.                                                7   certain number with cancer pain. And that doesn't
    8     Q. Let's look at Paragraph 32. I'm not -- I               8   quadruple from one year to the next.
    9   don't understand your reference here to distortion.         9         And so that's where the distortion was
   10   What do you mean by that?                                  10   noted, when we saw huge increases in the utilization
   11     A. This is an interesting paragraph, I think --          11   of specific products in very short periods of time,
   12     Q. Yeah.                                                 12   which one plausible explanation was that it's
   13     A. -- because it -- you know, what is the right          13   because they are opioids, and they've created this
   14   word to describe a product that its mere consumption       14   distortion.
   15   requires increased consumption of that product?            15     Q. Okay. What evidence do you have to support
   16         So I decided to examine it from a marketing          16   that plausible explanation you've just given me?
   17   perspective, and what happens in terms of marketing        17     A. The marketing metrics that the defendants
   18   is about creating value for customers based on their       18   collected and reported in their documents.
   19   needs, wants, and demands, but how does it impact          19     Q. Are defendants' reporting marketing metrics
   20   needs, wants, and demand.                                  20   related to people that they think have become
   21         So the opioid distortion is created by the           21   addicted to the drugs?
   22   additional need created by use of a product that,          22     A. No.
   23   over time, requires increased use or increases the         23     Q. Or is it just that sales increased?
   24   desire to use that product, and that's the                 24     A. So it's --
   25   distortion of the marketplace. It's a distortion           25         MR. CHALOS: Object; form. Object to the
                                                       Page 95                                                          Page 97
    1   from a marketing perspective.                               1      form.
    2         You take an antibiotic, and you get -- you            2         THE WITNESS: Sorry. I've got to slow down
    3   get better, or you take a blood pressure medication,        3      here.
    4   and you continue taking it over time, but with              4      A. So it is -- it is based on the fact that
    5   regard to opioid use, there is a different factor           5   sales increased, primarily, but part of the case
    6   that comes up that I think has distorted the demand         6   study methodology is to infer, from the facts that
    7   for those drugs.                                            7   are determined, what led to that. So it's
    8     Q. Well, you know that many people receive                8   completely consistent with the methodology to
    9   prescriptions for -- for opioid pain medications            9   evaluate competing alternatives.
   10   that they use pursuant to doctor's instructions and        10         So one alternative in this case is that we
   11   then stop taking it; fair?                                 11   had a huge increase in the number of patients with a
   12     A. I haven't analyzed that.                              12   particular disease or condition or all diseases and
   13         MR. CHALOS: Object to the form.                      13   conditions, in reality, or that it was due to a
   14     A. So I haven't analyzed that, but I -- I'm              14   distortion in demand created by the marketing of
   15   aware, as a pharmacist outside the scope of this           15   opioids.
   16   analysis, that patients go to a dentist and get an         16      Q. What other alternatives did you consider?
   17   opioid. And when their pain is gone, they stop             17      A. The one that I mentioned and the marketing
   18   taking it.                                                 18   of -- the epidemiological -- in other words, making
   19     Q. So how do you -- have you made any effort to          19   it an access issue, that the certain number of
   20   measure this distortion that you talked about?             20   patients are established that need opioids, and then
   21     A. I did not measure the distortion, but the             21   we see that number growing exponentially over a
   22   distortion was -- from a marketing perspective, the        22   number of years, which doesn't make sense from an
   23   distortion was evident in the marketing metrics that       23   epidemiological perspective, but the marketing
   24   were collected by the defendants and the successes         24   continues and the sales continue. Therefore, the
   25   that they had in their product sales.                      25   most logical explanation, which is the most simple,

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    1   is that opioids create their own demand.                     1   growing, and, again, patient demand would not be
    2     Q. Are you an epidemiologist?                              2   expected to grow at that rapid of a rate from year
    3     A. I -- I'm not an epidemiologist by trade, but            3   to year.
    4   epidemiology is a pretty broad subject area, and I           4     Q. And what is that conclusion based on, you
    5   have people that I work with that are                        5   wouldn't expect demand to grow --
    6   epidemiologists and they study epidemiology. I have          6     A. Well --
    7   studied disease and the incidence of disease.                7     Q. -- from year to year at that rate?
    8   The -- epidemiologists take a specific way of                8     A. Well, we saw -- in -- in the marketing
    9   looking at things, and they have their own                   9   documents, we saw that -- that marketing -- that
   10   methodology.                                                10   growth in the opioid marketplace was growing at
   11         So I didn't look at it from an                        11   about 10 to 12 percent a year prior to the
   12   epidemiological perspective, but I certainly applied        12   introduction of OxyContin.
   13   that knowledge that I have to evaluating the                13        After the introduction of OxyContin, when
   14   competing alternatives, which is completely, again,         14   the marketing became much more aggressive, then we
   15   consistent with case study methodology.                     15   saw rapid growth in that product category. So from
   16         There are -- there are explanations. Some             16   a marketing perspective, that just makes sense, too.
   17   are more plausible than others. You go with what            17     Q. Well, just because from the market
   18   makes the most sense and what is most supported by          18   perspective, it makes sense doesn't mean it's a
   19   the data.                                                   19   scientific opinion. I mean, to me, I'm not sure if
   20     Q. Well, I guess I'm a little flummoxed by your           20   we're dealing with science here or just sort of from
   21   answer to me, because I don't understand what is the        21   the marketing perspective, it makes sense. I don't
   22   standard of plausibility that you're -- what                22   know if that's science.
   23   evidence is there to support your plausibility              23        So I'm trying to get to the science behind
   24   determination? And did you consider any other               24   your conclusion. I think what you've told me --
   25   plausible reasons why opioid prescriptions might            25   and I'm -- is that there was a rapid increase in the

                                                          Page 99                                                       Page 101
    1   have gone up?                                                1   market for opioids beginning in 1995.
    2      A. So let me break it down for you.                       2         And one explanation for that that you're
    3         MR. CHALOS: Object to the form. That's                 3   giving is that, at least potentially, some of that
    4      okay.                                                     4   increase in the prescribing could have been due to
    5      A. Let me try to break it down. So we're in               5   people becoming addicted to the drug; fair?
    6   1995, and opioids are growing at 10 percent a year.          6         MR. CHALOS: Object to the form.
    7   And we go from '95 to '96, and they grow at four             7      A. So the -- that doesn't completely explain
    8   times that rate. And the only difference -- we've            8   the basis, but it's part of the basis. And the rest
    9   had no change in disease. We've had no change in             9   of the basis is that that wasn't just '95 and '96.
   10   the population other than normal year-over-year             10   It was beyond that. It was every year between 1995
   11   growth, but the sales of opioids quadrupled.                11   and 2010 or so, and the -- the rapid and sustained
   12         That provides a pretty sound basis for that           12   increase in opioid utilization was key to that.
   13   explanation, that it was marketing and not patient          13         And it's all from a marketing perspective.
   14   need that was creating and driving that demand.             14   It's not from a, you know, patient care level
   15      Q. Other than the number of prescriptions going          15   perspective. It's all about the marketing. What
   16   up from -- in your example, I think, '94 to '95, is         16   were the variables that changed? What were the
   17   there any other evidence to back up your conclusion?        17   variables that remained constant?
   18      A. Certainly, because over time, that same               18         Population does grow. People can get
   19   scenario was repeated. Between 1995 and about 2010,         19   sicker, but to see those dramatic of changes would
   20   there was a 1500 percent increase in that market.           20   not be expected, and history taught us that they
   21   So it's not just one data point that I looked at.           21   weren't seen prior to the marketing of OxyContin.
   22   It was multiple data points with data flowing in            22   And then after that marketing began, we did see
   23   from multiple manufacturers' marketing metrics that         23   those changes.
   24   showed increases -- for the most part, increases in         24         So from a marketing perspective, I'm very
   25   sales, but always the market for opioids was                25   comfortable with the science behind the conclusion

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    1   that -- that it was the opioid marketing that began          1     Q. Was that your intent to --
    2   in and around that time period that created that             2     A. I just wanted to be as complete as possible.
    3   sustained increase in utilization of opioids.                3     Q. So why don't we take a break, have lunch,
    4     Q. Let's move on to -- let's see. We've talked             4   come back at 12:30. Is that cool?
    5   a little bit about Paragraph 29 and the heightened           5     A. That's fine. Thank you.
    6   standards that you've identified in your -- the              6         THE VIDEOGRAPHER: We are now going off the
    7   heightened standards for pharmaceutical marketing in         7     video record. The time is currently 11:45 a.m.
    8   Paragraph 29, but then in Paragraph 35, you talk             8     This is the end of Media Unit Number 1 -- Number
    9   about basic standards.                                       9     2.
   10          Do you see that?                                     10       (Recess from 11:45 a.m. until 12:59?p.m.)
   11     A. Let me get there. So just a small                      11         THE VIDEOGRAPHER: We are now back on the
   12   distinction there. The heightened standards apply           12     video record with the beginning of Media Number
   13   for prescription drugs over other consumer goods,           13     3. The time is currently 12:59 p.m.
   14   and then these are additional standards that apply          14   BY MR. VOLNEY:
   15   to pharmaceutical marketing above and beyond.               15     Q. Okay. Let's -- let's get back to it. I
   16     Q. I notice that in Footnote 35, which is the             16   have some questions -- I want to return to Figure 2
   17   backup for the basic standards comment, you've              17   in your report, which is Exhibit 1, so maybe you
   18   identified a number of articles.                            18   could turn to that. Frankly, I'm hoping that you
   19     A. Yes.                                                   19   can help me understand what this Figure 2 is
   20     Q. And it looks like most of those articles               20   intended to show.
   21   come from medical journals or publications from             21         So what is Figure 2 intended to show?
   22   places outside of the United States; is that right?         22     A. Sorry. Figure 2 is a graphic representation
   23     A. I specifically wanted to -- opioids are a              23   of the decision process that physicians use --
   24   drug that are used worldwide. And they -- there are         24   actually, any -- anyone would use in deciding
   25   agencies, associations, and so forth worldwide              25   whether or not to purchase a product or to utilize a

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    1   that -- that have published opinions and so forth,           1   product. That's the -- I'm looking over to my left
    2   and recommendations, guidelines, if you will. So I           2   to see. It's the blue -- the blue boxes.
    3   wanted to be sure to be as complete as possible              3      Q. The blue boxes show what?
    4   there, but there are also those cited from the               4      A. So that is sort of the -- it's the -- the
    5   United States as well.                                       5   short version of the information processing model.
    6     Q. Which are which ones?                                   6   It's where the actual decision or product choice
    7     A. That would be the PhRMA citation.                       7   gets made. And that is the -- begins with a
    8     Q. Oh, the Pharmaceutical Research and                     8   patient's need.
    9   Manufacturing Association's Code on Interaction With         9         It's adapted in this case. This is a model
   10   Healthcare Professionals?                                   10   that has been utilized in marketing for literally
   11     A. Yes.                                                   11   decades. It's adapted in this case to apply
   12     Q. Are there any others that come from the US?            12   specifically to the physician prescribing decision.
   13     A. So to the extent that US manufacturers are             13         But it begins with patient's need or a
   14   also involved in some of these other countries, for         14   recognized -- problem recognition or need
   15   example, just in general, the World Health                  15   identification, and then that's followed by product
   16   Organization, you know, being involved in -- at the         16   information search, an evaluation of alternatives by
   17   global level, there may be some overlap there, but          17   the prescriber, and then choice of a prescription
   18   I'm pretty sure that's the only one that is specific        18   medication, the patient's eventual use of that
   19   to the US. I mean, yeah, that's --                          19   medication, and then some outcome from that.
   20     Q. Is that right?                                         20         The patient either was satisfied with the
   21     A. It is. I -- I just was -- you know, I was              21   result or not. In this case, they either found that
   22   looking at it. It just struck me that, you know,            22   it relieved their pain or it doesn't. They found
   23   several defendants are, you know, multinational             23   that it made them nauseous or it didn't. And that
   24   firms, and some of these citations actually come            24   information then feeds back into the repeat process
   25   from their home countries, so --                            25   for when a repeat use is necessary. So that's the

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    1   bottom -- that's the mainstay of the decision             1   into your thought processes and cognition.
    2   process.                                                  2         So sort of the right-hand side of the model
    3         What's important about this model is it             3   is more on the affective side, the green boxes are
    4   shows you how the information that's available in         4   more on the cognitive side, and something ends up in
    5   the marketplace relates to the -- the blue boxes          5   your memory, something ends up as a knowledge that
    6   where the decision is made. So if you look to the         6   you've gained that when you have a patient that
    7   right, we have a lot of external influences, things       7   shows up with a need, back to the blue boxes now,
    8   that are innate to the prescriber, perhaps, such as       8   you then reach back into your memory and pull that
    9   culture or other issues, other -- other                   9   information out and use it.
   10   characteristics like that.                               10         So it is a fairly complete structuring of
   11         The -- the box below that, individual              11   how different influences impact that ultra-important
   12   differences, includes several things that -- that        12   decision to prescribe a medication for a patient.
   13   are slightly different, for example, including           13      Q. Okay. Looking at this model, where does the
   14   attitudes and personality.                               14   physician's training factor in?
   15         So these -- these factors do play into the         15      A. That could come in a couple of different
   16   decision model because your beliefs, values, your        16   places. For example, it could come from memory.
   17   attitudes and perceptions have a big part -- a big       17   They've been taught in school, so they've attended
   18   part to play in your decision-making.                    18   information. They've understood it or accepted or
   19         Just -- so, for example, if you held the           19   rejected it, built it into their memory banks. So
   20   belief that -- that drug companies were stellar in       20   it could come under memory.
   21   their -- their research and that the clinical trials     21         It could also come in terms of their
   22   that they -- they publish and so forth were just,        22   individual differences. They could have had a
   23   you know, really the gold standard, then that would      23   professor in medical school that said, hey, never
   24   positively impact your decisions in this model.          24   believe anything a drug company tells you, and
   25         If, on the other hand, you thought that            25   that's going to impact the way they look at things

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    1   there was always the potential for commercial bias        1   from then on. So it could affect their perceptions,
    2   when a drug company sponsors research, that might         2   their attitudes, their beliefs, but it would come
    3   flavor you in a negative way. So these kinds of           3   into play through one of these avenues in the model.
    4   influences are important.                                 4     Q. Okay. Now, what about a particular
    5         And if you swing over to the -- to the              5   practitioner's clinical experience?
    6   external stimuli completely opposite that on the          6     A. So if you look at the blue boxes again,
    7   left side of the model, we see that there are active      7   where we have a patient outcome, that is -- in
    8   stimuli in the marketplace that go beyond a patient       8   marketing we have -- we have two possible outcomes,
    9   showing up with a need or your own individual             9   either satisfied or not satisfied. There can be
   10   characteristics or the environment surrounding all       10   ranges of that, but ultimately you either decide to
   11   of it, and that includes marketer-dominated and          11   use the product again or not.
   12   marketer -- and nonmarketer-dominated influences in      12         So that information, if you're a prescriber
   13   the marketplace.                                         13   and your patient is not happy or their pain was not
   14         These become important when a physician            14   relieved, that means I've got to go back to the
   15   doesn't have all the information that they need and      15   drawing board and search for the next best
   16   they are searching for more information so they can      16   alternative or search for the right answer; for
   17   provide the best care to their patient.                  17   example, increase the dose, change the medication,
   18         So marketer-dominated and                          18   try some other form of therapy, whether it be drug
   19   nonmarketer-dominated stimuli that are the result        19   or nondrug therapy, surgery, whatever it might be.
   20   of either company marketing efforts or an article        20         If the patient is satisfied, then that also
   21   that is read or interaction with colleagues, that        21   factors back into the model, if you follow the arrow
   22   all then begins to be processed by the physician or      22   back up, so that the doctor would then or the
   23   prescriber through the green boxes, which model the      23   prescriber would then know that the patient was
   24   steps that you go through in incorporating               24   happy with that alternative, they got a good
   25   information that's gleaned from the external stimuli     25   outcome, and they continue to prescribe.

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    1      Q. What about the clinical experience that               1   today or just now -- that some doctors look down
    2   would have been gleaned by a prescriber who                 2   their nose at pharmacy company advertising; fair?
    3   regularly prescribed a certain type of medication to        3         MR. CHALOS: Object to the form.
    4   a group of patients?                                        4     A. Yeah. I think that's -- that's something
    5      A. Well, that -- that's -- this is a -- this             5   that if you -- if you look at the citations of --
    6   model is intended to represent a collection of data         6   that are included in the report, you would see that
    7   points, not just an individual patient, although            7   there are a number of cites, and also agreeing with
    8   it -- the decision process could apply to an                8   that proposition that -- that doctors are skeptical
    9   individual patient.                                         9   about the information they see if it's advertising
   10          So if a doctor has lots and lots of                 10   information.
   11   experience with a particular outcome in his patients       11     Q. Okay. Let's -- let's continue on our waltz
   12   or her patients, then that information feeds back          12   through the report here. Let's go to Paragraph 39.
   13   into their memory as -- and will flavor their future       13     A. Okay. I'm with you.
   14   prescribing decisions.                                     14     Q. So in terms of the decision-making process
   15      Q. So then conversely, if a doctor had a                15   before an actual patient gets a drug or medicine,
   16   negative experience with a patient with a particular       16   there are a number of different potential -- well, I
   17   drug, the doctor might decide -- or might be more          17   guess earlier we talked about gatekeepers before a
   18   reluctant to prescribe that to a new patient or a          18   drug makes it from a concept to patient, and those
   19   different patient; fair?                                   19   gatekeepers include these gatekeepers that you list
   20          MR. CHALOS: Object to the form.                     20   here, prescribers, payers, sites of care, and
   21      A. So, again, the -- I can only look at this            21   influencers; fair?
   22   from the marketing perspective. So if we talk in           22     A. So you refer to them as gatekeepers. I
   23   terms of satisfaction and dissatisfaction, I'd agree       23   think -- I think the discussion we had this morning
   24   with that. If the outcome is one that the patient          24   was more -- and I'm not -- not necessarily
   25   had a good outcome and the doctor deemed that to be        25   disagreeing with you, but I think the discussion we
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    1   a positive, then it would bode well for future use.         1   had this morning was more focused on, you know, a
    2         So within the scope of an individual                  2   checks and balances of a gatekeeper. These are --
    3   patient, I can't really comment on that, but within         3   these -- these customers are -- in this context are
    4   the scope of the marketing outcome, satisfaction and        4   facilitators.
    5   dissatisfaction, I agree with that.                         5     Q. Facilitators, what do you mean by that?
    6     Q. I take it what -- or one of the things I               6     A. So in order to sell a product, the
    7   gleaned from this particular diagram is that there          7   pharmaceutical marketer has to appeal to the
    8   is a range of information that's in the mix when a          8   interest and the needs of these customers to satisfy
    9   person in a clinical setting, a doctor in a clinical        9   the needs that they have, and so they're -- they're
   10   setting, decides whether to prescribe a certain            10   really not looking at this as a gatekeeper. It's
   11   medication; fair?                                          11   more of a how do we meet customer needs, and what --
   12     A. There is a lot of information that has to be          12   who are those customers? And that's what I've
   13   processed. That's absolutely true.                         13   identified in this paragraph.
   14     Q. And one of the subsets of information that a          14     Q. Okay. I think you're answering my question
   15   doctor would have to process would be marketing            15   from the perspective of the pharmaceutical company;
   16   information?                                               16   fair?
   17     A. Yes, that's true. They would be -- they               17     A. Yes.
   18   would need to process that information because --          18     Q. But from the perspective of the customer or
   19   and I -- I'm pretty sure I -- I addressed this to          19   the -- ultimately the patient, these will be
   20   some degree in the report. They've got to stay             20   gatekeepers before the drug makes it from the
   21   current on -- with their drug knowledge and their          21   pharmacy to their medicine cabinet; fair?
   22   disease knowledge, and one of the ways they do that        22     A. So I think they --
   23   is the information provided by marketing.                  23         MR. CHALOS: Object to the form.
   24     Q. And I think you would agree with me that in           24     A. These would be people that would have an
   25   your experience -- I think you've referenced it here       25   influence over what drug ends up in the patient's

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    1   hands. I agree with that, yes.                             1   changed over time?
    2     Q. And then some of these influences that are            2     A. Yes, I think I have.
    3   reflected here or influences that these people             3     Q. Are you aware that marketing has changed
    4   exercise would also go into -- for this physician          4   over time?
    5   prescribing information processing model; fair?            5     A. I think it did -- it did -- there's two
    6     A. They would have an entrance to that model,            6   answers to that. The specific tactics remained
    7   yes.                                                       7   about the same through the entire period of this
    8     Q. Okay. So they're in the mix, in other                 8   case, the strategies and so forth. The messages
    9   words?                                                     9   changed over time. The products changed somewhat
   10     A. Each of these -- each of these customers             10   over time.
   11   could have, in any instance, an impact on the             11     Q. You mentioned before our lunch break that
   12   choices available to a -- to a prescriber which           12   part of the reason you feel comfortable making the
   13   would affect their decision process.                      13   assumption that defendants' marketing messages at
   14     Q. Okay. Do you know, was there any                     14   large were misleading is because of the existence of
   15   direct-to-consumer marketing by the defendant             15   the FDA warning letters. Is that fair?
   16   manufacturers in this case?                               16     A. Yes.
   17     A. Direct-to-consumer marketing, yes.                   17     Q. Do you know whether any defendant took
   18     Q. Okay. What kind of direct-to-consumer                18   corrective action as a result of any warning letter?
   19   marketing are you aware of?                               19     A. Yes, I think they did.
   20     A. So there were numerous patient brochures and         20     Q. Are -- do you know whether that corrective
   21   patient-oriented materials that were distributed.         21   action was successful?
   22   In addition to -- my assessment, in addition to           22     A. I guess it depends on how you define
   23   that, there was the work through advocacy groups          23   successful.
   24   that were supported by defendants. And those are          24     Q. Well, have you made any effort in your
   25   both forms of direct-to-consumer marketing, which I       25   analysis to evaluate whether that corrective action

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    1   distinguish in my report from direct-to-consumer           1   was successful in any particular case?
    2   advertising.                                               2     A. So, I mean, if we take the package insert
    3     Q. Okay. What's the difference between                   3   change for OxyContin, and you -- you look at, you
    4   direct-to-consumer marketing and direct-to-consumer        4   know, what -- what -- the circumstances surrounding
    5   advertising?                                               5   that change, the circumstances on -- that
    6     A. So marketing is the broad umbrella, and               6   surround -- which are completely marketing
    7   advertising would be a very specific -- it's what          7   behaviors, of getting the information that ended up
    8   you and I see when we wake up in the morning to            8   in the original OxyContin package insert into that
    9   Ozempic commercials or something else where we're          9   package insert and the negotiations that went on
   10   seeing advertisements that are aimed at product           10   with the FDA, where the FDA got their information,
   11   sales directly in the media aimed at consumers.           11   and how the FDA used that information and how it
   12     Q. Do you consider the activities of advocacy           12   ended up being the way it was, and then you look at
   13   groups to be direct consumer marketing by the drug        13   the change that was made.
   14   manufacturers?                                            14         The next step is to say, okay, that's good.
   15     A. At the end of the day, yes, I do.                    15   They made the change to the PI, but what changed in
   16     Q. And why is that?                                     16   the marketing? The PI might have changed, but the
   17     A. Their activities were part of their                  17   marketing didn't change.
   18   marketing plans and designed to advance the messages      18         So I fail to see how that would -- would
   19   and marketing -- and using marketing strategies that      19   impact the analysis because what I was looking at
   20   the defendants sought to advance in the marketplace,      20   was the actual messages being used and how those
   21   so it becomes a part of their marketing.                  21   messages were being communicated and the strategies
   22     Q. Okay. Let's see. Have you made an effort,            22   of how those messages were brought to market.
   23   in considering the marketing pieces that you've           23     Q. Is the PI part of the mix of information
   24   included in your report and in your chart, to show        24   that a prescriber might consider before prescribing
   25   how -- or take into account how the marketing             25   a drug to a particular patient?

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    1     A. If they reviewed the PI, it would become              1     A. And relying on the literature that provides
    2   part of the mix.                                           2   a theoretical underpinning for why those techniques
    3     Q. Is it also fair to say that marketing is              3   are effective or not effective.
    4   only part of the mix to the extent that a particular       4     Q. Okay. Got it. Did you see any marketing
    5   prescriber saw the marketing, remembered the               5   from any defendant in this matter that you
    6   marketing, and sort of put it in his or her brain;         6   considered to be fair and balanced?
    7   fair?                                                      7        MR. CHALOS: Object to the form.
    8     A. That is consistent with the information               8     A. I think the -- the pieces of marketing that
    9   processioning model and how information is                 9   had more balance to them than less balance would be
   10   processed, yes.                                           10   pieces that were related to the package insert, for
   11     Q. All right. So looking at this model, that's          11   example, which is obviously an approved -- an
   12   what that is sort of intended to show? If a doctor        12   approved document.
   13   sees the marketing, is exposed to it, pays attention      13        But when I look at the marketing plans --
   14   to it, comprehends it, accept it -- accepts it, and       14   and there's -- there's a reason why this is true,
   15   retains it, puts it in his memory, if a particular        15   that when I look the marketing plans, the
   16   patient shows up, that particular drug might come to      16   information in those marketing plans tends to be
   17   mind as a drug that is appropriate for that patient.      17   heavily skewed towards the side of what can we do to
   18   Fair?                                                     18   sell more product, not what can we do to withhold
   19          MR. CHALOS: Object to the form.                    19   product or to keep it from selling too fast.
   20     A. Yes, I think that's -- that's accurate.              20     Q. Isn't that the point of a marketing plan, to
   21   The -- I don't want to leave the model completely         21   market?
   22   open, though. The -- when it says acceptance, there       22     A. It -- it is the point of a marketing plan,
   23   is also the possibility of rejection. They can            23   yes.
   24   reject messages as well. So acceptance is a -- is a       24     Q. And you would agree with me that in the
   25   term, it doesn't mean that you will accept every bit      25   great United States of America, drug manufacturers

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    1   of information that you are provided, and the model        1   are allowed to market their products?
    2   does account for that.                                     2          MR. CHALOS: Object to the form.
    3     Q. I think that's a fair point, and I                    3      A. So as I've -- as I've scoped out in my
    4   understand that. I appreciate your clarification of        4   report, I think that that is true as long as they
    5   that point. I think that's a -- that's good to             5   adhere to the standards that have been established
    6   hear.                                                      6   and that exist that relate to the marketing of
    7         The -- this physician prescribing                    7   pharmaceuticals.
    8   information processing model is not -- what you're         8      Q. So the -- the marketing plans themselves are
    9   testifying about in this case is the marketing             9   not documents that are intended to be shared with
   10   piece, if we look at the stimuli on the left.             10   the prescribers, TPPs, et cetera, fair?
   11   You're -- you're here to testify about sort of the        11          MR. CHALOS: Object to the form.
   12   pharmaceutical marketing input into that prescribing      12      A. So marketing -- marketing plans are intended
   13   model; is that fair?                                      13   for, you know, the internal use of the company, but
   14         MR. CHALOS: Object to form.                         14   they -- the value that they bring to the table is
   15     A. So my analysis focused on the marketing              15   that the marketing plans integrate the entire scope
   16   efforts, the branded and nonbranded marketing, and        16   of marketing, which is why I always get a little bit
   17   -- that were designed to influence that memory and        17   nervous when we pick out one thing, like the PI, and
   18   cognition, yielding an acceptance, yes.                   18   try to talk about it.
   19     Q. And so the way you've done that is to                19          Marketing is a integrative process, and
   20   identify, through the Relativity database, the            20   that's another figure in my report, but the idea we
   21   various pieces of marketing materials that were           21   can look at any one piece of information and know
   22   produced by the defendants in the case, as well as        22   what's going on with marketing is just not valid.
   23   reading some deposition testimony that was provided       23   It's the entire scope of activities that are
   24   to you from the various representatives of the            24   combined to create the product image, the perception
   25   defendant companies; is that fair?                        25   in a customer's mind, the -- whether or not doctors

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    1   agree or disagree with it and encode it into memory        1   balance of information.
    2   and then use it in choices for their patients.             2     Q. So at least with respect to the
    3     Q. I think -- I mean, I think what you're                3   consumer-facing documents that you reviewed, you, in
    4   pointing out is that it's a fairly complicated             4   your analysis, identified some of those
    5   decision-making process involving a number of              5   consumer-facing marketing pieces that you believed
    6   different moving parts; fair?                              6   to have a fair and balanced set of information
    7     A. It is -- the decision process has a number            7   provided?
    8   of factors that influence it. The parts aren't --          8     A. Well, I didn't really do that assessment,
    9   aren't really moving, per se, but the -- as                9   but when I reviewed the documents, of course, I
   10   information in the marketplace changes, the               10   would have formed some sense of whether the
   11   information would be a moving target, yes.                11   information was fairly balanced or not.
   12     Q. A doctor's experience with a particular drug         12        But the -- the problem that I had with those
   13   might change and then thereafter influence his or         13   consumer-facing documents, as you refer to them as,
   14   her prescribing practice; fair?                           14   is whether or not they, in every instance, revealed
   15     A. As the model would indicate, if they've had          15   the source of the information in those documents and
   16   a positive outcome, that would influence it in a          16   whether it was promotional material or whether it
   17   favorable way, and if they've had a negative patient      17   was sponsored by a company or whether it was
   18   outcome, it might do the opposite.                        18   completely, you know, without -- without a
   19     Q. I think I asked you a question earlier. I            19   commercial influence.
   20   don't know if I got an answer to it. Have you seen        20     Q. So you created a 20-something-page chart
   21   any marketing piece -- and I mean a customer-facing       21   with your assistant of what you believed to be
   22   marketing piece -- from a defendant in this case          22   misleading marketing messages. Have you similarly
   23   that you would consider to be fair and balanced? I        23   created a 20-page chart of the marketing messages
   24   think you answered my question that you -- at least       24   that defendants promulgated that were fair and
   25   maybe the product insert in some cases?                   25   balanced?

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    1      A. Well, the product insert wouldn't -- I don't         1     A. So I --
    2   think you --                                               2         MR. CHALOS: Object to the form.
    3         MR. CHALOS: Hang on.                                 3     A. I have to -- I have to -- to pull you back
    4         Object to the form.                                  4   on that. That Table II in my report is not a table
    5      A. I don't think you qualified it that way              5   of false and misleading marketing messages. It is
    6   before, because I don't think you said a                   6   simply a table of the themes that the marketing
    7   consumer-facing product or information piece. I was        7   focused on.
    8   looking at all of the marketing pieces for -- if           8         They in -- nowhere in my awareness of this
    9   you -- specifically talking about information that         9   report do other than what is concluded by either the
   10   was targeting consumers, is that what your question       10   FDA letters or by the assumption that those messages
   11   is asking?                                                11   were indeed false.
   12      Q. Right. That's my question. I'm sorry if             12         My job, my task, my analysis here was to
   13   I --                                                      13   identify those messages that were employed by
   14      A. I may have --                                       14   defendants in their marketing, not to make that
   15      Q. -- misremembered what I asked.                      15   assessment of whether they were false or misleading.
   16      A. I may have misunderstood. Sorry.                    16         So that table, to answer your question, yes,
   17         You know, I looked at a number of brochures         17   this table contains the messages that were and were
   18   that were designed to educate patients about pain,        18   not false and misleading.
   19   pain management, and the use of opioids in general.       19     Q. Okay. Let's go to -- let's go to Table II,
   20   They had a variety of information in them.                20   which I think is on 86.
   21         From a marketing perspective, there were            21     A. Okay. I'm with you.
   22   other important pieces to those documents, but to         22     Q. Okay. So I think you testified and
   23   answer your question in this specific instance, the       23   explained to me -- well, let's -- let's do it all
   24   information was obviously intended to promote the         24   again so I make sure I'm clear about this.
   25   products, but to do it in such a way as there was a       25         Who identified the marketing messages A

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    1   through -- I think it's X?                                   1   process, and the -- the bullet points reflect the
    2     A. So they were -- it was an iterative process             2   content of the messages, not so much something that
    3   of coming up with, here's a marketing piece. Well,           3   I came up with. It was reflecting what the message
    4   what category does this one fit into? What message           4   was really focused on.
    5   is this one focused on? And so over -- over                  5     Q. Okay. In other words, A through X, here are
    6   iteration after iteration of that, these different           6   the common messages that you, Dr. Perri, saw in the
    7   messages were identified.                                    7   marketing materials that you reviewed; fair?
    8         There may indeed be more or some of those              8     A. Yes.
    9   may overlap. I think I mentioned in my report that           9     Q. And you're not making a judgment about
   10   these are not mutually exclusive, all of these              10   whether those marketing messages, those bullet
   11   categories, because there is some overlap, but this         11   points, were true or false; fair?
   12   would have been developed as a result of that               12     A. I did not personally make that assessment,
   13   iterative process of just looking at piece after            13   no.
   14   piece of marketing material that identified specific        14     Q. So, for example, when you say: Extended --
   15   messages in those materials.                                15   A on page 86: Extended release drugs and/or Q12
   16     Q. Okay. So this includes both customer-facing            16   dosing had fewer peaks and valleys and less chance
   17   marketing materials and internal company documents;         17   of addiction and abuse.
   18   fair?                                                       18         You're not making a value judgment about
   19     A. Yes, it does.                                          19   whether that particular marketing message was true
   20     Q. And so --                                              20   or false?
   21     A. Can I -- I need to clarify. When you say               21     A. That's correct, I did not make that
   22   customer-facing, are you talking customers with a           22   judgment.
   23   capital C, or are you talking about patients?               23     Q. And if a particular manufacturing defendant
   24     Q. I'm talking about the decision-makers to               24   included that marketing message in a customer-facing
   25   decide whether to prescribe the drugs or not.               25   piece of marketing materials or internal marketing

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    1     A. I'm sorry, because for me, as from a                    1   documents, are you able to say whether that
    2   marketing perspective, when we use the word, you             2   particular manufacturer knew whether that statement
    3   know, "consumer-facing," then I get -- I get the             3   was true or false at the time it was made?
    4   impression that we're talking about --                       4         MR. CHALOS: Object to the form.
    5     Q. Consumer means patient because they're the              5      A. I think it would depend.
    6   ones who are --                                              6      Q. You haven't done that analysis, that when
    7     A. Right.                                                  7   Purdue put XYZ representation in a marketing piece,
    8     Q. -- taking the drugs?                                    8   Purdue knew that representation to be false?
    9     A. Right.                                                  9      A. Yeah. I -- I don't know how to answer that.
   10     Q. Got it.                                                10   I -- you know, as far as -- as that goes, the -- for
   11     A. Okay.                                                  11   example, the less -- as I said, these are not
   12     Q. I'm talking about the decision-makers who              12   mutually exclusive. This one, A, is Q12 dosing, and
   13   prescribe the drugs.                                        13   that means fewer peaks and valleys and less chance
   14     A. Okay.                                                  14   of addiction and abuse.
   15     Q. My understanding of your analysis is that              15         I mean, the less chance of addiction and
   16   you're trying to analyze qualitatively the marketing        16   abuse is -- became the subject of the label change.
   17   messages that the manufacturing defendants, and I           17   So did they know that it was false? Well, at some
   18   guess as well as others, promoted to the                    18   point they did, but, you know, these documents
   19   prescribers, who ultimately made the decision               19   aren't dated and timed in this regard here.
   20   whether to prescribe or not, at least sort of the           20         So it could be that they knew or maybe they
   21   main thrust of my -- of what I see your report as.          21   didn't know. I don't know the answer to that
   22        But I am going back to A through X. Are                22   question. I didn't conduct -- that wasn't part of
   23   those bullet points that -- the bullet points that          23   my analysis.
   24   you came up with or --                                      24         This analysis was designed to enumerate the
   25     A. As I said, it was -- it was an iterative               25   marketing messages that were employed for these

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    1 products over the period of this case.                        1   you haven't done an effective analysis of any
    2     Q. Okay. Just to understand how you put the               2   particular message?
    3   chart together, if there is a -- for example, your          3         MR. CHALOS: Object to the form.
    4   Subsection D on Page 92 identifies a number of              4      A. I'm pausing because I'm trying to recall
    5   documents where the message was to minimize concern         5   within the report if there was any message that I
    6   about addictive nature of opioids.                          6   singled out as being particularly effective or not
    7         Do you see that?                                      7   effective. And I -- it would -- it would seem to be
    8     A. Yes.                                                   8   inconsistent with my proposition that the marketing
    9     Q. If there was information in the marketing              9   is intertwined and interrelated, so I think the
   10   piece that was intended to tell the prescriber that        10   answer is "no."
   11   there was a risk of addiction with a particular            11      Q. I take it similarly, you haven't done any
   12   drug, did you include that in the contents here?           12   effectiveness analysis with respect to any
   13     A. So this -- this particular section would not          13   particular warning given by any manufacturer in this
   14   include that because this is intended to demonstrate       14   case?
   15   that -- the message of minimizing the concerns over        15      A. The only -- the only analysis that I did
   16   addiction.                                                 16   with regard to that was some assessment in later
   17     Q. Have you -- I take it you haven't created a           17   parts of the report where I looked at the balance of
   18   Table II-B, where you identify instances in the            18   benefits versus harms that were conveyed in the
   19   marketing where a particular manufacturer included a       19   marketing messages, and from the documents that I've
   20   robust warning about addiction, for example?               20   reviewed -- and I reviewed a lot of documents --
   21     A. Well, I don't think I actually needed to do           21   there was -- there was a substantial skew towards
   22   that, because any time that the -- the document            22   the benefits side, which, again, from a marketing
   23   would be referring to opioids, and once there was a        23   perspective, that's what you would expect to see,
   24   black box warning, there would be that robust              24   because marketing is designed to sell products, and
   25   warning. It would be right there on -- on the              25   it does.

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    1   advertising. I mean, a black box warning isn't a            1         So the question is -- then is that an
    2   don't ever prescribe warning. It's a be careful             2   appropriate use of marketing?
    3   warning. So that was there.                                 3     Q. I mean, we live in the United States. We
    4     Q. Looking at the various categories of                   4   all watch football games. We are bombarded by -- I
    5   representations in Table II, can you tell the jury          5   guess those are direct-to-consumer advertisements
    6   which ones you consider to be false or misleading?          6   for particular prescription drugs. Fair?
    7     A. That was not part of my analysis, but I                7         MR. CHALOS: Object to the form.
    8   think that I could refer them to other experts that         8     A. If we watched TV in the United States, we've
    9   would be -- that have gone through and -- message by        9   seen an advertised prescription medicine, yeah.
   10   message and either discounted or not discounted each       10     Q. And those advertisements are intended to
   11   of these messages.                                         11   tout the benefits of the particular prescription
   12     Q. So that's not something that you're going to          12   medicine; fair?
   13   testify about?                                             13     A. That's where fair balance comes in. They
   14     A. No.                                                   14   are supposed to have a fair balance, but as you and
   15     Q. Sitting here today, have you done anything            15   I and everyone around this table would know, if you
   16   to measure the efficacy of any particular -- the           16   watch one of those commercials, it is very
   17   effectiveness of any particular message in Table II?       17   persuasive. And you don't walk away from that
   18     A. So the marketing is -- as I described                 18   necessarily thinking about the risk of cancer that
   19   earlier, it's completely interrelated, and any one         19   you're going to get from taking this drug, but the
   20   message by itself has -- has really very little            20   way it could possibly help you if you have this
   21   meaning to me. It's the overall scope of the               21   disease or condition.
   22   messages, all of them taken together, literally by         22     Q. Can you say whether any particular doctor in
   23   all of the defendants together, that has the most          23   Cuyahoga County saw, heard, read, comprehended,
   24   meaning.                                                   24   accepted, and retained any of the particular
   25     Q. So I think the answer to my question is no,           25   messages in Table II?

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    1         MR. CHALOS: Object to the form.                       1   about any marketing plan that I've seen in this
    2     A. Well, I can get you right up to the point              2   entire matter.
    3   whether or not they processed and used the                  3         One of the key areas of emphasis for the
    4   information, but my guess is they did use it.               4   defendants was the use of peer-to-peer marketing,
    5   The -- I reviewed call logs from Cuyahoga County,           5   where they developed key opinion leaders, advocates
    6   and I saw the subject matter of the conversations           6   for their products. And these advocates worked both
    7   that the PSRs, the pharmaceutical sales                     7   as speakers for the companies and writing articles
    8   representatives, had with the docs and the materials        8   and conducting research and also through advocacy
    9   that they left with them and the things that they           9   organizations to promote the themes, the messages,
   10   discussed.                                                 10   the strategies that the defendants wanted to see
   11         But whether or not any one doctor took that          11   furthered in the marketplace.
   12   information and used it in making a decision,              12     Q. But whether any particular prescriber -- you
   13   obviously I can't do that. I didn't do that                13   don't know whether any particular prescriber saw
   14   analysis.                                                  14   peer-to-peer marketing in Cuyahoga County or some
   15     Q. Yeah, because it could be that certain                15   other county for that matter; fair?
   16   doctors reject all pharmaceutical company marketing;       16     A. I mean, I would need to get out the call
   17   they're just in it for the free pizza, for example?        17   logs and search the call logs and see if there is
   18     A. Right, but at the end of the day, what we             18   any mention. I feel certain that there is. I'm
   19   look at from a marketing perspective is were there         19   almost positive that there is, that there were
   20   sales of the product in that area, and, of course,         20   discussions between sales reps and customers
   21   there were.                                                21   regarding, for example, a CME on pain management
   22     Q. Okay. But just because there were sales of            22   that we're going to have, and it's going to be
   23   a particular product doesn't mean that it was the          23   presented by Dr. So-and-so, and you need to come
   24   marketing drove the sales for a prescription or a          24   listen to it; or you should come -- we should be
   25   particular product; fair?                                  25   able to come and present this to you and your staff

                                                     Page 135                                                              Page 137
    1         MR. CHALOS: Object to the form.                       1   over here at this hospital or that hospital.
    2     A. Well, we're talking marketing in general               2        So, I mean, I know that those kind of things
    3   now, we're not talking about the -- you gave me a           3   occurred. I -- without getting the materials that I
    4   very specific list before --                                4   brought and literally looking through that call log,
    5     Q. Uh-huh.                                                5   I can't give you a specific as we sit here right
    6     A. -- of things that doctors saw or didn't see            6   now.
    7   and processed or didn't process, but if you're              7     Q. But at the micro level, whether
    8   talking the capital M marketing now, then I have to         8   Dr. So-and-so got a message from his PSR to come see
    9   bring up other issues that relate to -- and would           9   other doctors speak about the great benefits of
   10   relate in Cuyahoga County.                                 10   opioid painkillers, you don't know, at the micro
   11         The -- one of the primary influences on a            11   level, whether that particular doctor went to that
   12   physician's process of prescribing is their comfort        12   presentation, processed the information, and then as
   13   level with a prescription product. One of the              13   a result of that, began prescribing that particular
   14   primary ways they develop that comfort is by what          14   drug; fair?
   15   their peers are doing.                                     15        MR. CHALOS: Object to the form.
   16         So if we look at the influence of peers in           16     Q. You haven't done it at a micro level?
   17   peer-to-peer marketing, which we know occurred in          17        MR. CHALOS: Object to the form.
   18   Cuyahoga County, then, yes, the marketing did have         18     A. Yeah. So, you know, I think in that -- in
   19   an impact on these doctors, and I would say all of         19   that very narrowly defined instance for a particular
   20   them.                                                      20   doctor at a particular time, but, again, I'd still
   21     Q. I don't understand what you mean by                   21   have to go back to the sales numbers and the sales
   22   peer-to-peer marketing. Is that -- that's not              22   figures that, you know, clearly show that the
   23   marketing that's done by a drug manufacturer, is --        23   defendants were successful in increasing sales in
   24     A. It is -- it is -- if we look at the                   24   these -- in these territories that we're discussing.
   25   marketing plans, and we can -- we can pull up just         25   So something impacted them.

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    1         And when you look at marketing from a                1   diversion of drugs?
    2   theoretical perspective, what marketing is supposed        2         MR. CHALOS: Object to the form.
    3   to do, and all the different types of marketing that       3     A. I can only -- I mean, I can't answer that
    4   were employed, the result was attained that was set        4   based on my analysis here, but I -- if you're asking
    5   out in the marketing plans.                                5   me, as a pharmacist, am I aware of that, yes, I am.
    6     Q. I don't know why you're having such a                 6     Q. I mean, as part of the work on SBIRT stuff,
    7   struggle admitting to me that you don't know               7   you know that there's all sorts of things that
    8   particular doctors' prescribing practices and what         8   people do to get their hands on drugs illegally;
    9   they relied upon when they made prescription               9   fair?
   10   decisions. I mean, why are we having such a               10     A. People find a way to get what they need.
   11   struggle with this particular point?                      11   Whether it's through a prescribing process through a
   12         Because I think it's pretty clear from your         12   legitimate doctor or whether it's, you know, a pill
   13   report that you are not setting out to prove              13   mill or whether they're buying it on the street
   14   reliance in any particular case, nor intending to         14   corner, they do have access in different ways.
   15   prove causation in any particular case, meaning any       15         What is also important about that is the
   16   prescribing decision that ended up in a bad outcome       16   drugs have to be there in the first place for them
   17   for a patient.                                            17   to have access to. And certainly from a marketing
   18         MR. CHALOS: Object --                               18   perspective, increasing the supply of drugs in such
   19     Q. Is that fair?                                        19   a dramatic way as we talked about this morning
   20         MR. CHALOS: Object to the form.                     20   certainly contributed to that.
   21     A. So I was with you up until you said "is that         21     Q. When you say increasing the supply of drugs,
   22   fair." The -- what -- I think it's a very important       22   what do you mean?
   23   point that you're bringing up. And I will agree           23     A. Well, there's several components to that.
   24   with you. I will tell you that, no, I can't point         24   On the one hand, the aggressive marketing -- and by
   25   to Dr. Smith and say he was influenced in this way.       25   the way, I define that and justify the basis for
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    1         But I see all the Dr. Smiths and all the             1   calling it aggressive marketing in the report.
    2   Dr. Joneses and everybody else, all the other              2         The aggressive marketing certainly grew the
    3   doctors that were there, and I see what was                3   market very rapidly, which increased access in the
    4   presented to them. I see the organized, efficient          4   marketplace. The availability of more and more
    5   planning that went into it, the delivery of it, the        5   generics increased access in the marketplace. The
    6   assessment of it, and the results of it.                   6   ability to have the quotas increased and to seek
    7         Doctors prescribed opioids in Cuyahoga               7   increases in quotes for controlled substances
    8   County, and there is no question about that. And           8   increased access in the marketplace.
    9   the marketing theory that's behind all of this             9         So it becomes an issue of access, as well
   10   suggests that if they use these techniques, they          10   as -- you know, combined with the marketing, if
   11   will work to do exactly what was achieved.                11   we're talking about the -- specific to the drug
   12     Q. Does the -- in the prescribing context, does         12   diversion we're talking about.
   13   the -- does the patient have any, I guess, role or        13     Q. Okay. Let's look at Page 23.
   14   responsibility in the prescribing decision?               14     A. Okay.
   15     A. Yes.                                                 15     Q. The first sentence of Paragraph 42 is:
   16     Q. And you would agree with me that in                  16   Marketers frequently target prescribers who are most
   17   connection with your work on this -- on this case,        17   likely to prescribe their drug.
   18   you know -- and probably your work as a pharmacist,       18         Do you see that?
   19   you know that patients engage in drug-seeking             19     A. I do.
   20   behaviors; fair?                                          20     Q. Is that a common practice in the
   21         MR. CHALOS: Object to the form.                     21   pharmaceutical -- in pharmaceutical marketing?
   22     A. Some patients do engage in doctor shopping.          22     A. Yes. High frequency prescribers are your
   23   They do engage in drug-seeking behaviors. That's          23   best bet in term of generating future sales.
   24   true.                                                     24     Q. For example, a doctor who is known to
   25     Q. They also engage in activities like                  25   prescribe -- you know, I'm not a doctor, but in this

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    1   case, like a pain management doctor is much more            1   analysis?
    2   likely to prescribe an opioid painkiller than a --          2     A. Honestly, I don't know.
    3   you know, maybe a general practitioner or somebody          3     Q. I want to look at Paragraph 54. I want to
    4   who is a dermatologist or, you know, other field            4   look at -- let's look at 53.
    5   that doesn't normally prescribe opioids?                    5     A. Paragraph, not page?
    6         MR. CHALOS: Object to the form.                       6     Q. Sorry. Paragraph -- so Page 29. When we
    7     A. So you put a lot of people in there.                   7   talk about -- or when you talk about this hyphenated
    8     Q. Yeah, I did. Sorry. That's a bad question.             8   term "good-science," tell me what that is.
    9     A. Yeah.                                                  9     A. Good science is science that is --
   10     Q. Let's -- let's skip that one.                         10     Q. That's good, right?
   11         Is there anything wrong with a manufacturer          11     A. It's -- actually -- actually --
   12   targeting a prescriber who is most likely to               12     Q. It's better?
   13   prescribe its drugs?                                       13     A. I know you don't have drafts of the reports.
   14     A. It depends.                                           14   I'm pretty sure at some point I tried to explain
   15         MR. CHALOS: Hang on.                                 15   good science, but I can give you an explanation now.
   16         Object to the form.                                  16         Good science is science that is perceived as
   17         THE WITNESS: Sorry.                                  17   being free of experimental bias, commercial bias,
   18         MR. CHALOS: My objection is before his               18   and accurately measures what it says it's trying to
   19     answer.                                                  19   measure, measures it accurately on repeated
   20     A. I'll repeat my answer. It depends.                    20   measurements, is responsive to gaps in our
   21         THE WITNESS: And I promise I'm going to try          21   knowledge. It's science that is helpful when the
   22     to give you a moment.                                    22   results can be applied to various situations.
   23     Q. That's all right. Would it be possible for            23     Q. So I think what you're stating here in
   24   you to link the -- do you have the information             24   Paragraph 53 is -- I mean, just sort of an axiomatic
   25   available to you to link information contained in          25   or a truism is that doctors want to see good

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    1   the call notes to particular prescribers'                   1   science, but you're not making a judgment about what
    2   prescribing -- prescribing practices generally?             2   particular science in this case was good science
    3     A. The call notes do characterize the                     3   versus bad science; fair?
    4   prescribers from time to time. It will say things           4     A. Similar to the marketing messages, I didn't
    5   like, Dr. Smith uses a lot of Oxy-IR, you know,             5   make that assessment, but that has to be qualified,
    6   immediate release, or they'll characterize                  6   because from -- some of the materials that I discuss
    7   prescribers as being high, medium, or low                   7   in my report relate to research that was conducted
    8   prescribers for opioids.                                    8   where I believe there may be commercial bias present
    9         But to link it to specific practices beyond           9   by virtue of either who supported the research or
   10   that, I don't know if I could or not. In other             10   who funded the researchers who were conducting it,
   11   words, I'd have to take -- I would have to undertake       11   or if those researchers were actually key opinion
   12   a more quantitative analysis and go in and look at         12   leaders who were being paid by a company and so
   13   every mention of this doctor prescribing or not            13   forth. So with that qualification, yes.
   14   prescribing and try to correlate that with sales in        14     Q. Well, is it -- is it your opinion that any
   15   the -- in the territory, which, by the way, the            15   research that is funded by a pharmaceutical company
   16   manufacturers do that, but I didn't have that              16   would not qualify as, quote, good science?
   17   ability.                                                   17     A. It could.
   18     Q. Have you identified any prescribers in                18     Q. It could?
   19   Cuyahoga or Summit County that you believe to be bad       19     A. It could under certain circumstances, yes.
   20   prescribers --                                             20     Q. And is it -- have you attempted to go back
   21     A. I didn't --                                           21   and look at the journal articles, et cetera, to make
   22     Q. -- meaning pill mills.                                22   a determination whether any particular article
   23     A. No, I did not undertake any kind of analysis          23   contains good science or not?
   24   related to that.                                           24     A. So I didn't take it quite that far to
   25     Q. Do you know if anybody has undertaken that            25   determine the nature of the science, because I

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    1   didn't -- I didn't assess any methodologies, per se,          1   teaching a course, are those lessons also given to
    2   but I did -- I did undertake to look at specific              2   doctors when they're in medical school, typically?
    3   articles, who authored them, were the property                3     A. Typically? I have not found that to be the
    4   disclosures made in terms of their relationships              4   case.
    5   with drug companies. And in some cases they were,             5     Q. Now, in Paragraph 54, you cite an article by
    6   and in some cases were not.                                   6   Avorn, Chen, and Hartley?
    7         So up to the point of evaluating the                    7     A. What -- I'm sorry, which --
    8   internal reliability and validity of the study, the           8     Q. Paragraph 54 on Page 30.
    9   research design and all that, I did not undertake to          9     A. Yes.
   10   do that.                                                     10     Q. That article is from 1982?
   11         I did make some notations about sample sizes           11     A. Yes.
   12   in particular, or patient samples, but not the               12     Q. Do you have any more up-to-date research to
   13   actual structure of the research projects.                   13   support statements you're making in Paragraph 54?
   14     Q. So when you were talking about sample sizes             14     A. You know, I'm sure there are other articles
   15   of a particular study, is that information that you          15   that are cited in the report that either touch on
   16   would have gleaned from the other five plaintiffs'           16   that or would also support that that are more
   17   experts who are testifying about --                          17   current. The Avorn article just -- Jerry Avorn is
   18     A. No. For example, one of the articles by                 18   a -- sort of a very well-respected and very highly
   19   Dr. Portnoy, he had an N of 38 in a study that he            19   revered researcher in this area, and his -- this is
   20   did, and I noted that.                                       20   a seminal work that was done back then. I've not
   21         I think I -- the other article that I cite             21   seen anything that provides evidence to the contrary
   22   in my paper, and was cited by defendants on numerous         22   since that time.
   23   occasions in their marketing materials, was, of              23     Q. In Footnote on Page 30, you talk about -- or
   24   course, the Porter and Jick letter in the editor in          24   consider physician denial of the influence of
   25   the New England Journal. While it had a fairly               25   industry communication, samples, and gifts.
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    1   substantial sample size, its sample was very limited          1         Do you see that?
    2   in terms of who it could be generalized to.                   2     A. Yes.
    3      Q. The N of 38 in the Portnoy article --                   3     Q. And then you say that that physician denial
    4      A. Yeah.                                                   4   may be understood in the context of extensive
    5      Q. -- is that disclosed on the face of the                 5   findings from behavioral psychology regarding
    6   article?                                                      6   unintentional and subconscious biases.
    7      A. It's disclosed in the body of the article,              7     A. Yes.
    8   but, again, this is -- this is -- this was not                8     Q. Have you attempted to quantify the
    9   something that I undertook to evaluate. I'm just              9   unintentional and subconscious bias that comes from
   10   making -- you asked the question. I was giving you           10   things like industry communication, samples, and
   11   the answer that there were some opinions that I held         11   gifts?
   12   based on some of those kinds of factors about the            12     A. So this is a pretty complex area because
   13   quality of the research itself.                              13   what happens is -- it's really a concept of
   14         It doesn't mean it was a bad study because             14   obligation. And when someone provides something,
   15   it had an N of 38. It just means the study could             15   our feeling is they expect something in return, and
   16   have been limited. And I would need to undertake --          16   this is -- this is why I -- in the report I
   17   I actually teach a course on literature evaluation,          17   addressed this earlier on when I talk about
   18   or have taught at the university. And you can't              18   marketing process and the peer-to-peer influences
   19   just look at a study and say the sample size is N.           19   and so forth.
   20   Therefore, it's no good. You have to really get              20         The idea that you're given a gift creates
   21   into it and take it apart and see how decisions were         21   obligation, and this is a subconscious process, and
   22   made, what patients were included, what the                  22   you want to try to please the gift-giver. And so it
   23   exclusion criteria were, all of those kinds of               23   becomes -- it becomes a psychological issue, not so
   24   factors. I did not undertake that.                           24   much a marketing issue. It plays very well into the
   25      Q. Are those sorts of lessons -- like, you                25   marketing concept.

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    1         So quantitative analysis of it? I don't               1     A. -- each additional meal was associated with
    2   know that it's possible to even do that without             2   an increase of 0.7 percent in opioid claims.
    3   endeavoring to undertake a social psychology study          3        So there are -- there are quantifications,
    4   and do some kind of experiment, but the literature          4   and that actually turns out to be a significant
    5   on relationship marketing is extensive, and it              5   increase that's reported in that article.
    6   addresses this issue pretty well, I think.                  6        I guess I could have just as easily said a
    7     Q. Okay. Let's look at the next page,                     7   pharmaceutical marketer impacts prescribing, but I
    8   Paragraph 57.                                               8   think that the adjective "significantly" or -- yeah,
    9     A. 57?                                                    9   adjective.
   10     Q. 57, right.                                            10     Q. Adverb.
   11     A. Okay.                                                 11     A. Adverb? Thank you.
   12     Q. I'm really interested in understanding what           12     Q. It's all right.
   13   you mean by your conclusion there. The second              13     A. It's appropriate there, because I think the
   14   sentence, you say: This body of literature suggests        14   impact -- one of the things we see is that doctors
   15   that regardless of what prescribers may think about        15   underestimate the influence that marketers have on
   16   their decision-making and the inputs to the                16   them. And because of that, sometimes they're
   17   decision-making process, the role of the                   17   reluctant to even be aware of how much they're
   18   pharmaceutical marketer significantly impacts their        18   impacted.
   19   prescribing.                                               19     Q. Do you know if the federal law has changed
   20         And I'm -- what do you mean by                       20   with respect to what in-person marketing a
   21   "significantly impacts"? Are we able to quantify           21   particular pharmaceutical manufacturer can do? I've
   22   that, or is that --                                        22   read about the Sunshine Act. Do you know about the
   23     A. Well --                                               23   Sunshine Act?
   24     Q. -- similar to your answer to my last                  24     A. I mean, I'm aware of it, yes, but --
   25   question?                                                  25     Q. Do you know what that act requires with

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    1      A. No. I think that -- I think that all of the           1   respect to marketing activities and reporting?
    2   citations in this section of the report point to a          2     A. Just that the activities have to be
    3   couple of key -- of key prepositions, if you will.          3   reported. For example, the Open Records has the
    4   And that is, is that marketing works.                       4   database where they keep track of all the meals and
    5         And when marketers provide information,               5   anything else that companies paid for, the -- any
    6   provide payments, provide gifts, provide free CE,           6   engagement.
    7   provide a research study, for any of the other              7         I know that if somebody meets with me, as a
    8   activities that they engage in, samples, meals, this        8   member of the DUR board, they've got to report that
    9   impacts prescribing. And I think the body of                9   under the Sunshine -- I guess it's the Sunshine Act
   10   literature that's cited in this report -- and we           10   that requires that.
   11   could look at each one in particular and figure out        11     Q. Okay. Let's -- let's continue on. Let me
   12   where it relates to this, but it all supports the          12   see where we are now. Let's move to Page 58. What
   13   contention that these efforts impact prescribing.          13   is a clinical practice guideline?
   14      Q. I got that point. I mean, I understand               14     A. Clinical practice guideline, also known as a
   15   marketing works. I'm the subject of marketing every        15   clinical protocol, an evidence-based medicine
   16   single day. I get it, but I'm really struggling            16   guidelines, lots of different terms for it, but
   17   with understanding what you mean when you use the          17   basically these are structured decision models that,
   18   adverb "significantly." How does -- how much -- do         18   using evidence-based medicine and scientific
   19   you have any idea how much it moves the needle?            19   studies, patient experience, and the combined
   20         MR. CHALOS: Object to the form.                      20   knowledge of many years of experts, they come up
   21      A. Some of these studies actually quantify              21   with a plan for treating patients that they think
   22   that. For example, the Hadland study, I think, does        22   will result in the best care possible.
   23   with respect to payments.                                  23     Q. Do you know whether certain states have
   24         The last sentence in Paragraph 56 --                 24   implemented prescribing guidelines related to opioid
   25      Q. Right.                                               25   painkillers?

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    1      A. I know that the CDC has promulgated                  1     Q. And I think you testified that on the DURB,
    2   guidelines. I assume that states followed suit, but        2   that's not something that's put in the sort of
    3   I'm not aware specifically of states.                      3   clinical information and clinical binder you
    4      Q. Have you evaluated any particular state's --         4   receive?
    5   I take it for that reason, you have not evaluated          5     A. That's correct. We don't -- we don't see
    6   any particular state's prescribing guideline; fair?        6   package inserts as part of what we review.
    7      A. I have -- I have not undertaken to evaluate          7     Q. Who are the package inserts provided to?
    8   any guidelines that were outside the scope of the          8     A. Generally, a package insert has to be
    9   guidelines that were advanced through the marketing        9   provided any time a drug name and its indication are
   10   messages of the defendants.                               10   mentioned at the same time. So if a sales rep is,
   11      Q. Do you have any opinion as to whether the           11   you know, back in the olden days, giving you a cup
   12   guidelines that were advanced through advocacy            12   that says OxyContin on it, and he mentions the
   13   groups or key opinion leaders, whether those              13   indication, he's got to give you a package insert
   14   guidelines were appropriate?                              14   attached to that cup.
   15      A. So I did not undertake that analysis, but I         15          And so in today's world, I think anytime
   16   believe other experts have undertaken that.               16   that the two are together, the indication in the
   17         How long have we been going?                        17   product name, the package insert is still required.
   18      Q. About an hour. Do you want to have a break?         18     Q. So is that just for in-person meetings, or
   19      A. If --                                               19   is it also for, like, mail pieces?
   20      Q. Let's do it.                                        20     A. Yeah. I'm pretty sure it applies to any
   21      A. -- if anybody else needs to, I could use a          21   time, Internet, mail, in-person. Even if a -- if an
   22   quick break.                                              22   article is being distributed by a drug rep and that
   23      Q. Yeah. Let's do it.                                  23   article mentions the indication and the name of the
   24         THE VIDEOGRAPHER: We are now going off the          24   medication, I'm pretty sure they'd have to include a
   25      video record. The time is currently 2:03 p.m.          25   package insert at that time, too.

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    1     This is the end of Media Number 3.                       1      Q. So when we're looking at the physician
    2        (Recess from 2:03 p.m. until 2:15?p.m.)               2   prescriber model, which I conveniently took off this
    3         THE VIDEOGRAPHER: We are now back on the             3   ELMO, it -- one of the things that will be in the
    4     video record with the beginning of Media                 4   total mix of information would be the package
    5     Number 4. The time is currently 2:15 p.m.                5   insert, at least it will be available to the
    6   BY MR. VOLNEY:                                             6   prescriber?
    7     Q. So let's -- let's move to Page 53, Paragraph          7      A. Yes. Thank you for that, because it's
    8   89, which is your discussion of marketing messages         8   available. It doesn't mean -- and as you -- as my
    9   are different from the package insert.                     9   opinion states, it's not often relied upon.
   10     A. Right.                                               10      Q. And is that based on anecdotal information,
   11     Q. I think you earlier testified that in                11   or what?
   12   connection with a new drug application, one of the        12      A. Well, it's -- I don't think it's anecdotal.
   13   things that the FDA looks at and ultimately approves      13   I think it's the way marketing is conducted. The
   14   is the package insert for a particular drug.              14   package insert is -- I know I don't get to ask the
   15     A. Yes.                                                 15   questions, but I'm sure we've all seen a package
   16     Q. Are you just generally familiar with that?           16   insert. It's folded up in a little -- you know,
   17     A. Generally, yes.                                      17   stuck to the prescription bottle or taped to the
   18     Q. You yourself haven't had any particular              18   bottom of the coffee mug or whatever, or it can be a
   19   direct involvement in getting a package insert            19   bigger piece, you know, 8?-by-11. So they come in
   20   approved; fair?                                           20   all different shapes and sizes. Some are more
   21     A. I have not.                                          21   useful than others.
   22     Q. And you would agree with me that a package           22         But when the package insert is delivered,
   23   insert is part of a company's marketing?                  23   it's not necessarily delivered as, oh, here is your
   24     A. A package insert is part of a company's              24   package insert, this contains all the prescribing
   25   marketing.                                                25   information, but rather, it's delivered as part of

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    1   the obligation to deliver the package insert.              1   that are much more concise and available, especially
    2         And what -- for example, we're talking about         2   in today's technology information world.
    3   the personal selling effort. It would be the sales         3         You probably recall the PDR, which was a
    4   rep's job to then figure out what in that package          4   Physician's Desk Reference, which contained
    5   insert or what in their sales call today is most           5   basically all the package inserts for all the drugs
    6   important to convey to that prescriber and to              6   that were available. And so doctors might look up a
    7   communicate that information.                              7   drug and get package insert information from that,
    8         And in marketing, we know that what works            8   but as time and technology changed, the reliance on
    9   best is to communicate product benefits and turn           9   the package insert has as well.
   10   those -- product features and turn those product          10     Q. What other sources of information out
   11   features into product benefits. So, you know, to          11   there -- are there out there that are more concise
   12   the extent that a package insert supports that, it        12   and available?
   13   would be relied on by the sales rep. To the extent        13     A. In today's drug information world, there is
   14   that it doesn't, it may not be.                           14   a number of drug information services, from
   15         Now, just an example of that is, early on in        15   Epocrates and Micromedex and UpToDate and several
   16   the OxyContin marketing, the reps frequently              16   other sources that are -- that information is culled
   17   referred to -- when doctors had concerns about            17   from a lot of different sources and summarized for
   18   addiction, the reps frequently referred to the less       18   prescribers, pharmacists, nurses, formulary
   19   risk of addiction in the package insert that we now       19   managers, et cetera.
   20   know was changed later on.                                20     Q. So that more -- that more available and
   21         So the package insert is variable. It's not         21   concise information that you're talking about is
   22   necessarily something that is relied on. It's             22   also information that would go into the total mix of
   23   certainly not something that's focused on, but it is      23   things a prescriber would consider or could
   24   provided.                                                 24   consider?
   25     Q. Do you know whether the original OxyContin           25         MR. CHALOS: Object to the form.

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    1   package insert had a warning on each page that the         1      A. It would be something that, when we're
    2   drug may be habit-forming?                                 2   looking at the prescriber information processing
    3     A. I don't know if it had that on it or not.             3   model, when the need for information arises and
    4   I've read the original package insert, but I don't         4   search is engaged, that they might turn to that
    5   recall that.                                               5   information to incorporate that or not incorporate
    6     Q. If a -- if a doctor wanted to get the                 6   it, as the case may be, into their decision model,
    7   pharmaceutical manufacturer's disclosures related to       7   yes.
    8   a -- the particular risks of a drug, would the             8      Q. Okay. Let's move to Page 65. So in this
    9   doctor -- could the doctor look at the package             9   part of your report, you give a sort of background
   10   insert? Let me ask a different question, because          10   information about the competitive market for
   11   that's a bad question.                                    11   opioids.
   12         Is the package insert intended to provide           12         Do you see that?
   13   information about the risks of a particular drug?         13      A. I do.
   14     A. I think it's fair to say that the package            14      Q. And you start your story in the 1930s?
   15   insert is intended to provide a balanced picture of       15      A. Yes.
   16   the drug, including the benefits and the risks, and       16      Q. In fact, opioid painkillers have been used
   17   all the information a doctor would need to know,          17   since B.C. times; fair?
   18   whether or not they would want to consider                18      A. Yes. They've been used for a very long
   19   prescribing it.                                           19   time. And --
   20     Q. And do you know whether doctors consider the         20      Q. And the --
   21   package insert to be useful for that purpose?             21      A. -- it's my understanding that there's a
   22         MR. CHALOS: Object to the form.                     22   historian that is -- has been engaged in this case
   23     A. So my opinion about package inserts is that          23   as well that's telling the full story on the
   24   they are not heavily relied upon. There are a lot         24   history, which is the reason why I didn't go into
   25   better sources of information that doctor would use       25   much of it here.

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    1     Q. It has been common knowledge in the medical           1   Percodan. I'm not sure when Percocet exactly -- it
    2   profession throughout the 1900s and 2000s that             2   might have been a little after that. I'd have to
    3   opioid painkillers bear a risk of addiction; fair?         3   check.
    4        MR. CHALOS: Object to the form.                       4     Q. So do you know how long the drug oxycodone
    5     A. I think the medical thinking has been for a           5   has been around?
    6   very long time that opioids are addictive and              6     A. Oxycodone has been around for a while, but
    7   dangerous drugs to use.                                    7   the Contin version of oxycodone has not been around
    8     Q. Your recounting of the sort of history of             8   since -- but since about 1995.
    9   opioid painkillers, you know, beginning in the '70s        9     Q. So the OxyContin version of oxycodone is
   10   through the '80s to the '90s, where does that come        10   what's called a long acting or extended release
   11   from? Is that based on your personal knowledge?           11   oxycodone product; fair?
   12     A. I started working in community pharmacy in           12     A. Yes.
   13   1977, so some of it is, but the order of what was         13     Q. So that is -- that would -- that's what
   14   discussed here was really related more to building a      14   would distinguish OxyContin from just a regular old
   15   background for the -- what happened prior to and          15   oxycodone pill; fair.
   16   then what happened right around the time of the           16     A. The immediate release version, yes.
   17   changes in the marketing practices to a more              17     Q. There is a discussion on Pages 69 and 70 of
   18   aggressive nature in about the mid-1990s. So it was       18   your report about Purdue's decision-making with
   19   really just to provide a -- just a brief backdrop         19   respect to developing a -- a what? An extended
   20   about what drugs were on the market.                      20   release version of oxycodone?
   21        Sort of -- you would -- something you would          21     A. I think.
   22   expect to see in a case analysis is a sort of             22     Q. Tamper-resistant.
   23   overview of what's going on. So to just look at           23     A. I think these refer to Dr. Haddox's work
   24   opioids cold, without understanding what was in the       24   related to tamper-resistant formulations.
   25   marketplace and what wasn't, what other competition       25     Q. Has a tamper-resistant formulation of

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    1   was out there, it would be leaving some questions          1   OxyContin been released?
    2   unanswered.                                                2      A. Eventually, yes.
    3     Q. But in terms of your description here of              3      Q. Do you know what year it was released?
    4   what motivated Purdue to develop OxyContin and what        4      A. I think it was relatively recently. I'd
    5   Purdue's intent was with respect to development of         5   have to look back at my notes or the report, but I
    6   OxyContin, that's information that you've gleaned          6   want to say around 2012 or something like that --
    7   from the documents you've looked at in this case;          7      Q. So --
    8   fair?                                                      8      A. -- was when it was finally approved. They
    9     A. That, in particular, came from the OxyContin          9   sought approval for it much earlier than that, but
   10   launch plan in 1993 or '94, I believe.                    10   it was finally approved in that period.
   11     Q. So this is a -- is this, in essence, a               11      Q. So ultimately, the FDA made the decision to
   12   paraphrase of that?                                       12   approve a tamper-resistant version of OxyContin?
   13     A. A paraphrase or just a summary of it, yes,           13      A. Yes.
   14   summary of what I learned from it.                        14      Q. Do you know what decision process or
   15     Q. And you also talk in here, in this section           15   decision-making process the FDA must go through
   16   of your report, about your -- about Endo's launch of      16   before deciding whether to approve a particular
   17   the varying strengths of Percocet.                        17   drug?
   18         Do you see that? I'm looking at Page 108.           18      A. They balance the safety and efficacy and
   19     A. Paragraph 108?                                       19   patient needs.
   20     Q. 67, 108, yes.                                        20      Q. Do you have any criticism of the FDA's
   21     A. Yeah.                                                21   decision to approve that particular drug?
   22     Q. How long has Percocet been on the market?            22      A. I certainly wasn't part of the discussion or
   23     A. Percocet, I am pretty sure, was on the               23   the analysis, so I really have no opinion about
   24   market when I started working in '77 or '78. So           24   that.
   25   that would be the earliest I know. Well, that was         25      Q. In Paragraph 115 on Page 70 of your report,

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    1   you make some statements about what Dr. Haddox             1   categories, you know, across the board over many
    2   believed and the company's decision-making with            2   years.
    3   respect to focusing on a tamper-resistant drug.            3     Q. Okay. Let's get to the -- let's go to Page
    4         Do you see that?                                     4   73. Okay. This is sort of, I guess, the beginning
    5     A. Yes.                                                  5   of the meat of your discussion about the marketing
    6     Q. What's the basis for these conclusions?               6   strategy for opioids for defendants.
    7     A. So the -- the first sentence, in my opinion,          7         When you say at the end of Paragraph 120
    8   Dr. Haddox believed that opioid sales were                 8   that the marketing documents you reviewed were
    9   declining, that's the only thing I think I stated          9   developed for use nationally and in Ohio?
   10   that was a belief and that at this time that he had       10         Do you see that?
   11   already -- in the paragraph before, I -- he makes         11     A. Yes, I do.
   12   the point in his testimony, I believe, that opioid        12     Q. Does that mean that necessarily, the
   13   use had begun to decline. So I was associating that       13   marketing documents that you reference here in your
   14   with that statement in the paragraph preceding.           14   report were used in Ohio?
   15         But basically, I think one of the reasons --        15     A. Yeah. I don't think there's any question
   16   and this is my opinion now. This is the part where        16   that the marketing documents that were developed
   17   I'm inferring from the data points. I think that          17   were used in Ohio. The testimony that I read, which
   18   probably what's happened here is that he is -- he is      18   was -- there were a number of deponents that focused
   19   seeing the decline in OxyContin sales and inferring       19   on that issue, as well as, you know, just the fact
   20   from that that the opioid market is declining as          20   that the marketing plans were developed at the
   21   well.                                                     21   national level to be implemented nationwide.
   22         I think if you were to look at overall sales        22         I think there's some -- there's some
   23   of opioids, I think during this time period they          23   latitude around that, which would be only reasonable
   24   were still growing.                                       24   for marketers to adapt, you know, marketing plans
   25     Q. Okay. Then so how does that fit into the             25   for different geographic areas.

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    1   bigger picture in here? What is the -- what's the          1        But in the case of Ohio, for example, you
    2   conclusion you draw from that?                             2   know, with Janssen and the -- you know, Ohio was one
    3     A. Well, from a marketing perspective, if the            3   of their biggest markets for Nucynta. So there was
    4   folks that are engaging in product promotion see           4   a big -- you know, a big -- a big market share for
    5   their markets as declining, they're looking at their       5   Nucynta in Ohio.
    6   products as being in a product maturity or product         6        And so there could be increased dollars
    7   decline phase, even to the point of obsolescence.          7   spent in a particular area versus we're going to cut
    8   And so they've got to begin to evergreen the               8   back in this area. We've got more high decile
    9   products, figure out a way to extend its life,             9   prescribers in this area than we do there, in
   10   continue to generate sales. This is -- this is what       10   another area, so it's going to impact our personnel
   11   marketers do. It's their job.                             11   needs and so forth.
   12         So from Dr. Haddox's perspective, research          12        So within the implementation zone being
   13   designed to identify ways to continue the success of      13   slightly different, the strategies and tactics are
   14   a product that has begun to decline would be very         14   approximately the same.
   15   important.                                                15     Q. Do you know how many PSRs any particular
   16     Q. And isn't it common for all drug                     16   manufacturing defendant had assigned to Ohio?
   17   manufacturers to engage in that sort of thinking and      17     A. You know, I do know about the numbers that
   18   decision-making when their drugs are about to come        18   they had nationally, but I don't know specifically
   19   off patent, for example?                                  19   for Ohio.
   20     A. Yeah. So it's typical for a product                  20     Q. Do you know whether Purdue currently has any
   21   manufacturer to tweak a formulation or develop a new      21   PSRs?
   22   indication that can be patented, to develop a new         22     A. My understanding is Purdue does not.
   23   dosing schedule. Lots of ways manufacturers do            23     Q. Do you know when Purdue stopped using PSRs?
   24   that, and it's certainly consistent with marketing        24     A. Not from my work in this case, but I -- my
   25   principles and what we have seen in all product           25   understanding is around 2017 or 2018, they ended the

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    1   sales force.                                               1 category.
    2     Q. Do you know how big their sales force was             2         The -- aggressive in the marketing sense,
    3   when they ended it?                                        3 though, I think it would be fair to say that other
    4     A. It was -- I think it's noted in the report            4 manufacturers for other product categories have used
    5   somewhere, but I'm going to say it was about 500 to        5 aggressive marketing.
    6   600, perhaps.                                              6         For example, the Ozempic that I referred to
    7     Q. Now, in Paragraph 121 of your report you              7 a couple of times today, it's a new drug that's been
    8   state: Defendants worked to create aggressive              8 on the TV a lot lately. And to me, I'm sure others
    9   marketing strategies for opioids, which served to          9 would agree, that that is a aggressive campaign.
   10   distort needs, wants, and demand for opioids.             10 You see a lot of it. It's repeated frequently.
   11     A. Which paragraph are we in?                           11 It's on all the channels. You can't watch golf
   12     Q. 121.                                                 12 without seeing it. You can't watch baseball without
   13     A. Gotcha. Yes.                                         13 seeing it. So I think that's true.
   14     Q. So is the word "aggressive" a term of art?           14         But the issue that comes up, if we relate it
   15     A. It can be a term of art. I note the -- the           15 back to the standards and the heightened standards,
   16   word "aggressive," I -- I would say I was hesitant        16 in particular, for opioids and prescription drugs,
   17   to use it myself in my report. One of the -- one of       17 the use of those kinds of techniques surrounding
   18   the rules of case studies is try not to be                18 opioids to generate the dramatic increases in sales
   19   sensational, and the -- you know, certainly there         19 seems to be inappropriate.
   20   are examples you can build into a case study that         20    Q. Okay. Seems to be, what do you mean by
   21   are just that, and they raise eyebrows but they           21 that?
   22   don't make your point necessarily in the scone of         22    A. It -- it is -- it is using marketing to
   23   the ways.                                                 23 expand demand for a dangerous drug beyond that which
   24         And so I was worried about using the word           24 is the -- let's just say the medically needed amount
   25   "aggressive," but from a marketing perspective,           25 in our society. And the expansion of the demand

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    1   aggressive marketing can be easily defined as              1   creates more access in the marketplace. That has
    2   marketing that is highly detailed, that's                  2   led to the problems that we have in our society
    3   strategically planned, with very specific and --           3   related to the use of opioids.
    4   goals that are enumerated that set high attainment         4     Q. I mean, other than knowing that the number
    5   levels for products.                                       5   of prescriptions for opioids started going up in
    6         So as a marketer, we have -- the word                6   1995 and continued to rise for a period of time,
    7   "aggressive" doesn't carry the same negative               7   what have you done to assess the level of
    8   connotation as when I read aggressive marketing in a       8   appropriate demand for opioids?
    9   report about a lawsuit or a settlement. So there is        9     A. So the -- as I described this morning, we
   10   a big difference there.                                   10   had growth in opioids before 1995. The growth was
   11         The way I'm using the word "aggressive              11   just at a much, much lower rate. After 1995, we had
   12   marketing" is from a marketing perspective, it was        12   growth that was at a much higher rate, and that
   13   marketing that was, as I described here, very             13   growth was sustained for many years.
   14   detailed, well-planned out, well-integrated within        14         The explanation, the -- there were a couple
   15   the organization, marketing that had very clear-cut       15   of possible explanations for that. And as I said
   16   objectives, had good metrics to assess those              16   this morning, one of those is that, you know,
   17   objectives, and reached out to customers in the most      17   opioids expanded access and expanded the market
   18   effective ways. So that's what I mean by                  18   through the marketing.
   19   aggressive.                                               19         The other is that more patients were sicker,
   20     Q. Is it common for pharmaceutical                      20   and that grew rapidly, and there was utilization.
   21   manufacturers to using aggressive marketing, using        21   The epidemiology of pain doesn't support that just
   22   your term?                                                22   from a pharmacy perspective. We would -- we see
   23     A. So that's -- that question is one that --            23   growth. It should be a fairly constant rate of
   24   you know, and I haven't -- I haven't analyzed a lot       24   growth. So something about the marketing must have
   25   of product categories the way I have the opioid           25   changed the utilization of those drugs.

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    1     Q. Could patients or people who were suffering            1   in the level of pain in our society, or is it
    2   from pain conclude that there are now better avenues        2   because the marketing was so effective, that a drug
    3   for relief available to them, and that might account        3   that creates a distortion in demand was not only
    4   for the expanded market?                                    4   effective at generating sales, but it began to
    5     A. Yes. And certainly that's something that I             5   perpetuate its own sales.
    6   considered. The question is really, was pain                6     Q. Do you -- have you made any effort to
    7   undertreated? And so the answer -- I think if you           7   consider what amount of the increase in sales of
    8   look at defendants' marketing documents, that is            8   opioid painkillers was due to people who, before
    9   something the defendants absolutely believed to be          9   then, had untreated pain?
   10   true. They -- that pain management was stigmatized,        10     A. I did not undertake that analysis.
   11   that the use of pain medications was below levels          11     Q. Probably pretty difficult to do; fair?
   12   than it should be at.                                      12     A. For a marketer to do, I think it would be,
   13         The problem that I encounter with that in            13   yes.
   14   the marketing analysis, though, is -- and by the           14     Q. I take it from your testimony that there is
   15   way, those were the themes that they focused on. If        15   not a -- at least necessarily, a negative
   16   you look at Themes 1, 2 and 3, this is what                16   connotation to use of the word "aggressive" to
   17   manufacturers focused on. Their use of ads                 17   describe a particular defendant's marketing?
   18   supported those premises. So that's all consistent         18     A. For -- depending on the context, because I
   19   and expected from a marketer's viewpoint.                  19   think definitely when you read the commentary about
   20         But the problem is, is should those                  20   opioid marketing in the lay literature, it's a very
   21   messages, once -- once we see the results of this          21   negative context.
   22   rapid increase in the marketplace, and the negative        22         When you read a Department of Justice news
   23   outcomes from those rapid increases, shouldn't that        23   brief about a company's marketing, and they use the
   24   marketing be identified as inappropriate?                  24   word "aggressive," that's definitely a negative
   25         So at some point along the way somebody              25   connotation.

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    1   should have said, hey, wait, this isn't -- this             1         So depending on the section of my report, I
    2   is -- we're getting -- too many patients are                2   think it could have a positive or a negative
    3   becoming addicted. We're having too many deaths as          3   connotation. As I said before, my assessment from a
    4   a result of opioids.                                        4   marketing -- pure marketing perspective is that
    5         When opioid use increases, the level of               5   aggressive marketing is just a form of marketing.
    6   analgesic increases and the level of pain, the level        6   It's marketing that is designed in certain ways.
    7   of addiction and the level of death will increase as        7         However, when it comes to opioids, I think
    8   well, so the more use we have of opioids, the more          8   after you read my report, you would understand that
    9   we're going to have all of these benefits and harms.        9   I have the opinion that aggressive marketing, from
   10         So that's where the dilemma comes in, but,           10   anyone's definition, is inappropriate with this
   11   you know, there is no question that the use of the         11   class of drugs.
   12   drugs in terms of the time periods that we're              12      Q. Let's move to Page 75. Well, I may have a
   13   talking about, from 1995 and '96 to 2000, to 2005 up       13   follow-up question. I take it that aggressive
   14   to 2010, dramatically increased.                           14   marketing by a pharmaceutical manufacturer is not a
   15         And I think that that is at least temporally         15   violation of any particular FDA regulation?
   16   associated with the marketing and defendants' own          16      A. No. As I -- as I said, the nature of
   17   internal marketing documents that were assessing the       17   aggressive is -- is a -- it's a -- a marketing, as
   18   marketing that are -- you know, the reimbursement of       18   you referred to earlier, term of art, but at the
   19   their sales forces to promote the increased sales.         19   same time, the violation is of standards, not of the
   20         So we have all these different data points.          20   FDA regulation, and those standards are the ones
   21   So then as a case analysis would charge you to do,         21   that I enumerated earlier.
   22   we had to then step -- take a step back from that          22      Q. Right, but just engaging in aggressive
   23   and say, okay, what's going on here? What's the            23   marketing by a pharmaceutical company is not a
   24   most likely explanation?                                   24   violation of any law that you know of; fair?
   25         And is it that we had a 1500-fold increase           25      A. Yeah. I can't make any legal conclusions.

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    1   Sorry.                                                       1   enable them to purchase, so --
    2     Q. Looking at Paragraph 123, which is on Page              2     Q. Is there any particular type of education
    3   75.                                                          3   that goes along with a pharmacist getting a DEA
    4     A. Yes.                                                    4   license?
    5     Q. You throw us a bone in there. You say: It               5     A. Not that I'm aware of.
    6   should be noted the defendants' marketing documents          6     Q. Are -- in a -- in the retail pharmacies that
    7   sometimes referenced the need to disclose safety             7   you've worked in, are there special procedures in
    8   information for drugs consistent with FDA approved           8   place to deal with Schedule II narcotics?
    9   indications and prescribing information contained in         9     A. There are a couple of different ways that's
   10   the PI, package insert.                                     10   addressed in terms of inventory in the store and
   11         Do you see that?                                      11   purchasing.
   12     A. Yes.                                                   12         On the one hand, some pharmacies have a safe
   13     Q. Have you -- is there a schedule, or have you           13   with a lock and, you know, it's guarded closely.
   14   sort of put all that stuff together in a particular         14   Other pharmacies just mix them in with their regular
   15   pile that we could look at, what you're referring           15   inventory to make them harder to find, less subject
   16   to, or is it just whatever is referenced in -- I            16   to potential pilferage.
   17   guess there is one document in Footnote 245?                17         So different pharmacies have different ways
   18     A. No, I don't have a schedule, but the                   18   of handling the issue. Some pharmacies have a --
   19   footnotes here and the discussion provide several           19   you know, what I call a rabbit garden. They have a
   20   examples, and this is something we alluded to this          20   few bottles here that are out in plain sight for
   21   morning when we were talking about the package              21   everybody to see and then all the good stuff is held
   22   insert, where there -- even though the PI is                22   back somewhere else under lock and key. So there's
   23   mentioned or cautionary statements are mentioned,           23   many different ways that it's dealt with.
   24   the balance of information that is presented is             24     Q. Do you know whether prescribing doctors have
   25   heavily skewed towards the benefits.                        25   to undergo any particular training to get a DEA

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    1         Again, that makes sense from a marketing               1   license to prescribe Schedule II narcotics?
    2   perspective. The question is, is it appropriate,             2      A. I don't know.
    3   but it's balanced -- it's balanced heavily towards           3      Q. You say here in Paragraph 123 that: The
    4   the product features and benefits, not the product's         4   preponderance of defendants' messages focused on
    5   potential harms.                                             5   translating drug features into drug benefits and
    6     Q. What does it mean when a drug is listed on              6   downplayed information that would serve to
    7   Schedule II?                                                 7   discourage prescribing, including potential harms.
    8     A. It means that it's a controlled substance               8        Do you see that?
    9   that has special purchasing and recordkeeping                9      A. Yes.
   10   requirements that is considered to be -- its use            10      Q. So when you use the word "preponderance,"
   11   needs to be much more carefully considered.                 11   what do you mean?
   12     Q. Has Schedule II had that meaning since the             12      A. The vast majority.
   13   mid-1990s?                                                  13      Q. The vast majority?
   14     A. I'm not a historian of the Schedule II                 14      A. Yeah.
   15   books, but my understanding as a pharmacist would be        15      Q. I mean, do you create two piles?
   16   that Schedule II hasn't changed -- other drugs have         16      A. Well, you know --
   17   entered the category, but I don't know that the             17      Q. That indicates -- sorry. To me that
   18   definition of Schedule II has changed.                      18   indicates -- I mean, that's a term of art in legal
   19     Q. And do doctors have to have particular types           19   practice. It indicates you've -- you've engaged in
   20   of licensure to be able to prescribe a Schedule II          20   some weighing, and preponderance means 51 percent
   21   drug?                                                       21   versus 49.
   22     A. It is -- it is my understanding that a                 22      A. 51 or more --
   23   doctor has to have a DEA license in order to do             23      Q. Right.
   24   that, as would a pharmacist have to have a DEA --           24      A. -- in my mind, so -- and I definitely think
   25   pharmacists have to sign special order forms that           25   it was -- I think I meant it that way. I apologize

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    1   for using a lawyer word. I try never to do that if            1   or her patient?
    2   possible. They always have more meaning for you               2     A. Well, I don't have an opinion in that regard
    3   than they did to me.                                          3   for this case, but that's my opinion about doctors
    4         But the preponderance, the way you've                   4   and drugs in general. They should always be
    5   defined it as a lawyer term, I would agree with, and          5   monitoring their patients.
    6   I meant to use it that way in this case.                      6     Q. Let's -- let's move to Paragraph 134, and in
    7         The examples that I give on subsequent                  7   Paragraph 134, you identify particular -- three
    8   paragraphs, I think, explain that a little bit with           8   general themes?
    9   specific documents. Unfortunately, in today's                 9     A. Yes.
   10   world, we don't have stacks of documents any more.           10     Q. Did you come up with these themes?
   11   We have electronic files. So it's a little harder            11     A. No. There were multiple iterations of these
   12   to do that with, but when I look at the -- I was             12   themes, and -- but, yes, at the end of the day,
   13   going to say plethora, but I've decided not to.              13   these are -- there were the themes, as I saw them,
   14         When I look at the large number of documents           14   as most appropriate.
   15   that I've reviewed in this matter, and I look at the         15     Q. The -- I think we've talked about your --
   16   themes that were communicated and the way they were          16   what you -- I mean, in coming up with these themes,
   17   communicated -- take the marketing plans out of it           17   you looked at the documents, the marketing
   18   for a minute.                                                18   materials, the presentations, the sales training,
   19         But you look at the sales training                     19   whatever documents that you identified through your
   20   documents, for example, where sales reps are trained         20   Relativity searches and whatever documents might
   21   on how to respond to doctors' concerns about                 21   have been gathered for you by somebody else, and
   22   addiction, or doctors are trained to -- how to               22   you've attempted to group them.
   23   respond to concerns over dependence or tolerance or          23         But in doing that, what you've done is
   24   withdrawal, any of those issues.                             24   you've basically read the document and, in your
   25         The documents that I saw were focused on one           25   head, come up with three themes; fair?

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    1   of two things, primarily, and this is almost                  1     A. I -- you know, I read many documents and
    2   exclusively. They were focused on ways to minimize            2   then tried to figure out what was the best way to
    3   the doctors' concerns and take them the next step             3   represent the -- a -- in a couple of bullet points,
    4   into changing their perception about that concern or          4   the best way to represent the majority of all of
    5   to just downplay that concern to begin with.                  5   those documents.
    6         So that's where -- that's the basis for                 6     Q. In coming to that sort of bullet point
    7   this. So there are multiple, multiple documents in            7   analysis, does that require any particular
    8   the sales training arena, multiple documents called           8   expertise, other than the expertise of being a smart
    9   objection handlers. I think -- I saw lots of                  9   guy?
   10   different types of objection handlers, the training          10     A. Well, I -- let me think about that for a
   11   documents about, you know, dealing with objections           11   second.
   12   and some specific sales techniques that were                 12         Can I -- there's a noise coming out of
   13   employed. So that's the basis for that.                      13   the --
   14         The preponderance was, you know, the vast              14     Q. It's a crackle.
   15   majority, almost all the documents weren't focused           15         MR. GALIN: I think there's someone who is
   16   on, you know, accept this, that opioids are                  16     not on mute is typing.
   17   addictive, and let's discuss that. No, that's not            17         MR. VOLNEY: Hey, folks on the telephone,
   18   what they did. It's downplay that it's addictive             18     could somebody mute?
   19   and shift them to this new way of thinking that --           19     A. So, I mean, I think to answer your question,
   20   that they can still be prescribed if we monitor the          20   do you need a particular expertise, I think it takes
   21   patient closely, for example. So that's where that           21   somebody who can deconstruct the messages from the
   22   basis comes from.                                            22   marketing pieces and then reassemble them into
   23     Q. Do you have any opinion as to whether a                 23   consistent themes.
   24   doctor could appropriately prescribe an opioid as            24         Now, the interesting part about your
   25   long as that doctor continued to closely monitor his         25   question, the reason why I'm really thinking about

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    1   it for a minute is because I really learned this             1   consumer can do that for any product.
    2   information from the marketing documents themselves.         2         The problem in this analysis would be how to
    3   This wasn't necessarily my way of categorizing these         3   know whether or not that -- those themes are
    4   messages, because these were the themes that -- when         4   consistent with the theory of marketing, which --
    5   you look at the marketing planning documents, these          5   the theoretical basis of marketing that says
    6   were the big core messages that the defendants'              6   delivery of that message via this mechanism will
    7   marketing documents really sought to communicate.            7   provide the biggest bang for our buck.
    8         And as I said, there were multiple                     8         The use of that theme in combination with
    9   iterations in, you know, the way these are worded            9   another theme that is designed to complement it, so
   10   and so forth, but opioids should be used first, you         10   integrating the marketing messages, and the
   11   know, that was a -- that was an easy one. That's            11   consumers, while they can maybe identify a message,
   12   one of the main themes, is that opioids need to be          12   they may not be able to synthesize those messages
   13   used sooner in treating pain.                               13   and understand they are part of a bigger picture of
   14         So with that, you know, I think it does               14   marketing.
   15   require an expertise, perhaps even a combination of         15         The integration of the various marketing
   16   expertises. And beyond that, it requires some type          16   efforts, the use of peer-to-peer influence, I mean,
   17   of methodology to keep it all straight and to create        17   you've asked me many questions today about
   18   a record of what you've done and to be able to              18   peer-to-peer marketing, peer-to-peer influence. So
   19   report it.                                                  19   I may be one up on you on that one.
   20      Q. Is it a -- does it require pharmaceutical             20         But the idea of, can the average person just
   21   marketing expertise to read a document and identify         21   look at a brochure designed for patients and be able
   22   what the bullet point pharmaceutical marketing              22   to assess from that what the purpose of a
   23   message is?                                                 23   well-orchestrated, well-defined, and aggressive
   24         MR. CHALOS: Object to the form.                       24   marketing promise might have been, I don't think so.
   25      Q. I guess what I'm getting at, and I think you          25         I think it takes somebody that can -- that

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    1   will anticipate this, is I think I can read these            1   can deconstruct the marketing, break it down into
    2   documents and categorize them by themes just as well         2   its component parts, and understand how each of
    3   as you can. I just don't know that you're actually           3   those component parts relates to the overall purpose
    4   providing some added benefit as an expert to the             4   of that marketing and what impact that marketing
    5   jury. I'm trying to understand, from your                    5   had.
    6   perspective, what you think you're -- what you're            6         And certainly a consumer who is able to
    7   adding as a pharmaceutical expert.                           7   identify a marketing message has no way of knowing
    8         MR. CHALOS: Object to the form.                        8   whether that was successful or not in achieving its
    9     A. So do you want me to answer that, or was                9   goal. They may not even understand the concept
   10   that just a --                                              10   behind an every 12-hour dosing, and why that would
   11     Q. Well, it's kind of a statement, but I also             11   be an effective marketing message for a doctor.
   12   want you to answer it.                                      12         So when you add the layer of a physician or
   13         What are you providing that any other person          13   the other customers to it, when you add the
   14   in this room or on the jury couldn't come to their          14   comprehensive nature of marketing practices to it,
   15   own conclusion about?                                       15   when you add that there are very strong theoretical
   16         MR. CHALOS: Object to the form.                       16   underpinnings that describe why what we do is
   17     A. So I think there's a number of things, and             17   effective, that's at least the beginnings of the
   18   I'm going to reserve the right to add to my list as         18   list of why I think you need a pharmaceutical
   19   we go on.                                                   19   marketing expert. And I haven't even touched on the
   20     Q. Sounds good.                                           20   issue of standards and regulation and so forth.
   21     A. But at the very highest level, you can look            21     Q. So you think it -- does it take a
   22   at any advertisement -- and you mentioned you're a          22   pharmaceutical marketing expert to understand what's
   23   consumer, and you get advertised to all the time.           23   included -- what the intent is behind these
   24   You can look at any advertisement and find out what         24   particular marketing pieces?
   25   the message or the theme is, and potentially any            25     A. Let me give you one example.

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    1         MR. CHALOS: Object to the form.                       1      Q. Like, with a toothache or, I mean, just like
    2     A. Let me give you one example. If you give a             2   any -- any type of pain, minor pain?
    3   patient a PI, it's useless.                                 3      A. Well, that's not my opinion, but I'm saying
    4     Q. If you give a doctor a PI, is it useless?              4   that that's what the -- that's what the theme that I
    5     A. It can be. If they don't read it, it was               5   saw in the marketing documents certainly suggested.
    6   useless.                                                    6      Q. Okay. I -- let's go back and look at this
    7     Q. The same -- the same is true for any piece             7   chart a little bit more. I just wanted to clarify
    8   of marketing information you give to a prescriber.          8   something.
    9   If they don't read it, it's useless.                        9      A. Are we talking about Table II now?
   10     A. Which is exactly --                                   10      Q. Yeah, we're back to Table II, the chart. In
   11     Q. Fair?                                                 11   terms of the marketing messages that you've
   12     A. Which is exactly why you need a marketing             12   identified in this chart, which are A through X --
   13   expert to help you understand how this marketplace         13      A. Yes.
   14   works. Do doctors read it or not? And there is             14      Q. And I just want to clarify. Was it your
   15   evidence to support the contention that they don't.        15   testimony that it was you, Dr. Perri, who came up
   16   They don't rely on the package insert, not the way         16   with those particular marketing messages
   17   they do on other pieces of information. And this           17   categorization?
   18   is -- again, we'll keep adding to the list, but --         18      A. It was the defendants' marketing documents
   19     Q. I'm -- I guess I'm confused. Is there -- is           19   that came up with those categories.
   20   there research that -- or have you done any -- have        20      Q. Well, you -- who wrote it down in this
   21   you done any research to identify what percentage of       21   report? Not defendants' marketing documents.
   22   doctors do or do not rely on the PI, what percentage       22   You're the one who had to look at everything and put
   23   of doctors do or do not rely on advertising, and           23   it together.
   24   what percentage of doctors do or do not -- are or          24         MR. CHALOS: Object to the form.
   25   are not influenced by key opinion leaders, that sort       25      A. Yes.

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    1   of thing?                                                   1     Q. Go ahead.
    2      A. I have --                                             2     A. So in terms of these specific categories, it
    3         MR. CHALOS: Object to the form.                       3   would have been my assistant that created this
    4      A. I have not undertaken analysis to assign              4   table. And when we discussed the various categories
    5   percentages to any of those characteristics.                5   and the various messages that -- the A, B, C, D, E
    6   However, there are -- in the report, there is               6   were just intended to summarize the general theme of
    7   literature cited that reflects on the use -- the            7   the message inside that section of the table.
    8   usefulness of the package insert and reliance on the        8     Q. Okay. So it's --
    9   package insert.                                             9     A. There were iterations of this as well.
   10         Also in the report is information on the             10     Q. Understood. Understood. I mean, it was you
   11   categories that the pharmaceutical companies spend         11   and your assistant who looked at the documents and
   12   on the various forms of advertising that they do;          12   pulled the themes out and then categorized them?
   13   for example, detailing or personal selling being the       13     A. Essentially, yes.
   14   biggest category and the highest expenditure.              14     Q. And the -- it's likely that particular
   15         So if you are a student of marketing, you            15   themes would occur in multiple documents?
   16   understand that marketers spend their dollars where        16     A. Yes.
   17   they get the most return. And so if we're spending         17     Q. Do you -- do you think that the FDA
   18   the most money on detailing, then we know the              18   regulations governing and requiring package inserts
   19   detailing is providing the most return in most             19   are useless?
   20   cases.                                                     20        MR. CHALOS: Object to the form.
   21      Q. When you say opioids should be first line            21     A. No. I think my opinion is just a little
   22   therapy for pain, what does -- what does that mean?        22   different than that. My opinion is, is that they
   23      A. Basically, they should -- you should use             23   are not heavily relied upon.
   24   opioids as soon as possible. When a patient                24     Q. And is that based on your understanding that
   25   presents with pain, you should use an opioid.              25   many doctors will look at -- will shortcut that by

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    1   looking at references, like the Physician's Desk           1   won't see sales reps, that won't go to the CME
    2   Reference or other types of references?                    2   meetings.
    3     A. It's more than that. It's all the efforts             3         So when they read something from the
    4   that a pharmaceutical manufacturer -- pharmaceutical       4   American Pain Society that they don't realize has
    5   marketer undertake to reach a doctor, and the              5   been sponsored by, developed by, edited by, written
    6   package insert is just one of those.                       6   by a drug company, they may be exposed to marketing
    7         And if you look at the package insert in             7   and not even know it.
    8   comparison to detailing, personal selling, journal         8     Q. But again, in terms of percentages, can't
    9   ads, articles, guidelines, CME, all the other things       9   say who relied on unbranded marketed -- marketing
   10   that are going on, the package insert is just a very      10   rather than branded marketing?
   11   small part. And it's primarily something that's not       11     A. I'm a little confused with that because I
   12   attractive and not appealing.                             12   thought we were talking about something else, the
   13         So compare that package insert to the               13   percentages of doctors that look at the PI?
   14   well-crafted, carefully crafted messages that are         14     Q. Right. Versus percentages of doctors who
   15   built into a personal selling encounter or a CME          15   look at, you know, American Pain Management
   16   program. There's -- it's got a lot of competition,        16   Society's publications. I mean, I think I've
   17   and it just doesn't measure up that well.                 17   established that in terms of putting raw -- I mean,
   18     Q. I think you testified earlier that you               18   not raw numbers -- numbers on -- percentages on X
   19   haven't undertaken a study to assign any sort of          19   amount of doctors saw this and were misled by it,
   20   percentage to the number of doctors who rely on the       20   that's not something that you're doing here?
   21   package insert; fair?                                     21     A. No, that's not something that I enlisted.
   22     A. I have not. There is literature cited in             22     Q. All right. Let's --
   23   the report, though, that assesses that to some            23     A. About that time again?
   24   extent.                                                   24     Q. Yeah. Why -- I mean, don't we take a little
   25     Q. Do you have an opinion on how widely a               25   break, and I'll see if I can finish up my

                                                       Page 195                                                     Page 197
    1   package insert is relied upon?                             1 examination and pass you off to somebody else.
    2     A. My opinion is that it's not heavily relied            2         THE VIDEOGRAPHER: We are now going off the
    3   upon.                                                      3     video record. The time is currently 3:08 p.m.
    4     Q. Okay. I mean, heavily indicates to me a               4     This is the end of Media Number 4.
    5   judgment call in terms of percentage. 20 percent           5       (Recess from 3:08 p.m. until 3:19 p.m.)
    6   rely on it? 50 percent rely on it? 70 percent rely         6         THE VIDEOGRAPHER: We are now back on the
    7   on it?                                                     7     video record with the beginning of Media
    8     A. I think -- I think --                                 8     Number 5. The time is currently 3:19 p.m.
    9     Q. Is there any number you can put on that?              9   BY MR. VOLNEY:
   10     A. I think there's evidence that some doctors           10     Q. Let's look at Page 137.
   11   don't ever look at it, and some doctors look at it        11     A. Okay.
   12   some of the time. And that's -- that would be             12     Q. We covered this a little bit this morning,
   13   reflected in the literature that I cited here.            13   but my understanding of your report is that you know
   14     Q. So in terms of answering my question, that's         14   that defendants' marketing messages changed over
   15   the best you've got? Some doctors look at it some         15   time, but that you didn't make any effort to sort of
   16   of the time?                                              16   track the change in those marketing messages from
   17     A. And some never look at it. Yes.                      17   1995 to the present day; fair?
   18     Q. Is it true that some doctors never look at           18     A. I didn't -- I didn't create a detailed
   19   marketing materials at all?                               19   timeline of when they changed, but I certainly noted
   20     A. It -- that depends, because as we've                 20   that the messages changed over that period; for
   21   mentioned already today a few times, that marketing       21   example, in about 2006 with the OxyContin PI change
   22   has lots and lots of ways of reaching a doctor. And       22   or the shift around 2010 towards tamper-resistant
   23   the nonbranded marketing is very effective at             23   formulations.
   24   reaching doctors -- this is addressed in my               24         So that was recognized. It just -- it was
   25   report -- very effective at reaching doctors that         25   part of the overall marketing. It wasn't something

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    1   that I thought I needed to distinguish.                   1   they didn't -- then would not be informed by that
    2     Q. And why is it that you didn't need to                2   outcome and stop prescribing those opioids?
    3   distinguish how the marketing changed over time?          3          MR. CHALOS: Object to the form.
    4     A. Because the messages maintained consistent           4      A. That's not exactly how it works. The --
    5   themes with the addition of some new themes; for          5   it's a cumulative process. So if they have a bad
    6   example, with respect to tamper resistance, but even      6   outcome 20 or 30 times in a row -- or just pick a
    7   with the tamper resistance, the -- still the message      7   number. They had --
    8   theme was that addiction was -- or abuse was going        8      Q. How about one?
    9   to be harder with those. So the original message          9      A. They had repeated bad -- well, that might
   10   of, you know, lower abuse potential was still being      10   inform them not to use it in that patient, but it
   11   perpetuated, just in a different way.                    11   may not extend to other patients. When they have
   12     Q. You state in Paragraph 153 that: Marketing          12   multiple patients that have a bad outcome, it might
   13   principles teach us that the impact of the early         13   get them to extend that thinking to other patients.
   14   marketing that was so effective in shifting              14          It depends on what information gets fed back
   15   prescribers' paradigms about opioids would be            15   into the system, basically, the outcome of
   16   durable and resistant to change.                         16   satisfaction or dissatisfaction, whether or not new
   17     A. Yes.                                                17   information gets encoded in the memory, that: Oh,
   18     Q. Have you quantified the durability or               18   guess what, opioids are addictive, I've got to build
   19   resistance in any way?                                   19   that into my thinking or my thought process.
   20     A. The marketing theory, marketing literature          20          Or: You know, I've had a lot of patients
   21   is replete with evidence that once beliefs,              21   that have done okay, and they are not as addictive
   22   attitudes, and intentions are formed, that they are      22   as I once thought, and I need to incorporate that
   23   very durable. They're very hard to change.               23   into my thinking.
   24         There is a popular book back -- again, I'm         24          Or it could be that, you know, the message
   25   old school, but a popular book called Marketing          25   is, is that oxycodone really is more potent than
                                                      Page 199                                                        Page 201
    1   Warfare, and that's one of the first things noted in      1   morphine, rather than less potent, which a lot of
    2   that book, is that marketing is warfare because once      2   doctors perceived.
    3   a position is formed, a perception is formed in a         3         So it's got to be -- it's got to be
    4   customer's mind, it's very difficult to change it.        4   considered together, integrated, and how the
    5     Q. You state at the end of Paragraph 153 that:          5   information of satisfaction or dissatisfaction
    6   "Marketing principles teach us that two decades of        6   builds back into that model is critical.
    7   Defendants' marketing aimed at a paradigm shift,          7         So patient experience, 1 -- N equals 1, I
    8   will take time and effort to correct."                    8   don't know how that impacts other than for that
    9     A. Yes.                                                 9   patient, but as doctors gain more and more
   10     Q. And then you -- it looks like you cite your         10   experience, then that should begin to formulate that
   11   book.                                                    11   comfort zone that they like to have when it comes to
   12     A. Yes, shamelessly.                                   12   prescribing, or not, which would decrease
   13     Q. Shamelessly. You cite yourself. I like              13   prescribing.
   14   that. So it's your say-so.                               14     Q. Let's look at Paragraph 164. There, the
   15         What do you mean by it will take time and          15   first sentence, you say: Based on metrics I have
   16   effort to correct?                                       16   seen, there is support for the proposition the
   17     A. The habits -- the prescribing habits that           17   defendants' positive marketing increased the size of
   18   were developed over the time period of aggressive        18   the opioid market, effectively expanding sales and
   19   opioid marketing will become engrained, and it will      19   increased the use of these dangerous drugs.
   20   be -- it will take time for those habits to change.      20     A. Yes, I read that.
   21     Q. So if -- I mean, isn't it -- isn't it               21     Q. What is the -- what are the metrics that
   22   your -- well, I mean, is it your opinion that if a       22   you're talking about?
   23   particular prescriber had a bad outcome because of       23     A. So in the -- in the marketing documents,
   24   prescribing opioid painkillers to his or her             24   there are numerous -- numerous documents that focus
   25   patients, one patient or multiple patients, that         25   on results, and the results that -- and, again,

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    1   qualifying that by saying not every product was a            1               CROSS-EXAMINATION
    2   blockbuster, which I address in this report.                 2   BY MS. RODGERS:
    3         But for a majority of the products, products           3     Q. Good afternoon, Dr. Perri. My name is Megan
    4   were meeting the sales goals that they -- that were          4   Rodgers. We met before the deposition began this
    5   established. And so the sales -- the numbers of              5   morning. I'm with the law firm Covington & Burling,
    6   opioids being sold in the marketplace was growing            6   and I'm representing McKesson.
    7   through that time period of from 1995 through at             7     A. Okay.
    8   least, you know, 2010, 2012, '14, when perhaps there         8     Q. You're aware that there are several
    9   was a beginning of decline.                                  9   wholesale distributors in this case, right?
   10     Q. The two sentences further on, you say:                 10     A. Yes, I am.
   11   There is a clear association between opioid                 11     Q. Okay. And when I use the phrase "wholesale
   12   utilization and patient outcomes, including                 12   distributors," you understand I'm referring to
   13   increased analgesia -- analgesia, side effects,             13   McKesson, AmerisourceBergen, and Cardinal, right?
   14   diversion, overdose, and death.                             14     A. Are you limiting it to just those three?
   15         Do you see that?                                      15     Q. Can we agree that I'm -- yeah.
   16     A. Yes.                                                   16     A. Okay.
   17     Q. Have you made any effort to study drug                 17     Q. I'm referring to those three.
   18   overdoses and deaths related to the use of                  18         Were you asked to consider whether you had
   19   prescription painkillers?                                   19   any opinions with respect to McKesson?
   20     A. Other than what I cite here, I know that               20     A. With respect to McKesson by itself?
   21   other experts have investigated that question.              21     Q. Yes.
   22     Q. Do you know whether most overdose deaths --            22     A. No.
   23   do you know whether most overdose deaths involve a          23     Q. Okay. Were you asked to consider whether
   24   combination of drugs?                                       24   you had any opinions with respect to Cardinal?
   25     A. I don't know.                                          25     A. Not -- none of the defendants independently.

                                                         Page 203                                                        Page 205
    1      Q. So, for example, in your study for the                 1   They're all -- the opinions are all based on a
    2   Georgia Medicaid, you determined that there were a           2   collective assessment.
    3   number of patients who were being prescribed both            3     Q. Okay. So you have no opinions in this case
    4   benzodiazepines and opioids?                                 4   regarding specifically McKesson?
    5      A. Yes.                                                   5     A. None that are related to McKesson only.
    6      Q. Do you know whether the majority of overdose           6     Q. Okay. And you have no opinions related
    7   deaths attributed to -- or where there is a finding          7   specifically to Cardinal?
    8   that an opioid was involved, also other drugs, like          8     A. Same -- nothing is -- while the opinions
    9   benzodiazepines, methamphetamines, or even, like,            9   apply to each of the wholesaler defendants, none of
   10   illegal narcotics?                                          10   the opinions are specifically singling them out as a
   11      A. Or alcohol.                                           11   particular defendant regarding that opinion.
   12      Q. Or alcohol, yeah, marijuana?                          12     Q. Okay. And the same is true for
   13      A. So I don't -- I don't have any way to                 13   AmerisourceBergen?
   14   quantify that.                                              14     A. Yes.
   15      Q. Okay. Those are all of the questions I have           15     Q. Okay. Were you asked to produce materials
   16   for you. I appreciate your patience, and I'll give          16   produced by those wholesale distributors?
   17   you back your report.                                       17     A. So, yes, there were -- there were wholesale
   18          MR. VOLNEY: So I'm going to pass the                 18   documents -- wholesaler documents that were provided
   19      witness, too.                                            19   to me, as well as some that I searched for in the
   20          THE VIDEOGRAPHER: We are now going -- we             20   Relativity database.
   21      are now going off the video record. The time is          21     Q. Okay. And what was the volume of the
   22      currently 3:27 p.m.                                      22   materials that --
   23         (Recess from 3:27 p.m. until 3:30 p.m.)               23     A. The -- as I recall, the largest share of the
   24          THE VIDEOGRAPHER: We are now back on the             24   distributor documents were contracting documents
   25      video record. The time is currently 3:30 p.m.            25   and, for example, documents specifying purchasing

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    1   arrangements and marketing arrangements for generics        1   identification.)
    2   and -- so the largest part of them were -- seemed to        2   BY MS. RODGERS:
    3   be legal documents.                                         3      Q. Anyway, I put in front of you one chapter
    4         There were some documents with other types            4   from that book, and I've marked it as Exhibit 4.
    5   of information, but the biggest part of them was --         5   It's Chapter 5. It's titled "Place: The
    6   the biggest part of those documents were                    6   Pharmaceutical Industry Supply Chain."
    7   distributor -- I'd call them distributor agreements,        7      A. Yes.
    8   that kind of thing.                                         8      Q. And I just wanted to kind of start with
    9      Q. Okay. And, again, what was the overall                9   basic principles. I'm sorry that this is so simple,
   10   volume of those materials, would you say?                  10   but if you'd turn to Page 112, you'll see that you
   11      A. I mean, in -- in the -- so the thousands and         11   have this kind of nice diagram on there, and I
   12   thousands of documents that were in the overall set.       12   wanted to start there.
   13   It was hundreds and hundreds of documents in the           13      A. So -- oh, I gotcha.
   14   distributor set, as I recall.                              14      Q. Okay.
   15      Q. Okay. Are those materials all identified in          15      A. Yeah, I'm there. Thank you.
   16   your list of materials considered that you attached        16      Q. All right. Would you agree that it's the
   17   to your report?                                            17   manufacturer that develops the prescription
   18      A. Yes, they are.                                       18   medication?
   19      Q. Okay. And did you review materials that              19         MR. CHALOS: Object to the form.
   20   were produced by the distributors?                         20      A. I think, yes, manufacturers invent and
   21      A. Yes, I did.                                          21   get -- seek approval for medications, yes.
   22      Q. Okay. About how long did it take you to              22      Q. Okay. And before the manufacturer can make
   23   review those materials related to the distributors         23   that medication available to doctors and patients,
   24   only?                                                      24   the FDA has to approve that medication and the
   25      A. I did not keep -- I did not break down the           25   labeling as well?
                                                      Page 207                                                          Page 209
    1   time that I spent, but I think it would be                  1     A. Yes.
    2   proportional, the number of documents to the -- the         2     Q. Okay. And the manufacturer then sends the
    3   total numbers of documents. So if there were, you           3   prescription medication to the wholesaler, correct?
    4   know, maybe -- I don't -- I can't give you a number         4         MR. CHALOS: Object to the form.
    5   because I haven't counted, but let's just say for           5     A. I mean, there are -- there are arrangements
    6   the sake of argument there were 8,000 overall               6   made between the two to facilitate the distribution
    7   documents, and there may have been 800 or so.               7   and other services.
    8     Q. Uh-huh.                                                8     Q. Right. And the wholesalers sit in the
    9     A. Not counting the depositions, because                  9   middle between the manufacturers and the pharmacies
   10   obviously there were a number of depositions related       10   in the supply chain, right?
   11   to distributors.                                           11         MR. CHALOS: Object to the form.
   12         So anywhere from 10 to maybe 20 percent in           12     A. Yes, they do.
   13   terms of the effort.                                       13     Q. Okay. So wholesalers are receiving the
   14     Q. Okay. We talked before about -- a little              14   prescription drugs from the manufacturers and then
   15   bit about the book that you wrote on Pharmaceutical        15   shipping them to the pharmacies, right?
   16   Marketing.                                                 16         MR. CHALOS: Object to the form.
   17     A. Yes.                                                  17     A. Yes.
   18     Q. Or co-wrote.                                          18     Q. Okay. And meanwhile, the patient might be
   19     A. Edited.                                               19   receiving a prescription from a doctor, correct?
   20     Q. Yes. I actually tried to buy if off Amazon,           20         MR. CHALOS: Object to the form.
   21   but when I looked, it was sold out. I see there's          21     A. Certainly that's what happens in the supply
   22   another copy.                                              22   chain. Patients get a prescription, and setting
   23     A. That's wonderful.                                     23   aside all the other influences, the third parties,
   24         MR. VOLNEY: That was me.                             24   the insurers, the doctors, and everything else, the
   25         (Perri Exhibit 4 was marked for                      25   flow of the physical product, which I've identified

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    1   in the figure in my report we can look at, certainly         1   opioids for a second. I'm just trying to ask a very
    2   goes from the manufacturer to the wholesaler to the          2   kind of basic question.
    3   pharmacy to the patient.                                     3     A. Okay.
    4     Q. Right. And the patient, just to -- just to              4     Q. There is nothing inherently wrong with being
    5   make the record clear, the patient gets the                  5   a part of that supply chain, right?
    6   prescription from the doctor or a licensed                   6         MR. CHALOS: Object to the form.
    7   practitioner?                                                7     A. Yeah. Every -- every stakeholder is
    8         MR. CHALOS: Object to the form.                        8   essential to providing drugs in our nation, and
    9     A. The written prescription, which is then                 9   that's an essential service to provide.
   10   filled at the pharmacy.                                     10     Q. Okay. And if you look at Page 108 of your
   11     Q. Yes.                                                   11   book, I want to direct your attention to one
   12     A. For a pharmacist, when you say "gets the               12   paragraph there. And it's the first page, and it's
   13   prescription," we think of the bottle of pills.             13   the very last sentence on this page. Could you read
   14     Q. Okay.                                                  14   that out loud? Actually, the last two sentences.
   15     A. Right. So -- but the prescription form is              15     A. I'm going to try.
   16   filled out by the doctor or the prescriber, yes.            16     Q. I can read it to you if it's too small.
   17     Q. Okay. So by the time the patient shows up              17     A. It's pretty blurry on this.
   18   to a pharmacy to pick up that prescription, they            18     Q. Okay. So you can tell me if it looks wrong
   19   have that prescription -- what I refer to as a              19   to you, but I read: Without the wholesaler
   20   prescription, they have that order in hand, right?          20   providing its vital distribution function in the
   21     A. Correct. And you'd be correct. That -- it              21   pharmaceutical supply chain, many pharmacies across
   22   is also referred to as a prescription, so, yeah.            22   the country would not be able to serve their
   23     Q. Okay. And that's just how the supply chain             23   customers' patients. In the worst case scenario,
   24   is set up to work, right?                                   24   those patients could possibly have to survive
   25         MR. CHALOS: Object to the form.                       25   without vital medications, such as insulin, pain,

                                                         Page 211                                                     Page 213
    1     A. So that's the physical distribution of the              1   blood pressure, or thyroid medications, among
    2   product. That's how the supply chain works, yes.             2   others.
    3     Q. And there is nothing wrong with being a part            3        Did I read that correctly?
    4   of that supply chain, right?                                 4     A. You did.
    5         MR. CHALOS: Object to the form.                        5     Q. Okay. So the wholesaler's role in the
    6     A. I think in my report, I point out that the              6   supply chain is vital, right?
    7   full -- every -- every stakeholder in the supply             7     A. I would agree with that.
    8   chain is critical to the delivery of pharmaceuticals         8     Q. And medications like prescription opioids,
    9   in our -- in our nation's supply chain.                      9   pain medications, are vital?
   10     Q. Every -- every participant has --                      10     A. In appropriate patients, yes.
   11   participant has an important role to play?                  11     Q. Okay. And it's important for patients who
   12     A. Yes, they do.                                          12   need pain medication to be able to go to the
   13     Q. And there's nothing wrong with the roles               13   pharmacy and fill those prescriptions, correct?
   14   themselves?                                                 14     A. That -- it is important for patients to be
   15     A. You know, the -- I didn't make any                     15   able to have access to the medications they need,
   16   assessment of right or wrong, simply, you know, what        16   yes.
   17   is the -- what is the role of each in the supply            17     Q. Including pain medication?
   18   chain. So is it -- is it right or wrong for a               18     A. Including pain medication, yes.
   19   wholesaler to -- you know, to sell opioids? You             19     Q. And the wholesaler or distributor's job is
   20   know, that wasn't -- it -- that wasn't part of the          20   to make sure that the medicine is available so that
   21   analysis. What was part of the analysis is, how did         21   the pharmacies can serve those patients, correct?
   22   opioids get from inception to the marketplace?              22     A. That's one of their functions, yes.
   23     Q. Uh-huh.                                                23     Q. Okay. And if you turn now to Page 151 of
   24     A. And so the wholesalers have a role in that.            24   your report, I'm going to direct your attention to
   25     Q. Right. And I just -- I'm stepping away from            25   approximately Paragraph 184. I think you're saying

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    1   essentially the same thing here.                           1   marketing perspective, there are a lot of functions
    2         You wrote: As the US drug distribution               2   that happen in the distribution system that are --
    3   system currently exists, pharmaceutical                    3   that are very important to the marketing process,
    4   manufacturers could not ensure the distribution of         4   and one of those is how things are paid for. So the
    5   their products without both wholesale distributors         5   system of chargebacks and discounts and money flows
    6   and pharmacy providers. Therefore, wholesale               6   within the system become very important, and the
    7   distributors and pharmacies are integral to the            7   wholesalers play a key role in that, as well as the
    8   defendants' marketing of opioids.                          8   information and data that wholesalers have about
    9         So it's your opinion that wholesale                  9   products, where they're going, how they're selling,
   10   distributors are integral because they distributed        10   when they're selling, how many are needed in the
   11   the prescription opioids, right?                          11   future, how many have been used in the past. All of
   12         MR. CHALOS: Object to the form.                     12   those -- all those information points things become
   13     A. The distribution is one aspect, but, yes,            13   very important.
   14   that's correct.                                           14         So those are the other -- the other reasons
   15     Q. That's the aspect that you're referring to           15   why I think that wholesalers are integral. They
   16   right here in Paragraph 184?                              16   play a vital role. Without the wholesaler, the
   17     A. Well, Paragraph 184 also deals with revenue          17   pharmaceutical manufacturer would have to do that
   18   flows and while I didn't include it here, would also      18   distribution function on their own, which would be
   19   include information flow.                                 19   extremely expensive, extremely inefficient, and not
   20         But just for example, the role of the               20   in the best interest of patients probably.
   21   wholesaler is very important to the manufacturer in       21     Q. Okay. And it sounds like, from what you're
   22   terms of production. They -- they're able to              22   saying, that distributors are integral because of
   23   provide information on sales and how much product is      23   their position in the supply chain, because that's
   24   moving through the distribution system, which             24   how prescription drugs are distributed, right?
   25   provides information to manufacturers to gear up or       25     A. Yes.

                                                    Page 215                                                          Page 217
    1   to gear down production facilities.                        1          MR. CHALOS: Object to the form.
    2         So it's all tied together, but I think I             2      A. Yes, that's right.
    3   absolutely do agree that this is consistent with the       3      Q. And that same position in the supply chain
    4   book in that I think they're integral to the               4   makes them integral to the distribution of insulin
    5   process.                                                   5   the same way that they're integral to the
    6     Q. Okay. So you would agree that wholesale               6   distribution of opioids?
    7   distributors are integral because they distributed         7          MR. CHALOS: Object to the form.
    8   prescription opioids, correct?                             8      A. That's true, yes.
    9         MR. CHALOS: Object to the form.                      9      Q. Okay. And it's not your opinion, correct,
   10     A. So that is one of the reasons why they're            10   that the distributors are integral because of any
   11   integral, because of the distribution. The --             11   advertising that they did?
   12     Q. And I -- and I'm going to ask you now. Tell          12          MR. CHALOS: Object to the form.
   13   me the other reasons that you think that wholesale        13      A. So the -- my assessment of the distributor
   14   distributors are integral.                                14   advertising that I refer to in the report is that,
   15     A. Right. And so if -- can I refer you to the           15   as expected, the distributor advertising focused
   16   graph or the chart?                                       16   primarily on price, quality, availability, special
   17     Q. Sure.                                                17   deals, stocking, and incentive-type advertising.
   18     A. Yeah. So that's on Page 63.                          18   And on -- only on rare occasion did it affect -- did
   19     Q. Uh-huh.                                              19   it -- did it require a package insert or any product
   20     A. And it's Figure 4. And so we've addressed,           20   information to be distributed.
   21   in the question that you've asked so far, we've           21          So the reason that I believe that
   22   addressed the physical supply, which I think we           22   wholesalers are integral to that process is because
   23   agree on, and we've addressed the -- that they're         23   of that function and that they did communicate
   24   integral. We agree on that.                               24   messages that were important to know in the
   25         I just want to make clear that from a               25   marketplace; for example, which generic immediate

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    1   release oxycodone product can be purchased at the            1   program, but the overall marketing and all the
    2   best price, so the pharmacy can function more                2   things they did collectively contributed to the
    3   efficiently, those kind of messages.                         3   marketing success.
    4         I did not notice -- I did not see documents            4     Q. Okay. So if you turn to Page 154, please,
    5   that the wholesale distributors distributed                  5   can you look at Paragraph 187.
    6   marketing messages beyond that, with few exceptions.         6     A. Okay.
    7   For example, in one instance -- and I'd have to look         7     Q. And it says -- it looks to me like you're
    8   in the report to get the specific details on this --         8   saying kind of more of the same here: The increased
    9   a book was distributed through -- I believe it was           9   sales of opioids resulting from defendants'
   10   Cardinal. And that book did carry with it unbranded         10   marketing could not have occurred without wholesale
   11   marketing messages.                                         11   distributors and pharmacies, which completed the
   12         So, again, the primary messages, the vast             12   supply chain system and made opioids available to
   13   majority of the messages were product, price,               13   patients.
   14   availability, quality. And then there were some             14         In your opinion, wholesale distributors are
   15   instances where it extended slightly beyond that in         15   important -- excuse me -- because they ensure that
   16   distribution of information.                                16   the prescription medication was available at the
   17     Q. Okay. And so when we talk about the bulk of            17   pharmacy when the patient showed up, right?
   18   the -- what you refer to as advertising or the              18     A. Yes, absolutely.
   19   provision of information about, you know, price and         19     Q. And if you look at Paragraph 99 of your
   20   product availability, when you look at what you're          20   report --
   21   saying in Paragraph 184 here and you talk about             21     A. Okay. I'm with you.
   22   distributors being integral to the defendants'              22     Q. I'm just trying to find it. In the second
   23   marketing of opioids, that's not what you're talking        23   sentence: Each -- excuse me again -- each
   24   about? You're not talking about the provision of            24   stakeholder has the common goal of selling
   25   information about price and availability, right?            25   pharmaceuticals by working with and through others

                                                       Page 219                                                      Page 221
    1         MR. CHALOS: Object to the form.                        1   in the supply chain system.
    2     A. You know, I have to -- I have to largely                2         Do you see that?
    3   agree that the -- you know, the vast majority, the           3     A. I do.
    4   preponderance of the documents focused on those              4     Q. And you would agree there's nothing wrong
    5   issues, but there were instances where it reached            5   with every stakeholder sharing the common goal of
    6   beyond that, but they were in the minority of cases.         6   selling pharmaceuticals, right? There's nothing
    7     Q. And they weren't integral?                              7   inherently wrong about that?
    8         MR. CHALOS: Object to the form.                        8         MR. CHALOS: Object to the form.
    9     A. Well, you know, that's actually an                      9     A. So, again, it's how it works. It's not a
   10   interesting question, because the opinions that I           10   judgment about is it right or wrong, good, bad,
   11   formed, marketing behaviors are not broken down into        11   fair, or unfair. It's just simply that's how the
   12   this behavior and the next and the next, but all the        12   system works.
   13   behaviors are interrelated.                                 13     Q. And there is nothing wrong with that?
   14         So I didn't separate the behaviors out. I             14         MR. CHALOS: Object to the form.
   15   didn't say, well, this is a good message, and this          15     A. Yeah. I didn't make that assessment. I
   16   is a bad message. These are all the messages. This          16   didn't -- I didn't make that -- I don't analyze that
   17   is how they impacted the marketplace.                       17   in this analysis.
   18         So the distribution of 162,000 copies of a            18     Q. You have no opinion on that?
   19   book on proper pain management certainly qualifies          19     A. Well, I think the opinion that is expressed
   20   as a market message that was distributed and is part        20   in the textbook and other -- elsewhere in the report
   21   of the overall scheme of marketing. It's -- it              21   is that wholesalers are essential to -- integral to
   22   didn't undertake to single out any one activity or          22   the process of drug distribution, and that is, in
   23   any one event or any one means of delivery of               23   general, a good thing in our society.
   24   marketing messages to associate sort of -- or               24         Does that go beyond that with opioids? Then
   25   attribute their -- its impact to the marketing              25   we can talk about that, but is -- this is -- I think

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    1   we're agreeing on all these things, basically, yeah.      1   increase their efficiency and ability to survive in
    2     Q. There's nothing wrong with -- there's                2   the marketplace.
    3   nothing wrong with a common goal of selling               3     Q. Okay. And that same paragraph goes on to
    4   pharmaceuticals?                                          4   say: Wholesalers can give preferential treatment to
    5         MR. CHALOS: Object to the form.                     5   a specific manufacturer's products by stocking only
    6     A. Again, with the caveat that if there is an           6   or preferentially selected manufacturer's products
    7   inappropriate use of marketing, that from a macro         7   for distribution and/or generic purchasing programs.
    8   perspective, the wholesalers were implicated in that      8        There is nothing wrong with that, either,
    9   marketing because of their role -- their integral         9   right?
   10   role in the supply chain.                                10        MR. CHALOS: Object to the form.
   11         And I do draw the opinion in my report that        11     A. So we're still -- we're not on opiates,
   12   the marketing of opioids was inappropriate or            12   right?
   13   violated standards, so to that extent, they would --     13     Q. Correct.
   14   the wholesalers, the wholesale distributors, would       14     A. Yes, I agree.
   15   be part of that process.                                 15     Q. While a distributor can set different prices
   16     Q. And, again, I'm not asking about opioids in         16   for generics, they're not the ones actually writing
   17   this -- in this circumstance. I'm just saying, each      17   the prescription for those medicines, right?
   18   stakeholder has the common goal of selling               18        MR. CHALOS: Object to the form.
   19   pharmaceuticals by working with and through others       19     A. The wholesalers do not generate patient
   20   in the supply chain. That's the supply chain             20   level demand, no.
   21   functioning as it's intended to, right?                  21     Q. Okay. It's the doctor that usually makes
   22         MR. CHALOS: Object to the form.                    22   the decision about whether to prescribe an opioid?
   23     A. Yeah. As long as the marketing is in                23     A. Doctor or the prescriber, yes.
   24   appropriate fashion, then I agree with that.             24     Q. And the prescriber decides which opiate --
   25     Q. Okay. And then if you look at Paragraph             25   opioid to prescribe?
                                                      Page 223                                                      Page 225
    1   100: Revenue -- revenue flows between various parts       1     A. In the case of branded pharmaceuticals, yes;
    2   of the supply chain system in a variety of forms,         2   in the case of generics, not generally, no.
    3   including payments, rebates, and chargebacks --           3     Q. And the prescriber decides what dosage to
    4         MS. RODGERS: Sorry.                                 4   prescribe?
    5     Q. -- that ensure members of the supply chain           5     A. Generally speaking, yes, they do.
    6   system have data such as utilization, supply, and         6     Q. And the prescriber prescribes how many bills
    7   distribution showing exactly where each bottle of         7   to prescribe, right?
    8   pills is going and at what price.                         8     A. Subject -- subject to rules and limits that
    9         So again, just a basic question: There is           9   insurance may impose, yes.
   10   nothing wrong with revenue flowing between various       10     Q. Okay. There are some other entities that
   11   parts of the supply chain, right?                        11   aren't part of the direct supply chain that we saw
   12     A. That's correct.                                     12   in your book, but that nevertheless influence what
   13     Q. Okay. And if you look at Paragraph 101:             13   type of pain medication are available, right?
   14   Wholesalers offer attractive pricing in connection       14         MR. CHALOS: Object to the form.
   15   with their negotiation of volume discounts with          15     Q. I can give you some examples.
   16   manufacturers.                                           16     A. So if you're referring to third-party
   17         Do you see that?                                   17   payers, PBMs, formulary committees, those kinds of
   18     A. Yes.                                                18   entities and stakeholders, yes, they exist and play
   19     Q. Okay. And there's nothing wrong with                19   a vital role in the marketplace as well.
   20   wholesalers offering attractive pricing to               20     Q. Correct. So the FDA also influences what
   21   pharmacies in connection with their negotiation of       21   type of pain medications are available?
   22   volume discounts with manufacturers, right?              22     A. The role of the FDA is a little bit more
   23         MR. CHALOS: Object to the form.                    23   difficult for me to assess because I'm not an expert
   24     A. Right. I think that's -- for pharmacies, at         24   on the FDA. I'm aware of the FDA from a marketing
   25   least, that's a vital function to be able to             25   angle.

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    1         But the other part of it is, is the FDA is            1      A. I definitely agree to part of that, that
    2   provided information by manufacturers. It doesn't           2   third-party payers, PBMs, formulary managers,
    3   come from independent third parties. The                    3   Medicaid, whoever, can put in place measures that
    4   information comes from the party with a commercial          4   are designed to help ensure appropriate utilization.
    5   bias built in. So I would view that a little bit            5         But as you've noted in many of your
    6   differently than the others that you mentioned in           6   questions, the choice of a drug ultimately is the
    7   your question.                                              7   responsibility of the prescriber. And the things
    8     Q. Okay. The FDA, nonetheless, can approve or             8   that third-party payers and others can implement
    9   reject a medication, correct?                               9   have a limited ability to impact the marketplace.
   10     A. Yes, they can. Based on --                            10   Even though some of them are very potent, some of
   11     Q. Okay.                                                 11   them are not.
   12     A. -- information provided to them from                  12         For example, you know, preferred versus
   13   manufacturers, yes.                                        13   nonpreferred status on the Medicaid formulary or a
   14     Q. And I think you testified that insurers,              14   first versus second versus third tier, compare those
   15   third-party payers, and pharmacy benefit managers          15   all to prior authorization or step therapy. So
   16   also influence the availability of pain medication,        16   there are variable amounts of impact that they can
   17   right?                                                     17   have.
   18         MR. CHALOS: Object to the form.                      18         That's why -- because of that, that's why
   19     A. They don't impact the availability of                 19   it's important to look at the entire system, what's
   20   medications. They impact access to medications             20   going on. The inputs to the doctor are generating
   21   through their formulary decisions and safety               21   prescribing demand, and then the third-party payers
   22   measures that they implement in their various              22   and so forth are trying to be some type of governor
   23   insurance plans, programs, and options that they           23   to that. The whole supply chain works together to
   24   make available to patients, which usually impacts          24   try to ensure that this whole system works.
   25   the system through the prescriber because                  25      Q. Okay. And I just want to make sure that I
                                                       Page 227                                                        Page 229
    1   prescribers become aware of their patients' ability         1   got an answer to my question. You would agree that
    2   to obtain medication on their formulary, in                 2   government and private insurers and pharmacy benefit
    3   preferred tiers, with preferred copayments, or              3   managers have an ability to impact -- those are your
    4   without prior authorization.                                4   words -- the prescribing of opioids, right?
    5        So they do impact it, but they don't create            5         MR. CHALOS: Object to the form; incomplete
    6   the availability. They're usually approving the use         6     hypothetical.
    7   of or limiting the use of medications.                      7     A. So I think in my answer when I was referring
    8     Q. If I could direct your attention to Page 14            8   to they have the ability to impact, you keep saying
    9   of your report, it's the fourth bullet point down.          9   prescribing. The actual fact is that it's not
   10   You wrote: Insurers, third-party payers, and               10   really -- they don't really impact the prescribing
   11   pharmacy benefit managers influence the medication         11   necessarily, because the doctor may still make a
   12   choices available to prescribers through formularies       12   choice, and then they're -- the doctor is confronted
   13   and preferred drug lists.                                  13   with formulary restrictions or patient copayments.
   14        Correct?                                              14         So the insurer can make it easier or harder
   15     A. Yes.                                                  15   to access the medicine, but that doesn't necessarily
   16     Q. And that was true when you wrote it?                  16   impact prescribing. Granted, in some cases it does
   17     A. Yes.                                                  17   because when a doctor becomes aware -- a prescriber
   18     Q. And that's true now?                                  18   becomes aware that a medication is in a nonpreferred
   19     A. Yes.                                                  19   status on the formulary, it may impact their choice.
   20     Q. Okay. And you would agree that government             20         If they are aware that a copay is very high,
   21   and private insurers and pharmacy benefit managers         21   and there's no copay card available, that may impact
   22   can implement strategies that could reduce                 22   their choice, but it doesn't necessarily impact
   23   inappropriate prescribing of opioids, right?               23   prescribing. It impacts utilization.
   24        MR. CHALOS: Object to the form; incomplete            24     Q. Okay. And you would agree -- I think you're
   25     hypothetical.                                            25   working on projects related to this -- that

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    1   government and private insurers and PBMs can use             1   how that might or might not be used to block that
    2   claims data to better target policies aimed at               2   prescription from being filled.
    3   reducing opioid use?                                         3      Q. But the claims data could provide insight
    4        MR. CHALOS: Object to the form.                         4   into whether, for example, a patient is using benzos
    5     A. So I would agree that they can use claims               5   at the same time as prescription opioids, right?
    6   data to assess the effectiveness of their policies.          6      A. Right. And my understanding is, is that the
    7   I don't -- I don't know that they can use the claims         7   claims adjudication process that's in place now --
    8   data to actually target that. To the extent that             8   again, I haven't worked in retail community pharmacy
    9   the claims data provides them with information that          9   since 2007.
   10   may be useful, yes, but the claims data and the             10      Q. Uh-huh.
   11   projects that we have ongoing are really designed to        11      A. The claims adjudication process now would,
   12   assess things that --                                       12   in fact, flag a potential problem such as that. It
   13        MR. CHALOS: Could you slow down a little               13   would then be up to the pharmacist and the
   14     bit? I just want to make sure she can get it all          14   prescriber to determine if that is okay or not or --
   15     down.                                                     15      Q. It -- sorry. It would flag that problem for
   16        THE COURT REPORTER: I need to hear him                 16   the pharmacy?
   17     better.                                                   17      A. Yes, at the point of the prescription being
   18        MR. CHALOS: Yeah. Slow down and speak up.              18   filled.
   19     Sorry to interrupt.                                       19      Q. Okay. So at that point, the pharmacist
   20     A. Okay. So the claims data is most useful for            20   could determine whether or not to fill that
   21   assessing policies that have already been created           21   prescription knowing that the patient is using
   22   and for providing information that might help shape         22   benzos at the same time as prescription opioids,
   23   future policies.                                            23   right?
   24     Q. Okay. You would also agree that government             24      A. Yes. And again -- and these are issues that
   25   and private insurers and PBM can use claims data in         25   I really didn't look at in this matter, but the --

                                                       Page 231                                                        Page 233
    1   their possession to flag potential inappropriate             1   you know, based on my experience as a pharmacist, I
    2   prescriptions?                                               2   can -- I can provide an answer to that question.
    3         MR. CHALOS: Object to the form; incomplete             3     Q. Okay. If you could turn to Page 148 of your
    4     hypothetical.                                              4   report and look at Paragraph 175. In this paragraph
    5     A. So that -- I'm not sure I can agree with                5   you state that: Wholesale -- wholesaler
    6   that, because the DUR process, or drug utilization           6   distributors were integral to selling the generic
    7   review process, in the claims -- the realtime                7   Kadian since these entities can select the generic
    8   adjudication of a claim can potentially flag an              8   manufacturer offering the best pricing and
    9   inappropriate prescription using criteria that --            9   availability to use in their generic source programs
   10   for example, similar to the ones in the paper that          10   and are pivotal in dictating price to pharmacies.
   11   we discussed this morning, potentially inappropriate        11         Do you see that?
   12   prescribing, such as the use of a benzodiazepine            12     A. I do.
   13   along with an opioid.                                       13     Q. Okay. So in other words, distributors could
   14         But the -- those claims data can't just               14   select a price for Kadian that made it more
   15   be -- I don't know if the insurers, the third-party         15   attractive for pharmacies to use over other generic
   16   payers, and others can use that in realtime to stop         16   versions of the same product?
   17   a prescription at that moment. I don't know if they         17         MR. CHALOS: Object to the form.
   18   have that capability or not. I know that a message          18     A. To the extent that there is a -- another
   19   can be sent back to the pharmacy saying, you know,          19   generic available for Kadian, yes.
   20   check this or check that, verify this, verify that.         20     Q. And that pricing, that making Kadian cost
   21         But I -- again, I don't have any firsthand            21   less than another generic of the same product, that
   22   knowledge to -- nor did I assess in this matter, how        22   doesn't make doctors write more prescriptions than
   23   that data was being used with regard to -- at the           23   they otherwise would have, right?
   24   pharmacy counter when a patient presents a                  24         MR. CHALOS: Object to the form.
   25   prescription from a physician or other prescriber,          25     A. Now, the -- I'm giving pause for that

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    1   because it -- one of the inputs to the prescription        1   that are expensive, I bet my patient is not even
    2   process on the part of physicians, over -- over time       2   going to buy them, versus the generic that will be a
    3   they become more sensitive to the issue of price.          3   lot more reasonably priced, I'm going to choose that
    4   And the availability of generics definitely does           4   one.
    5   impact prescribing decisions because a physician or        5         I think that's the process that they go
    6   other prescriber may indeed look at a patient in           6   through.
    7   need of a medication and say, oh, well, there is a         7     Q. Is it your opinion that pharmacists, when
    8   generic available, I'm going to go this way versus         8   they're filling those prescriptions, should be more
    9   that way.                                                  9   skeptical of a prescription for a generic drug?
   10         So I think I largely agree with that                10         MR. CHALOS: Object to the form.
   11   statement, but there will be cases, there will be         11     A. I don't think I've expressed that opinion at
   12   times when the availability of a generic does serve       12   all, no.
   13   to increase access to medications by virtue of a          13     Q. You don't have that opinion?
   14   lower priced alternative being available, which, in       14     A. I wouldn't think that what -- the doctor's
   15   turn, can stimulate doctors to utilize that               15   choice of generic or brand name would have any
   16   medication more.                                          16   impact on the pharmacist's judgment of the veracity
   17     Q. And on what is your opinion -- you -- so you         17   or legitimacy of a prescription.
   18   say sometimes the unavailability of generic could         18     Q. Did you do any assessment about whether
   19   impact prescription writing. On what is that based?       19   physicians' knowledge about the pricing of opioids
   20     A. The literature, that, you know, the doctors          20   affected their prescription writing?
   21   have had a growing awareness of pricing in their          21     A. As a part of this analysis, we looked at, of
   22   decision-making process.                                  22   course, the marketing messages and so forth. One of
   23     Q. Is that cited in your report?                        23   the key things that was identified, identified in
   24     A. I'm not positive. It may be. I'd have to             24   Table II as well, is the formulary considerations
   25   check.                                                    25   and the use of copay cards and reductions in the

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    1      Q. Can you take a look, please.                         1   amount of patient copays, so to that -- to the
    2      A. Not quickly, no. I can -- like I said, I             2   extent that those relate to price, yes.
    3   don't have a computer here where I can do quick            3     Q. Okay. Did you do any assessment of whether
    4   searches, but I can tell you that there's a lot of         4   distributors communicating the price of generic
    5   literature on prescription pricing actually                5   opioids affected the prescription writing of
    6   published about physicians' awareness of                   6   physicians?
    7   prescription operations.                                   7     A. No, I did not do any analysis related to
    8         And over time it has grown to the point              8   that issue of generics availability related
    9   where doctors have become -- they generally, in the        9   prescription writing.
   10   past, were not very sensitive to price issues, but        10     Q. Okay. If you look at Page 29 of your
   11   now they have become more so sensitive to price           11   report, there's a section titled "Common
   12   because of the cost of healthcare and the                 12   Marketing" -- I'll wait for you to get there.
   13   out-of-pocket costs that patients incur, even since       13     A. Okay.
   14   Medicare Part D, with patients incurring a lot more       14     Q. There's a section called "Common Marketing
   15   drug costs out of their own pockets.                      15   Techniques Used to Influence Prescribing."
   16         I could -- if you want to take the time, I          16         Do you see that?
   17   can look through and see.                                 17     A. Yes, I do.
   18      Q. No. That's okay. I -- does it -- is it              18     Q. And I think if you could just flip through
   19   your opinion, though, that knowledge of the price of      19   that section, it goes from Page 29 to 53, Page 53 of
   20   generics overrides the doctor's medical judgment in       20   your report. Can you confirm that for me?
   21   the exam room?                                            21     A. Yes, that's correct.
   22      A. No. I said it's an input. It doesn't                22     Q. Okay. And hopefully I can make this quick,
   23   override a medical judgment. If a patient needs a         23   but in this section, Pages 29 to 53, you identify
   24   medication, a doctor may look at five choices and         24   various forms of marketing techniques that you
   25   say, well, four of these are brand name products          25   believe are used to influence prescribing, right?

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    1     A. Yes.                                                1   you have an opinion that my client, McKesson,
    2     Q. And these various forms of marketing you            2   participated in any personal selling efforts, and --
    3   identify are specific to the manufacturing               3     A. I am --
    4   defendants as compared to the distributor                4     Q. -- if so, what's the basis of that?
    5   defendants, right?                                       5     A. Well, I'm --
    6         MR. CHALOS: Object to the form.                    6         MR. CHALOS: Hold on a second. Object to
    7     A. So the answer is, for the most part, these          7     the form of the question.
    8   methods, strategies, tactics, focused on marketing       8     A. I'm sure that McKesson engaged in personal
    9   to physicians and so forth are limited to the            9   selling, because your question is not very specific.
   10   manufacturers.                                          10   They have national account managers. They have
   11         However, there -- in some cases there is a        11   sales representatives that go out to pharmacies and
   12   role for wholesale distributors to help deliver         12   conduct a lot of activities on the part of McKesson.
   13   these in the marketplace, such as, for example,         13   Now, what are they selling? They're selling
   14   through continuing education programs that may be       14   McKesson's services, but that's not what you asked
   15   coordinated or sponsored by the wholesale               15   me, so --
   16   distributors.                                           16     Q. Do you have an opinion as to whether
   17         And as I mentioned earlier, there's a -- at       17   McKesson engaged in personal selling related to
   18   least a couple examples that are cited in the report    18   opioids, as discussed in your report on Pages 32 to
   19   that relate to distributors advancing information in    19   35?
   20   the marketplace that focused on the themes that the     20     A. So I don't know if McKesson specifically did
   21   manufacturers were perpetuating related to the use      21   that. I have not seen specific evidence regarding
   22   of opioids.                                             22   McKesson, that they communicated personal selling
   23     Q. Okay. So I'm going to have to ask you --           23   messages in the marketplace.
   24   and I apologize. This is tedious, but I want to         24     Q. And do you have an opinion as to whether
   25   make sure we understand exactly what relates to         25   McKesson released publications about the efficacy of

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    1   which defendant.                                         1   prescription opioids?
    2         Are you alleging or expressing an opinion --       2     A. I would need to look at the document
    3   we'll start with McKesson -- that McKesson used any      3   database and search through that to know
    4   of the various forms of marketing techniques used to     4   specifically if they distributed anything.
    5   influence prescribing identified in your report on       5         As I -- as I mentioned earlier, there were
    6   Pages 29 to 53?                                          6   some instances where manufacturers did use
    7      A. So my opinion is not formulated -- it will         7   wholesalers to distribute research to physicians or
    8   be the answer -- the same answer for all defendants      8   pharmacies. I don't -- I don't recall, as I sit
    9   you're going to ask me about.                            9   here right now, whether McKesson did that or not.
   10         I didn't formulate opinions about individual      10   I'd have to look to see if there is any
   11   defendants. I formulated opinions that are about        11   documentation.
   12   all of the defendants. And so to the extent that        12     Q. And where -- would you look in your report?
   13   any defendant engaged in one marketing activity,        13   I mean, that's what you were asked to --
   14   they were all part of the marketing process,            14     A. No. I would look at the document database
   15   integral to that supply chain.                          15   that contains all of the documents that I
   16         And the opinions are formed in the                16   considered, because I looked at, as I said, hundreds
   17   aggregate. They are not formed based on each            17   and hundreds of documents from distributors, and
   18   defendant. Even though I did look at the marketing      18   every document is not cited here in the report,
   19   documents from each defendant, I do not have            19   so --
   20   opinions about any defendant with specific focus on     20     Q. You're talking about you would look in your
   21   that defendant only.                                    21   list of materials considered that's attached to your
   22      Q. I guess I'm just confused about what your         22   report?
   23   opinion is with respect to my client, McKesson. And     23     A. It would further -- it would take more
   24   if we're talking about, for example -- and we can       24   review than that. It would require me to look into
   25   break one out -- personal selling in your report, do    25   the documents that I have categorized and placed in

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    1   the report that relate to those specific subjects.          1      Q. So you're not able to say what effect, if
    2         If there was a McKesson document that                 2   any, one defendant's -- one party's marketing
    3   related to personal selling, it would be -- it would        3   efforts had on the prescribing of opioids?
    4   be filed there, and I would be able to go find that         4          MR. CHALOS: Object to the form.
    5   document.                                                   5      A. It is my opinion that any one party impacted
    6     Q. And that's because it -- I guess I'm just              6   the marketing and that that marketing increased
    7   trying to understand what questions you were trying         7   access to opioids and utilization of opioids in the
    8   to answer in this report.                                   8   marketplace, because each of the defendants is part
    9         So it sounds like you don't know the answer           9   of that opinion in the aggregate.
   10   to the -- to my question because you weren't asked         10      Q. If we could look at Page 86 briefly, and
   11   to consider whether, for example, McKesson released        11   it's -- I want to direct your attention to Table II,
   12   publications about the efficacy of prescription            12   which is "Marketing Messages."
   13   opioids?                                                   13      A. Yes.
   14         MR. CHALOS: Object to the form of the                14      Q. What does this table show? I know we've
   15     question.                                                15   talked about it before, but I just want to go back
   16     A. So I don't think -- I don't think that I              16   to it quickly.
   17   don't know the answer because of that. I don't know        17      A. Table II is a summary of and examples of --
   18   the answer because I didn't know this was a memory         18   and not an exhaustive list, but a summary and a --
   19   test, and I was going to be required to memorize           19   representative examples of the marketing messages
   20   every document that I've seen here.                        20   focused on specific themes. And we talked about
   21         I've cited in my report documents that will          21   this table earlier. The contents of each section of
   22   demonstrate to you, for example, Footnote 150,             22   the table dictate the subject of the letter that
   23   that -- I believe it's Cardinal document -- that           23   entitled that table.
   24   talks about a CDC proposal where some things are           24      Q. Uh-huh. And the right-hand column is titled
   25   going to be distributed to pharmacies, I believe, or       25   "Defendant," right?
                                                      Page 243                                                            Page 245
    1   someone else.                                               1     A. Yes.
    2         And, again, without going back to -- and              2     Q. No documents produced by McKesson appear in
    3   having a computer and going back and looking for            3   Table II, right?
    4   specific documents, I can't answer that question            4     A. Well, I think I -- I don't need to
    5   because my analysis was not at that micro of a              5   necessarily look through. I don't -- I don't think
    6   level.                                                      6   there is anything, but I can't say that. At least
    7     Q. Do you intend to offer an opinion, if you're           7   with respect to the documents cited in Reference
    8   called to testify at trial, about whether McKesson          8   Number 150, the Fishman text that I believe was
    9   engaged in any of the marketing techniques described        9   distributed through a wholesaler, I guarantee that
   10   between Pages 29 and 53?                                   10   that Fishman text is cited in Table II.
   11         MR. CHALOS: Object to the form.                      11         And with respect to that -- and it's the
   12     A. I intend to offer the opinion that McKesson           12   same as with the distribution of a physical product.
   13   was part of the -- was integral to the marketing           13   The wholesalers were integral to the process of
   14   process, but I don't intend to offer specific              14   getting these products to market. They were
   15   opinions about McKesson at all.                            15   involved in the marketing process. They had
   16     Q. Okay. If you could turn to Page 86 --                 16   different messages, largely, than the messages that
   17   actually, sorry, just one second.                          17   were sent directly to physicians, but they had the
   18         Is the same true for Cardinal? You don't             18   capability certainly of communicating directly with
   19   intend to offer any opinions specific to Cardinal?         19   the physician as well.
   20         MR. CHALOS: Object to the form.                      20         And to the extent that each of the
   21     A. Yes. As I -- as I've said, I think, a few             21   defendants, McKesson, Cardinal, AmerisourceBergen,
   22   times today, I don't have opinions about specific          22   was involved and integral to the supply chain, they
   23   defendants. And my opinions are presented in the           23   are part of the opinions that I hold, but just to
   24   aggregate, because the marketing is completely             24   state it again clearly for you, I don't hold a
   25   intertwined, and it can't be separated out.                25   specific opinion about Cardinal, McKesson, or ABC,

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    1   and --                                                    1     A. I think so. I can't be 100 percent sure. I
    2     Q. Okay. And I just want an answer to my                2   looked at a lot of documents.
    3   question. There is no document cited by McKesson in       3     Q. If they're included in Schedule 10, it's
    4   Table II, right?                                          4   safe to assume you've reviewed these documents,
    5     A. As I said, there are documents in Table II           5   right?
    6   that were distributed by wholesalers, but I don't         6     A. It's safe to assume that I've reviewed the
    7   know specifically if there was one, McKesson. I           7   vast majority of those documents, but I can't
    8   can -- I can go through and look at each individual       8   testify, as I sit here today, I've seen each and
    9   entry. That would probably take some time, and I'm        9   every single document.
   10   happy to do that if you'd like.                          10     Q. Okay.
   11     Q. Okay. I'm going to represent that there's           11     A. I have no way to verify that.
   12   no documents produced by McKesson, Cardinal, or          12     Q. These documents weren't actually created by
   13   AmerisourceBergen in Table II. Do you have any           13   McKesson, correct?
   14   reason to disagree with me?                              14     A. That's my understanding with regard to this
   15     A. Only that I haven't had a opportunity to go         15   document.
   16   through.                                                 16     Q. Okay. It's true for both Exhibits 6 and 7,
   17     Q. Okay. Can we talk about Schedule 10? I              17   right?
   18   don't think we talked about that this morning. Do        18     A. This document I definitely recognize, and in
   19   you have the full schedule in front of you?              19   this form or something close to it. Yep.
   20     A. Yes. I don't have it here.                          20     Q. You would agree that neither Exhibit 6 nor
   21     Q. And I guess we should mark that as an               21   Exhibit 7 were created by McKesson?
   22   exhibit as well, because --                              22     A. As far as I know, they were -- they were not
   23     A. This is my copy.                                    23   created by McKesson.
   24     Q. Okay.                                               24     Q. So the only two documents in Schedule 10
   25     A. So --                                               25   that were produced by McKesson were not created by

                                                      Page 247                                                       Page 249
    1     Q. Okay. I'll mark mine.                                1 McKesson, right?
    2         (Perri Exhibit 5 was marked for                     2     A. It appears to be so, yes.
    3   identification.)                                          3     Q. Okay.
    4   BY MS. RODGERS:                                           4        MS. RODGERS: If we could take a quick
    5     Q. We'll mark it as Exhibit 5 for the report.           5     break. We've been going about an hour.
    6   What is Schedule 10?                                      6        THE VIDEOGRAPHER: We are now going off the
    7     A. So Schedule 10 is -- let me give you the             7     video record. The time is currently 4:26 p.m.
    8   official title: Marketing Messages.                       8     This is the end of Media Unit 5.
    9     Q. And what is it?                                      9       (Recess from 4:26 p.m. until 4:39 p.m.)
   10     A. It is a listing of all the documents that           10        THE VIDEOGRAPHER: We are now back on the
   11   were considered to contain marketing messages from       11     video record with the beginning of Media
   12   which I searched and looked at various documents to      12     Number 6. The time is currently 4:39 p.m.
   13   compile Table II that's included in my report.           13   BY MS. RODGERS:
   14     Q. Okay. There are two documents that were             14     Q. Because of where wholesale distributors sit
   15   produced by McKesson that appear in this table. I'm      15   in that supply chain, their customers are typically
   16   just going to mark them as Exhibits 6 and 7.             16   pharmacies, right?
   17         (Perri Exhibit 6 was marked for                    17     A. No, I don't think I agree with that
   18   identification.)                                         18   completely. I think there are some other
   19         (Perri Exhibit 7 was marked for                    19   circumstances that would -- that they have other
   20   identification.)                                         20   customers in the supply chain as well.
   21   BY MS. RODGERS:                                          21     Q. They also include hospitals?
   22     Q. So Exhibit 6 is MCKMDL00578003, and                 22     A. Hospitals, pharmaceutical manufacturers.
   23   Exhibit 7 is MCKMDL00577963.                             23     Q. VA centers?
   24         You've seen these documents before, I take         24     A. Yes. I -- yes.
   25   it?                                                      25     Q. Okay. And when wholesale distributors are

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    1   providing information to other entities, it's to          1   on regarding the quality of opioids?
    2   their customers, right, to these pharmacies and           2         MR. CHALOS: Object to the form.
    3   hospitals and VA centers and manufacturers?               3     A. Yeah. I didn't -- I didn't do that
    4     A. The information and data and the revenue             4   assessment or make that -- include that in the
    5   flows that are -- that they service, those would be       5   analysis.
    6   customer relationships to a degree, yes.                  6     Q. You have no opinion about whether there was
    7     Q. Okay. And I think you testified earlier              7   anything false or misleading about information
    8   that the information that wholesale distributors          8   related to the availability of opioids that the
    9   passed along related to opioids was generally             9   wholesale distributors passed on to the pharmacies?
   10   limited to price, quality, drug availability, and        10         MR. CHALOS: Object to the form.
   11   service, right?                                          11     A. In terms of availability, you know, there
   12     A. The majority of the documents that I saw            12   were -- there were specific marketing messages that
   13   focused on those issues, of price, quality,              13   focused on availability, especially new strengths
   14   availability, yes.                                       14   and so forth, but I didn't make any assessment of
   15     Q. And when you use the term "quality," what do        15   whether there was any truthfulness to that. I don't
   16   you mean by that?                                        16   have any reason to have an opinion, really, on that.
   17     A. In -- in pharmacyspeak, the issue of quality        17     Q. And you don't have an opinion about whether
   18   is related to -- you know, when you buy a generic,       18   the distributors' provision of information to
   19   you don't want to run into the situation where, when     19   pharmacies regarding the service that they could
   20   you take the product off the shelf, you open it up,      20   provide was false or misleading?
   21   and there is a bottle full of cracked tablets or         21     A. Again, I didn't make that assessment, no.
   22   powder.                                                  22     Q. Okay. And all of this information that
   23         You want to make sure that the generic             23   we've been talking about, the price, quality, drug
   24   products that you're ordering are of sufficient          24   availability, and service, that information was
   25   quality. And to a degree, you know, we rely on the       25   directed from the wholesale distributors to its
                                                     Page 251                                                     Page 253
    1   wholesaler to select generics that are good quality       1   customers, the pharmacies, the VA centers, the
    2   and to provide them as good prices.                       2   hospitals, right?
    3     Q. Okay. So you're not using quality here to            3         MR. CHALOS: Object to the form.
    4   mean product efficacy?                                    4     A. So the information that they communicated
    5     A. Not in this context.                                 5   was primarily directed to those customers, yes.
    6     Q. Okay. Would you agree that there was                 6     Q. And it's the doctors and the prescribers
    7   nothing false or misleading about information that        7   that are writing the prescriptions, right?
    8   the distributors passed on to pharmacies regarding        8         MR. CHALOS: Object to the form.
    9   the price of opioids?                                     9     A. Yeah. I think it's well-understood that
   10         MR. CHALOS: Object to the form.                    10   there are many influences on prescribing. We've
   11     A. And as we discussed earlier today, you know,        11   talked about a lot of these here today, but the
   12   I didn't make any assessments of the truthfulness or     12   prescriber is the person or entity responsible for
   13   lack of truthfulness of the information that was         13   generating the patient's prescription.
   14   communicated. I -- yeah.                                 14     Q. The information that we've been talking
   15     Q. So it's not your opinion that there was             15   about, what the distributors share with pharmacies
   16   anything false or misleading about the wholesale         16   regarding price, quality, availability, service, you
   17   distributors passing along information about the         17   refer for all of that information as marketing by
   18   price of opioids?                                        18   the distributors, right, in your report?
   19     A. Yeah. I don't have --                               19     A. Yes, I do. That is all marketing
   20         MR. CHALOS: Hang on a second.                      20   information, yes.
   21         Object to the form.                                21     Q. If you look at Footnote 193 of your report.
   22     A. I don't have an opinion one way or the other        22         MR. CHALOS: Which page is that?
   23   about that, the pricing.                                 23         MS. RODGERS: It's Page 61.
   24     Q. Okay. And the same is true about any                24     A. Okay.
   25   information that the wholesale distributors passed       25         (Perri Exhibit 8 was marked for

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    1 identification.)                                          1   pharmacies with a purchase history of one brand of
    2 BY MS. RODGERS:                                           2   hydrocodone that they could save if they purchased
    3    Q. You cite a document I want to go ahead and          3   another brand of that drug, right?
    4 mark as Exhibit 8. It's MCKMDL00546914.                   4         MR. CHALOS: Object to the form. You're
    5     A. I'm going to need to get longer arms.              5     asking him to interpret a document from your
    6     Q. I know, sorry. This table is enormous.             6     client. I'm not sure that's an appropriate
    7        MR. CHALOS: Exhibit 8, you said?                   7     question, so I object -- object to the form of
    8        MS. RODGERS: Yes, I believe it's Exhibit 8.        8     that and --
    9     Q. And I want to direct your attention to the         9         MS. RODGERS: I don't think speaking
   10   e-mail thread that you're actually quoting from in     10     objections are allowed. I think it's object --
   11   Footnote 193 of your report.                           11         MR. CHALOS: I understand. I'm trying to
   12     A. Uh-huh.                                           12     help you by giving you the basis for my
   13     Q. And that first sentence of the longer             13     objection.
   14   paragraph says: Inform ISMC customers with purchase    14         MS. RODGERS: Sounds like you're coaching
   15   history of Watson hydrocodone of the savings of        15     you witness. I appreciate just --
   16   Mallinckrodt hydrocodone.                              16         MR. CHALOS: No.
   17        Do you see that?                                  17         MS. RODGERS: -- object to the form.
   18     A. Yes.                                              18         MR. CHALOS: I appreciate your thoughts on
   19     Q. And that's an example of McKesson providing       19     that, but I'm entitled to make an objection, and
   20   information about the price of hydrocodone to its      20     I think probably under the rules I've got an
   21   pharmacy customers, right?                             21     obligation to give you the basis of the
   22     A. Essentially, it is. It -- you know, there's       22     objection, which is what I was doing, and giving
   23   other -- that sentence has other things to it that     23     you an opportunity to fix your question so that
   24   have marketing perspective, but I would agree it       24     it may be allowed at trial.
   25   does -- it doesn't mention price, but it does          25   BY MS. RODGERS:
                                                  Page 255                                                     Page 257
    1   mention potential savings.                              1      Q. Can you answer my question?
    2     Q. And you understand that to mean cost               2      A. If you can repeat it, I'll do my very best
    3   savings?                                                3   to answer it.
    4     A. It could be cost savings and probably is,          4      Q. Sure.
    5   but it just says savings. It --                         5         MS. RODGERS: Can you read it back?
    6     Q. In fact, in your footnote, you said "with a        6         THE COURT REPORTER: I hope so: So McKesson
    7   primary focus on pricing" when you're referring to      7      was informing pharmacies with a purchase --
    8   this e-mail?                                            8         MS. RODGERS: I can do it.
    9     A. Right. The --                                      9         THE COURT REPORTER: Yes, please do.
   10         MR. CHALOS: Hold on.                             10      Q. So McKesson was informing pharmacies with a
   11         Object to the form. Is that a question?          11   purchase history of Watson hydrocodone that they
   12         MS. RODGERS: Yes.                                12   could save if they purchased another brand of
   13         MR. CHALOS: What's your question?                13   hydrocodone from Mallinckrodt, correct?
   14     Q. In your footnote, you refer to this e-mail        14         MR. CHALOS: Same objections as I lodged to
   15   as having a primary focus on pricing, right?           15      the previous iteration of the same question.
   16     A. Yes. The --                                       16      A. This document does include that, but it does
   17         MR. CHALOS: Hang on.                             17   have other information included in it. For example,
   18         Object to the form of that question.             18   it says in this paragraph: Combine campaign message
   19         THE WITNESS: Okay.                               19   with industry news regarding FDA recommendation on
   20         MR. CHALOS: Sorry.                               20   high dosage acetaminophen combination drugs.
   21     A. Yes. The overall -- the overall history --        21         But it seems to me that the -- based on my
   22   the overall theme of this, I believe, is focusing on   22   interpretation of this document, that the main issue
   23   price, if you read the balance of the -- of the        23   that would be of interest to a customer pharmacist
   24   e-mail exchange.                                       24   in this case would be -- would be the price
   25     Q. Uh-huh. So McKesson was informing                 25   differential.

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    1         And there are other marketing implications              1   my review of the documents, that the agreements
    2   in this document as well, because they're obviously           2   usually specify a percentage that they need to buy
    3   seeking to gain information from the customers and            3   from to be a -- participating in those kinds of
    4   obviously making it clear that they're promoting the          4   programs, and the pharmacies try to buy as much as
    5   use of hydrocodone.                                           5   they can from those programs.
    6     Q. Okay. And you said the main issue of                     6     Q. Okay. It's also a way for McKesson to
    7   interest in this e-mail would be the price                    7   provide information about price and product
    8   differential. You mean the price differential                 8   availability to its customers or pharmacies, right?
    9   between Watson hydrocodone and Mallinckrodt                   9         MR. CHALOS: Object to the form.
   10   hydrocodone, right?                                          10     A. So in addition to what -- what you said, it
   11         MR. CHALOS: Object to the form.                        11   also gives McKesson the ability to, you know, focus
   12     A. So the e-mail is not 100 percent clear on               12   market share on specific manufacturer's products,
   13   that, but it says: There were supplier-initiated             13   yes.
   14   price increases of 10 to 30 percent on the Watson            14     Q. Okay. If you look at Paragraph 99 of your
   15   product on a -- on top of an already higher                  15   report.
   16   priced -- so I assume that they are focusing on              16     A. Okay.
   17   price.                                                       17     Q. So right after the sentence about "primary
   18     Q. Between two different brands of hydrocodone?            18   messages in relation to wholesale distributors are
   19         MR. CHALOS: Object to the form.                        19   expected to be focused on price, quality, drug
   20     A. Let me check something.                                 20   availability, and service," and we talked about
   21         Okay. Yes, I believe that's the answer,                21   that -- you have another sentence that says:
   22   primarily comparing Watson to Mallinckrodt.                  22   "However, pharmacists that dispense prescriptions
   23     Q. It's not McKesson trying to convert a drug              23   may also receive promotional messages focused on
   24   like a cholesterol medication to opioid, right?              24   drug features and benefits, similar to prescribers."
   25         MR. CHALOS: Objection to the form.                     25         Do you see that?
                                                          Page 259                                                    Page 261
    1         And you're asking him to interpret a                    1     A. Yes.
    2     document, so I think it's an improper question.             2     Q. If you look at Paragraph -- sorry,
    3         MS. RODGERS: Again, I think, under the CMO,             3   Footnote 194, you cite a Purdue document in support
    4     you're limited to objection to form.                        4   of that conclusion, right?
    5     A. Yeah, I don't -- I don't see anywhere in                 5     A. I do.
    6   this document that -- that they are trying to                 6     Q. Have you seen any evidence that wholesale
    7   convert somebody from a statin -- I think is what             7   distributors provided pharmacists with "promotional
    8   you said?                                                     8   messages that focused on drug features and
    9     Q. Cholesterol medication.                                  9   benefits"?
   10     A. -- a cholesterol medication to an opioid,               10     A. So as I understand it, this document was
   11   but as I said, there are other -- there are other            11   distributed to pharmacists through the wholesalers.
   12   marketing themes that are contained in this -- in            12     Q. And this document is a "Purdue sponsored
   13   this document.                                               13   counseling guide for pharmacists," right?
   14     Q. I want to look at Footnote 198 of your                  14     A. Yes. Let me read this first before I -- I
   15   report. And in that footnote, you refer to                   15   take back the yes. I need to read this and make
   16   McKesson's OneStop Generics and SynerGx programs,            16   sure --
   17   right?                                                       17         MR. CHALOS: Do you have that document,
   18     A. Yes.                                                    18     Counsel, to show him?
   19     Q. And those programs are designed to allow                19         MS. RODGERS: I do not. It's his citation
   20   pharmacies to order generics from one distributor,           20     here.
   21   right?                                                       21     A. So, as I recall, this document was
   22     A. Those programs, as I understand them, that's            22   distributed through wholesalers or with the
   23   what they are designed to do, yes --                         23   assistance of the wholesalers.
   24     Q. Okay.                                                   24     Q. This document was written by Purdue,
   25     A. -- or -- or primarily from one. I think, in             25   correct?

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    1     A. This was a document that was a counseling             1   However, the wholesale distributors did have a role
    2   guide. And again, I don't have the document in             2   in distributing some of these messages.
    3   front of me, and I don't have a perfect memory. So         3     Q. Okay. Let's take that -- I want to take
    4   this document was written by a person that was             4   this in two steps, then.
    5   sponsored by Purdue, if I recall the document              5         You agree, then, that the distributors
    6   correctly as I sit here.                                   6   didn't create the marketing message that
    7     Q. Okay. And do you have any other basis for             7   "Dependence, tolerance, addiction, and withdrawal
    8   an opinion that wholesale distributors are                 8   should not be a concern in prescribing opioids"?
    9   advertising drug features and benefits to                  9     A. Yes, I agree with that.
   10   pharmacists?                                              10     Q. And the market -- the wholesale distributors
   11     A. I know there are other examples that I've            11   did not create the marketing message that "Opioids
   12   seen where mailings that went out to pharmacists          12   are effective for, and approve functioning in,
   13   required the inclusion of a package insert, which         13   patients taking them for long-term and chronic use"?
   14   indicates that the name of the medication and its         14     A. So these messages were initiated by the
   15   indications would have been mentioned at the same         15   manufacturers.
   16   time, which would qualify into your question.             16     Q. Okay. And one more: The distributors did
   17     Q. Those are the package inserts that I think           17   not create the message that "Opioids should be the
   18   you said doctors don't look at --                         18   first-line therapy for pain," correct?
   19     A. I -- I --                                            19     A. Same answer, yeah.
   20     Q. -- and patients don't look at.                       20     Q. Okay. Now, you used the term "utilized" in
   21     A. Yes.                                                 21   Paragraph 134 when you are introducing these
   22         MR. CHALOS: Object to the -- object to the          22   marketing messages, right?
   23     form of the question.                                   23     A. Yes.
   24     A. Yeah. So the package inserts would be the            24     Q. What do you mean by utilized?
   25   same that I referred to prior to now in this              25     A. Defendants communicated specific marketing

                                                       Page 263                                                       Page 265
    1   testimony.                                                 1   messages to customers to accomplish the goals of
    2     Q. Okay. And the package inserts are also                2   increasing awareness.
    3   written by the manufacturers, correct?                     3     Q. Okay. So is it your opinion that the
    4     A. Yes, they are.                                        4   wholesale distributors communicated this first
    5     Q. Okay. On Page 81 of your report, you                  5   marketing message to customers?
    6   identify three marketing themes, correct?                  6         And I assume we're talking about customers
    7     A. Yes.                                                  7   in the little "c" sense.
    8     Q. And the first theme you identify is that              8         MR. CHALOS: Object to the form.
    9   "Dependence, tolerance, addiction, and withdrawal          9     A. So I think, as I've said on a number of
   10   should not be a concern in prescribing opioids."          10   answers to your questions here, that the majority of
   11         Would you agree that wholesale distributors         11   the messages did focus on the pricing issues and
   12   did not utilize that marketing message?                   12   related details, but some of the messages did focus
   13         MR. CHALOS: Object to the form.                     13   on these three themes.
   14     A. So I need to ask you to clarify your                 14         For example, when we were looking at the
   15   question for me, if you can.                              15   last footnote -- I forget which number we were
   16         The question, as I understand it, is asking         16   looking at, but that was a Purdue document that was
   17   me, did the wholesalers seek to promote opioids with      17   created for pharmacists. It was distributed through
   18   these marketing messages.                                 18   the wholesalers, and it contained many of these same
   19         Is that what you're asking me?                      19   themes.
   20     Q. I'm asking: Did the wholesale distributors           20         The Fishman book that was distributed
   21   make the first marketing message?                         21   through the wholesalers contained many of these same
   22     A. So you -- you -- I'm sorry. Again, I need            22   themes. So the wholesalers did participate in
   23   to clarify because you're asking, did they make it.       23   distributing some of these messages, even if they
   24         No, I think it's pretty obvious that the            24   didn't create them. They facilitated it in the
   25   manufacturers created the marketing messages.             25   marketplace the same way they facilitate the

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    1   physical distribution of the drugs.                        1     Q. Yes.
    2     Q. Let's look at a document I'm going to mark            2     A. Okay.
    3   as Exhibit 9.                                              3     Q. So the e-mail does not say that McKesson
    4        (Perri Exhibit 9 was marked for                       4   distributed the Fishman text, right?
    5   identification.)                                           5     A. It does not say specifically that McKesson
    6        MR. CHALOS: Is there an Exhibit 5?                    6   distributed the text.
    7        MS. RODGERS: It's Schedule 10 --                      7     Q. And it doesn't say that Cardinal distributed
    8        MR. CHALOS: Oh, I see it.                             8   the Fishman text either, does it?
    9        MS. RODGERS: -- of his report.                        9     A. It simply says that there is interest in
   10        MR. CHALOS: Do you have another copy of              10   distribution of the text.
   11     that?                                                   11     Q. Okay. And it doesn't even say that McKesson
   12        MS. RODGERS: I do not. I thought we were             12   is interested in distributing the text, does it?
   13     going to mark his whole report as one exhibit.          13         MR. CHALOS: Object to the form.
   14   BY MS. RODGERS:                                           14     A. It seems to me that the subject of the
   15     Q. Exhibit 9 bears Bates PPLP004086826.                 15   e-mail is McKesson and Cardinal, but it doesn't say
   16        And you've seen this document before, right?         16   specifically in those words that McKesson is
   17     A. Yep. Yes, I have.                                    17   interested in distributing the text.
   18     Q. This is about the Fishman text that you have         18     Q. They are listed as examples of what the
   19   referred to several times --                              19   membership includes, of who the members are, right?
   20     A. Yes.                                                 20         MR. CHALOS: Object to the form; calls for
   21     Q. -- in the last hour?                                 21     speculation.
   22     A. Yes.                                                 22     A. It's unclear who the -- who the membership
   23     Q. And you actually cited this document on              23   is but it -- from the e-mail, it appears to be at
   24   Page 153 of your report in Footnote 371, Page 153.        24   least focused on McKesson and Cardinal.
   25        If you look at the text of this e-mail, it           25     Q. I just want to be clear -- I'm not sure what

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    1   reads: "Kelly (whose email address I do not have)          1   you mean by "focused on."
    2   from your organization mentioned on today's PCF call       2         McKesson and Cardinal are identified as
    3   that the FSMB is looking for support to help               3   members of an organization, right?
    4   publish/distribute the 'Responsible Opioid                 4         MR. CHALOS: Objection; argumentative.
    5   Prescribing' book."                                        5         He's answered your question.
    6         And that's the Fishman book that you've              6     Q. Let me ask this a different way.
    7   referred to several times today, right?                    7         You testified that this e-mail doesn't say
    8     A. Yes.                                                  8   that McKesson distributed the Fishman text, right?
    9     Q. "I mentioned that there may be some interest          9         MR. CHALOS: Object to the form.
   10   among my membership to consider supporting. We            10     A. So this e-mail does not say that McKesson
   11   represent pharmaceutical wholesale distributors such      11   distributed the Fishman text.
   12   as McKesson and Cardinal Health."                         12     Q. Did you do anything to inquire whether any
   13         Did I read that correctly?                          13   of the distributors in this case were actually
   14     A. Yes.                                                 14   involved in the distribution of the Fishman text?
   15     Q. Now, this e-mail doesn't actually say that           15     A. Yes. I did see other documents, and I'm at
   16   McKesson distributed the Fishman text, right?             16   a disadvantage here because I don't have the other
   17     A. This e-mail in particular does not. It               17   citations in -- that reference 371 to determine if
   18   expresses an interest in doing so.                        18   those are actually the documents that led to that
   19     Q. It doesn't even say that McKesson expresses          19   conclusion in combination with this e-mail.
   20   an interest in distributing the Fish- -- Fishman          20     Q. And you've seen no evidence that McKesson
   21   text, does it?                                            21   distributed the Fishman text, right?
   22     A. I'm sorry, I --                                      22         MR. CHALOS: Object to the form.
   23         MR. CHALOS: Object to the form.                     23     A. So that's not what I said. I said I'm at a
   24     A. Yeah, I may have misheard you.                       24   disadvantage because I don't have the other
   25         Was your question specific to McKesson?             25   references. You've shown me only one of three

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    1   documents that I cite in this footnote, and without          1         Object to the form.
    2   seeing all three documents, I can't have a                   2     A. Are you saying that in marketing in general
    3   conclusion about that.                                       3   that TV stations contribute to the communication of
    4     Q. Aside from the three documents identified in            4   messages in the marketplace for products in generic
    5   this footnote, did you look anywhere else to see if          5   form, for any kind of product?
    6   any of the distributors might have been involved in          6     Q. I'm saying you've testified that wholesale
    7   distribution of the Fishman text?                            7   distributors contributed to the marketing message by
    8     A. The only thing I would have had to go on                8   passing it on from time to time, right?
    9   would have been any other documents that were in the         9         MR. CHALOS: Object to the form;
   10   database that were identified as being from the             10     mischaracterizes testimony.
   11   distributors.                                               11     A. I thought the question was about TV
   12     Q. Uh-huh.                                                12   stations.
   13     A. So again, without -- without my document               13     Q. Yes.
   14   database to look at, I can't tell you that I saw            14     A. Okay.
   15   other documents.                                            15     Q. We're -- we're getting -- we're taking the
   16         I know that I came to the conclusion that             16   steps there.
   17   this Fishman text was distributed through the               17     A. Okay.
   18   wholesalers, and I wouldn't have just invented that.        18     Q. You testified to that, correct?
   19   So my belief is, is that either one of these                19         MR. CHALOS: Object to the form; misstates
   20   documents, an e-mail or a cover page to one of these        20     his testimony.
   21   other documents was responsible for providing that          21     A. So I -- to reiterate my opinion about
   22   belief.                                                     22   defendants, is that it is an aggregate opinion based
   23         And certainly, even the document that you've          23   on the marketing being intertwined and basically
   24   pointed out on a couple of occasions doesn't say            24   inseparable because the manufacturers would have had
   25   McKesson distributed. It certainly leads you to             25   a very -- very difficult time creating the

                                                     Page 271                                                            Page 273
    1   believe McKesson had an interest in it.                      1   distribution of the product in the marketplace
    2     Q. It doesn't say that, though?                            2   without the distributors.
    3         MR. CHALOS: Object to the form.                        3         So my opinion isn't just that -- as you
    4     A. I think I've answered that already.                     4   mentioned, my opinion is, is that working together,
    5     Q. You said it leads you to believe. You're                5   the wholesale distributors, the pharmaceutical
    6   inferring that from the document, right?                     6   manufacturers and marketers, communicated these
    7         MR. CHALOS: Object to the form;                        7   marketing messages, delivered the product to the
    8     argumentative.                                             8   marketplace. And you can't look at any one behavior
    9     A. Yes, you're right.                                      9   by itself, it's all integrated into the marketing
   10     Q. Okay. I want to turn back just for a minute            10   process.
   11   to those three marketing themes we talked about, and        11     Q. Okay, but I -- now you're mixing two
   12   I believe you testified that the wholesale                  12   concepts, and I want to take them independently.
   13   distributors didn't create those marketing themes           13         I understand --
   14   but they may have passed that information on from           14         MR. CHALOS: Object to the form. Oh, I'm
   15   time to time in rare circumstances, right?                  15     sorry.
   16         MR. CHALOS: Objection to form.                        16     Q. -- that the wholesale distributors delivered
   17     A. Yes, I think I generally agree with that.              17   product to their customers, the pharmacies.
   18     Q. And based on that reasoning, television                18         What I'm talking now about are these three
   19   stations also contributed to the marketing, right?          19   marketing messages that you've identified in your
   20         MR. CHALOS: Object to the form.                       20   report.
   21     A. I'm not following your reasoning there.                21     A. Okay.
   22     Q. Well, television stations pass on marketing            22     Q. In your opinion, did the wholesale
   23   created by manufacturers, right?                            23   distributors utilize those marketing messages?
   24     A. So you're saying in general --                         24         MR. CHALOS: Object to the form. Object to
   25         MR. CHALOS: Hang on one second.                       25     the preamble.

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    1     A. So when you had me define "utilize" for you            1         MR. CHALOS: Objection; incomplete
    2   earlier, I used the word "communicate."                     2     hypothetical.
    3     Q. Uh-huh.                                                3     A. And to the extent that a wholesaler would
    4     A. So the answer is yes.                                  4   distribute information about a drug regardless of
    5     Q. And based on that reasoning, television                5   what category that drug is in, they would be
    6   stations also communicated the marketing messages of        6   integral to that distribution process as part of the
    7   manufacturers here, right?                                  7   marketing.
    8         MR. CHALOS: Object to the form.                       8     Q. Okay. You can't identify any specific
    9     A. So are we talking about opioids, or are we             9   distribution of prescription opioids that was caused
   10   talking about -- what are we talking about                 10   by these three marketing messages you've laid out in
   11   television stations?                                       11   your report, right?
   12     Q. First let's talk about it generally.                  12     A. I think my opinion on that, as we've talked
   13         Television stations communicate marketing            13   about earlier today before you began questioning, is
   14   messages of manufacturers, right?                          14   that the analysis was not done at the individual
   15         MR. CHALOS: Object to the form.                      15   prescription level but it was done at the -- at the
   16     A. To the extent that the manufacturer uses TV           16   market level, which I think absolutely all of the
   17   advertising, they would be communicating a marketing       17   marketing related to these products contributed to
   18   message, yes.                                              18   the utilization of opioids and expansion of the
   19     Q. And the same is true of radio?                        19   marketplace, in addition to creation of market share
   20         MR. CHALOS: Object to the form.                      20   for specific companies.
   21     A. Radio communicates marketing messages as              21     Q. Okay. And I think -- I think you're talking
   22   well.                                                      22   about prescribing, and I'm talking about -- my
   23     Q. And magazines, advertisements?                        23   question is a little bit different right now.
   24     A. Yes.                                                  24         So my question is: You can't identify any
   25         MR. CHALOS: Object to the form.                      25   specific distribution of prescription opioids caused

                                                        Page 275                                                        Page 277
    1     A. That would be true as well.                            1   by the three marketing themes you've identified in
    2     Q. And the Internet also communicates messages            2   your report?
    3   from manufacturers?                                         3         MR. CHALOS: Object to the form.
    4         MR. CHALOS: Object to the form.                       4     A. So, no, I have to disagree with that, and
    5     A. Yes.                                                   5   the primary reason is because the distribution is a
    6     Q. So all of these different aspects --                   6   function of the marketing. If there were no
    7   television stations, radio, magazines, Internet --          7   marketing and there was no creation of demand, there
    8   they are all carrying and communicating manufacturer        8   would be no need for distribution. So any
    9   messages, correct?                                          9   distribution that occurred is a direct result of the
   10         MR. CHALOS: Object to the form; incomplete           10   marketing.
   11     hypothetical.                                            11     Q. So it's your testimony that every
   12     A. So to the extent that -- you know, in                 12   distribution of prescription opioids was a result of
   13   your -- in your example where we're talking about a        13   the three marketing themes that you are identifying
   14   generic -- sorry. I shouldn't use the word                 14   on Page 81 of your report?
   15   "generic," because it has too much overlap here, but       15         MR. CHALOS: Object to the form; misstates
   16   we're talking about a random product that's being          16     his testimony.
   17   marketed through lots of different mechanisms, and         17     A. What page are you looking at?
   18   so each -- each of the people -- each of the               18     Q. Page 81.
   19   entities or stakeholders involved in that are part         19     A. I just need to have them in front of me. So
   20   of the marketing process, and that's -- that's -- I        20   the -- these three marketing themes were intended to
   21   think that should be clear in the same way that the        21   summarize the core messages around the opioid
   22   wholesale distributors are part of the marketing           22   marketing. They contain -- each of them contains
   23   process for opioids.                                       23   numerous specific messages, and it is my opinion
   24     Q. Right. It's true for, again, birth control            24   that these themes and the messages contained therein
   25   the same way it's true for prescription opioids?           25   were integral to pharmaceutical marketers' ability

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    1   to expand demand for opioids in the marketplace.            1         MR. CHALOS: Object to the form; asked and
    2        Part of that, being able to expand demand,             2     answered.
    3   depended on wholesale distributors' ability to get          3     A. I said my complete answer had -- that I did
    4   the product to market and create the access that's          4   not track, I did not analyze, but there was more to
    5   needed, which we talked about at length earlier.            5   my answer than that, which I would be happy to
    6     Q. I think that's still not quite an answer to            6   restate for you.
    7   my question. I'm asking whether you can identify            7     Q. I think you answered my question.
    8   specific distribution -- so, say, a specific                8     A. Okay.
    9   shipment -- from McKesson or Cardinal or                    9     Q. And similarly, you didn't analyze -- do a
   10   AmerisourceBergen that was caused by these three           10   quantitative analysis of what percentage of
   11   marketing messages?                                        11   distributions by McKesson, AmerisourceBergen, or
   12        MR. CHALOS: Object to the form.                       12   Cardinal were caused by these marketing messages?
   13     A. So in my analysis, the -- you know, you've            13     A. Yeah, I think my opinion is, is that the
   14   heard me say a couple of times today that marketing        14   vast majority of the opioid utilization was caused
   15   works, and I think that that's a generally accepted        15   by the marketing messages.
   16   concept. We certainly see that the manufacturers           16     Q. Okay. Can you quantify "vast majority"?
   17   have a primary role in the creation of these               17     A. No, I can't.
   18   marketing messages, the distributors had a role in         18     Q. What does that --
   19   the distribution of the products.                          19     A. I can't quantify that.
   20        Can I point to a bottle of pills that came            20     Q. -- what does that mean to you?
   21   from a manufacturing facility that ended up in a           21     A. The vast majority.
   22   Cardinal or McKesson or AmeriSource distribution           22     Q. Explain it to me.
   23   center and then ended up in Ohio and say that that         23     A. Your question is asking me to say something
   24   bottle of pills was directly related to the                24   that just doesn't make any sense to me from a
   25   marketing? I mean, that -- that's an analogy or a          25   marketing perspective. Your implication is, is that
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    1   connection that I've not really considered having to        1   they did all of this marketing, they spent all this
    2   make because the marketing, we saw, increased the           2   money, they did all these things to promote the use
    3   utilization of opioids dramatically from 1995 and           3   of opioids; and not in one instance did any of those
    4   beyond.                                                     4   activities result in the sales of a product in Ohio.
    5         So the question that I think you're asking            5     Q. I'm asking you to quantify the effect of
    6   me is was the marketing completely ineffective and          6   that.
    7   none of the marketing messages that were                    7     A. The vast majority.
    8   disseminated in the marketplace had anything to do          8     Q. And you don't intend to offer any opinion
    9   with anybody buying opioids, and I just can't make          9   about the quantity of distributions that were caused
   10   that connection. It's just too clear that the              10   by these three marketing themes?
   11   marketing had a significant impact on the                  11     A. I can't quantify it for you, no.
   12   utilization of these products.                             12     Q. Okay. It can't be quantified?
   13     Q. So I think you answered, in that long                 13         MR. CHALOS: I object to the form.
   14   response to my question, which was: You didn't             14     A. I don't know if it can be quantified or not.
   15   analyze whether any specific shipment of opioids,          15   You're asking me to draw a conclusion that I don't
   16   prescription opioids from Cardinal,                        16   have the information in front of me to make.
   17   AmerisourceBergen, or McKesson was caused by these         17         I know that if you look at the other expert
   18   three marketing messages?                                  18   reports, the Rosenthal regression clearly draws
   19         MR. CHALOS: Object to the form.                      19   connections between the marketing expenditures and
   20     A. Yeah, and I think I also said that the --             20   sales of products. I'm sure that there's some way
   21     Q. First, can you answer that question?                  21   to -- and I have -- I have documents in the
   22         You didn't analyze whether any specific              22   schedules with the overall sales. I'm sure there is
   23   shipment of opioids from Cardinal,                         23   a way to break that down for the state of Ohio, so
   24   AmerisourceBergen, or McKesson was caused by these         24   we can make that connection if it has to be made.
   25   three marketing messages?                                  25         But again, your whole -- your whole

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    1 hypothetical just seems -- I'm sorry, I don't mean            1   patient or -- I don't -- I guess --
    2 to offend you, but it seems ridiculous to me to not           2     Q. What is the purpose of those trainings?
    3 understand that the marketing is impacting the sales          3     A. So that pharmacists can identify patients
    4 of opioids.                                                   4   whose alcohol consumption or drug consumption could
    5    Q. Okay. And you testified you can't quantify              5   present them with a risk when it comes to the
    6 that for me, and you have no opinion on the exact             6   medications that they take for legitimate health
    7 percentage of distributions here that were caused by          7   concerns. So it might be a patient that has a
    8 these marketing themes, right?                                8   higher risk of addiction, higher risk of substance
    9    A. I said I didn't do --                                   9   abuse of some sort.
   10        MR. CHALOS: Hold on.                                  10     Q. And is the point of that so that pharmacists
   11    A. -- the analysis.                                       11   can determine whether to fill a prescription or not
   12        MR. CHALOS: Objection. His testimony is               12   for a particular patient?
   13    what it is. I don't know why you're summarizing           13     A. No, it's not the patient engaged in
   14    it and putting it in his mouth.                           14   behaviors on their own that would be constructive to
   15        So it's an improper question. I object to             15   their healthcare.
   16    the form; I object to the foundation; I object to         16     Q. Can you repeat that one more time?
   17    mischaracterizing his testimony. His testimony            17     A. Yeah. It's to identify patients who are at
   18    is what it is.                                            18   risk --
   19        MS. RODGERS: Can I have the next exhibit              19     Q. Uh-huh.
   20    sticker?                                                  20     A. -- so that the pharmacist can encourage
   21        THE WITNESS: Can we take a quick break?               21   those patients to engage in more healthy behaviors.
   22        MS. RODGERS: Sure.                                    22     Q. Okay. Does that training affect whether or
   23        THE VIDEOGRAPHER: We are now going off the            23   not a pharmacist should fill a prescription for a
   24    video record. The time is currently 5:22 p.m.             24   patient?
   25        (Recess from 5:22 p.m. until 5:37?p.m.)               25         MR. CHALOS: Object to the form.

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    1         THE VIDEOGRAPHER: We are now back on the              1     A. The SBIRT method does not impact the filling
    2     video record. The time is currently 5:37 p.m.             2   of a prescription, no.
    3   BY MS. RODGERS:                                             3     Q. Okay. Now, at the outset of this, when I
    4     Q. Dr. Perri, you've spearheaded a training               4   asked you questions, we looked at a passage in your
    5   initiative that prepares pharmacists to recognize           5   book. And I believe you testified that pain
    6   patients with opioid abuse problems, right?                 6   medication is a vital medication, right?
    7     A. If you're referring to the SBIRT grant that            7         MR. CHALOS: Object to the form.
    8   I was the coinvestigator on, yes.                           8     A. I don't -- I don't remember exactly what I
    9     Q. Okay. And SBIRT stands for Screening, Brief            9   said. Do you have that --
   10   Intervention, Referral, and Treatment, right?              10     Q. Would you agree that pain medication is a
   11     A. Yes, it does.                                         11   vital medication?
   12     Q. In those trainings, do you identify factors           12     A. In the --
   13   that pharmacists should consider in deciding whether       13         MR. CHALOS: Object to the form; incomplete
   14   to prescribe or dispense opioids to a given patient?       14     hypothetical.
   15         MR. CHALOS: Object to the form.                      15     A. In appropriate patients, yes.
   16     A. So I'm not sure I understand your question,           16     Q. It's a needed medication for some patients?
   17   but the things that would influence a pharmacist           17     A. In appropriate patients, yes.
   18   giving opioids to a patient would be the                   18     Q. And at the end of the day, it's the
   19   prescription.                                              19   prescriber that determines whether that pain
   20     Q. I didn't hear you.                                    20   medication is needed for a patient, right?
   21     A. The factors that would be related to a                21         MR. CHALOS: Object to the form.
   22   pharmacist giving opioids to a patient would be the        22     A. Yes. Generally speaking, yes.
   23   prescription itself.                                       23     Q. You served as an expert witness in a case
   24         Did you mean to ask if there was some factor         24   called JM Smith Corporation vs. Cherokee Pharmacy in
   25   that SBIRT identifies as risk factors for that             25   South Carolina, right?

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    1     A. Yes, I did.                                             1   1987 which outlines the necessary requirements for
    2        MS. RODGERS: I'm going to mark as                       2   obtaining licensure as a wholesale distributor.
    3     Exhibit 10 this document.                                  3   These requirements --" and then in italics, "do not
    4        (Perri Exhibit 10 was marked for                        4   require pharmaceutical wholesalers to exercise
    5   identification.)                                             5   control over the pharmacies that they serve in terms
    6        THE WITNESS: Thank you.                                 6   of drug distribution."
    7        MS. RODGERS: Hm-hmm. Sorry.                             7         That's an accurate statement still, right?
    8   BY MS. RODGERS:                                              8         MR. CHALOS: Object to the form.
    9     Q. And this is a copy of the report that you               9      A. I'm not sure that this is 100 percent
   10   submitted in that case, right?                              10   correct in the present day.
   11     A. This appears to be a copy of that report,              11      Q. Is it your opinion that wholesale
   12   yes.                                                        12   distributors are not required to exercise control
   13     Q. And this was in 2014 that you served as an             13   over the pharmacies that they service in terms of
   14   expert in this case, right?                                 14   drug distribution?
   15     A. Yes.                                                   15      A. I think there's --
   16     Q. And you were retained by the pharmacy,                 16         MR. CHALOS: Object -- object to the form.
   17   Cherokee Pharmacy?                                          17         Sorry.
   18     A. I was retained by the attorney representing            18      A. I think there is -- there is a role that the
   19   Cherokee Pharmacy, yes.                                     19   wholesalers play with respect to drug distribution
   20     Q. Okay. If you could turn to Page 3 of this              20   and -- yeah, leave it at that.
   21   report, would you read aloud your first opinion?            21      Q. So when you wrote this report in 2014, was
   22        MR. CHALOS: You want him to read the whole             22   it true that these requirements that you're citing
   23     page?                                                     23   here do not require pharmaceutical wholesalers to
   24        MS. RODGERS: The first --                              24   exercise control over the pharmacies that they serve
   25     Q. Sorry, the kind of title of the first                  25   in terms of drug distribution?
                                                         Page 287                                                      Page 289
    1   opinion there.                                               1         MR. CHALOS: Object to the form.
    2     A. "Pharmaceutical wholesalers are not                     2     A. When I wrote this in 2014, I believed that
    3   empowered by the DEA, any other agency or by any             3   to be true.
    4   applicable rule, regulation or standard to limit             4     Q. And is it true today?
    5   patient access to needed medications."                       5     A. I don't think so.
    6     Q. You wrote that statement, right?                        6     Q. So what changed?
    7     A. Yes.                                                    7     A. I became aware of requirements that were
    8     Q. And it was true when you wrote it?                      8   placed on the wholesalers to do more monitoring of
    9     A. Yes.                                                    9   the orders that were going through their
   10     Q. And you still agree with it today?                     10   distribution centers.
   11     A. Yes.                                                   11     Q. What requirements are those?
   12     Q. If you look at -- well, let's just do this.            12     A. Well, I did not analyze any of that in this
   13        Would you agree that oxycodone is a needed             13   case, but as I understand it -- and I think some --
   14   medication?                                                 14   I haven't read this whole report in, you know, five
   15        MR. CHALOS: Object to the form; incomplete             15   years, but the -- the gist of my concerns here were
   16     hypothetical.                                             16   the way that the wholesalers were applying the
   17     A. I think, as I have said over and over a                17   control over the pharmacy.
   18   couple of times today, that, in appropriate                 18         And at the time, I was not aware that the
   19   patients, oxycodone is a medication that might be           19   DEA had begun activities, which I learned about
   20   needed by a patient.                                        20   through my analysis of this case, to require
   21     Q. Okay. And if you look at Paragraph 15, you             21   wholesalers to do a better job, to do more
   22   wrote -- or it reads: "All pharmaceutical                   22   monitoring of the orders that go through their
   23   wholesalers are regulated by the National                   23   distribution centers.
   24   Association of Boards of Pharmacy (NADP) under the          24     Q. So you're saying that there are new
   25   provisions of the Prescription Drug Marketing Act of        25   requirements that were not present in 2014 today

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    1   that require wholesalers to exercise control over               1   the sentence reads: "These requirements do not
    2   pharmacies?                                                     2   require pharmaceutical wholesalers to exercise
    3     A. No, that's not what I'm saying.                            3   control..."
    4     Q. So you're saying when you wrote this                       4          And I think that's still true. What they do
    5   statement, it was not true?                                     5   require is for wholesalers to monitor the pharmacies
    6         MR. CHALOS: Object to the form.                           6   and the drug distribution process.
    7     A. No. I think what I said was pretty clear,                  7          So I think the sentence is still true, but I
    8   that when I wrote this, I believed it to be true at             8   think it would be a misrepresentation to just tell
    9   that time, and I still that -- believe that -- that             9   you that, no, that sentence still stands because
   10   you have to look at what this sentence actually                10   I -- I think there's more to it than that.
   11   means in the context of this case.                             11      Q. Okay.
   12         This was a situation where a pharmacist that             12      A. Basically I'm -- I'm agreeing with a lot of
   13   had done a very prudent job of documenting what they           13   what you're saying, but I think you are
   14   did at the retail level was basically cut off from             14   mischaracterizing my use in the sentence.
   15   supply of prescription medications for controlled              15      Q. Okay. I want to look at your third opinion
   16   substances and, subsequently, all medications.                 16   in this report. I think it's the first sentence of
   17         And the -- so it applies to the amount of                17   Paragraph 19.
   18   control that the wholesaler was applying. And that             18      A. Yes.
   19   was my issue in this case, was that the wholesaler,            19      Q. It reads: "The role of the pharmacist is to
   20   without doing its due diligence, had unilaterally              20   deliver the medication the medical provider orders,
   21   made some decisions that affected this pharmacist's            21   ensuring these orders are filled correctly and that
   22   business. So that's what my opinions in this case              22   the therapy is appropriate in regard to dosing, drug
   23   related to.                                                    23   interactions, and possible adverse reactions."
   24     Q. I'm just trying to understand what changed                24      A. Were --
   25   between then and now that leads you to now disagree            25      Q. It's your opinion that --
                                                      Page 291                                                             Page 293
    1   with this document?                                             1     A. Were you reading -- I'm sorry, were you
    2     A. Well, I --                                                 2   reading Opinion III?
    3         MR. CHALOS: Object -- object to the form.                 3     Q. The first sentence of Paragraph 19.
    4     It's mischaracterizing his testimony.                         4     A. Okay, gotcha. Thank you.
    5     A. Yeah. So as I said -- and I answered your                  5     Q. It's your opinion that pharmacists have a
    6   question earlier, and I said that -- you said                   6   duty to ensure that each prescription has a
    7   something about changing between then and now.                  7   legitimate medical purpose before filling that
    8         I became aware, through my involvement in                 8   prescription, right?
    9   this case, that in around 2006, '07, or '08, that               9         MR. CHALOS: Object to the form.
   10   the DEA had communicated with wholesalers                      10         I'm sorry, are you reading that? I lost you
   11   specifically with regard to the -- their oversight             11     somewhere.
   12   of orders that are placed by pharmacies. That was              12         MS. RODGERS: I read the first sentence of
   13   something that wholesalers had claimed during this             13     Paragraph 19.
   14   2014 time period, but I had no evidence -- and there           14         MR. CHALOS: Right.
   15   certainly was no evidence provided in this case --             15         MS. RODGERS: And then I asked the witness:
   16   to inform me about that.                                       16     "It's your opinion that pharmacists have a duty
   17         So what has changed is my awareness of what              17     to ensure that each prescription has a legitimate
   18   was going on.                                                  18     medical purpose before filling that
   19     Q. So in other words, you were wrong, in your                19     prescription."
   20   words, when you wrote this sentence?                           20         MR. CHALOS: Oh, okay. Well, I object to
   21         MR. CHALOS: Object to the form;                          21     the form. It doesn't have anything to do with
   22     mischaracterizes testimony.                                  22     that, so I object to the form of the specific
   23     A. Yeah, as I said, I don't -- being "wrong" is              23     question, compound.
   24   your words. I said that the -- being wrong would be            24     A. So the summary opinion is that "It is the
   25   a subject of how you interpret this sentence, and              25   responsibility of the retail community pharmacist to

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    1   monitor and attempt to ensure the appropriate             1     Q. I'm just trying to get an answer to my
    2   medication use."                                          2   question: "You're 'not aware of any laws or
    3         And basically the pharmacist has two duties         3   regulations that direct wholesalers to evaluate, at
    4   there: One is to ensure that there is a legitimate        4   the patient level or otherwise, pharmacy dispensing
    5   relationship between the prescriber and the patient;      5   practices'"?
    6   and Number 2, it's to ensure that the drug won't --       6         MR. CHALOS: Object to the form.
    7   won't do any harm to the patient, to the best of          7     A. So if you are saying laws or regulations, I
    8   their ability to review that prospectively.               8   think I already said that I'm not aware that the
    9     Q. And pharmacists, not pharmaceutical                  9   Controlled Substances Act has changes -- has changed
   10   wholesalers, are charged with the responsibility to      10   or that the -- that any other laws have changed. So
   11   ensure the appropriateness of the prescription           11   to the extent that the laws and regulations haven't
   12   process, right?                                          12   changed but given the caveat that there are
   13         MR. CHALOS: Object to the form.                    13   increased scrutiny on the part of the DEA, I think
   14     A. Yes, that's -- I agree with that.                   14   that the environment has changed. The marketing
   15     Q. Okay. Now, in Paragraph 21, the second              15   environment that we're operating in with respect to
   16   sentence, you wrote: "I am not aware of any laws or      16   these issues has changed.
   17   regulations that direct wholesalers to evaluate, at      17     Q. In the last sentence, you write: "The
   18   the patient level or otherwise, pharmacy dispensing      18   responsibility of the wholesaler is to make sure the
   19   practices."                                              19   pharmacy is a legitimate pharmacy business..."
   20         Do you see that?                                   20         Do you see that?
   21     A. Yes.                                                21     A. I do.
   22     Q. And that was true when you wrote it?                22     Q. Okay.
   23     A. It was.                                             23         MR. CHALOS: I think there is more to that
   24     Q. And it's true today?                                24     sentence.
   25     A. Well, as I said, I've become aware since            25         MS. RODGERS: Sure.

                                                    Page 295                                                      Page 297
    1   this time that -- through my work in this case, that      1     Q. ... and to report the required data of the
    2   in and around 2006, 2008, that the DEA directed           2   units of -- on the units of controlled substances
    3   wholesalers to pay more attention to the orders that      3   shipped or sold, to the DEA.
    4   were being placed by pharmacists.                         4         Did I read that correctly?
    5         Now, I don't think any laws have changed. I         5     A. Yes, you did.
    6   know there have been no changes to the Controlled         6     Q. Okay. Now, ensuring -- I want to talk about
    7   Substances Act or -- and associated rules and             7   what it means to ensure that "the pharmacy is a
    8   regulations, but I do know there is increased             8   legitimate pharmacy business."
    9   scrutiny at the level of DEA on the orders that are       9         That includes checking licenses and
   10   placed by pharmacists. That was not part of the          10   registrations, right?
   11   analysis I did in this case, though.                     11     A. Yes.
   12     Q. And increased scrutiny isn't laws or                12     Q. It could include verifying that a pharmacy
   13   regulations, right?                                      13   is a brick-and-mortar business rather than some
   14     A. That's --                                           14   rogue Internet pharmacy?
   15         MR. CHALOS: Object to the form.                    15     A. I -- I assume that would include that, yes.
   16     A. That's right.                                       16     Q. Okay. And it could include checking that
   17     Q. Okay. So you're "not aware of any laws or           17   the pharmacy sells an array of products and not just
   18   regulations today that direct wholesalers to             18   pain medication, right?
   19   evaluate, at the patient level or otherwise,             19     A. I don't know the answer to that. I do know
   20   pharmacy dispensing practices"?                          20   that there are pharmacies that specialize in pain
   21         MR. CHALOS: Object to the form; misstates          21   management and I would assume that they also sell
   22     his testimony.                                         22   other drugs, but I can't say for sure one way or the
   23     A. And so the evaluation that we were just             23   other.
   24   talking about with respect to the pharmacist's duty      24     Q. Okay. And there's nothing else, in your
   25   is different than I see the duty of the wholesaler.      25   opinion, that the wholesaler is required to do to

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    1   ensure that a pharmacy is "a legitimate pharmacy           1     A. Yes.
    2   business"?                                                 2     Q. And that's because a review of the volume of
    3         MR. CHALOS: Object to the form.                      3   purchases of controlled substances by a pharmacy
    4     A. Well, at the time that I wrote this, the              4   alone isn't particularly helpful, right?
    5   understanding that I had that related to my                5         MR. CHALOS: Object to the form.
    6   understanding and my interpretation of "legitimate         6     A. Well, it depends. The volume of purchases
    7   pharmacy business" was the -- was also including           7   for a particular pharmacy can be helpful. For
    8   whether the pharmacist was doing their due diligence       8   example, this pharmacy was located next to a
    9   in terms of evaluating and screening and filling           9   hospital with emergency room facilities, so the
   10   prescriptions for -- and particularly with regard to      10   pharmacy might be expected to have higher volumes of
   11   this case, for controlled substances, so legitimate       11   narcotics being sold through the pharmacy. This
   12   business being more -- a little more broadly defined      12   pharmacy also happened to be located on a state
   13   than I need to define it, but certainly the things        13   line, basically, where they had customers coming
   14   that you mentioned, I would agree with.                   14   from two different states. They were also in a very
   15     Q. Uh-huh.                                              15   rural area, which meant their customers traveled
   16     A. I would just add that my understanding was,          16   further distances. They were also in an area where
   17   is that legitimacy of the pharmacy, the                   17   there weren't very many employers and lots of folks
   18   relationships with their patients and so forth was        18   were farmers and self-employed, which meant a lot of
   19   also a concern.                                           19   patients paid cash.
   20     Q. Okay. So it would include evaluating the             20         These are all the warning signs for a
   21   pharmacy's policies with respect to filling               21   wholesaler. So looking at it superficially, the
   22   prescriptions.                                            22   wholesaler judged that, hey, this pharmacy has got
   23         Is that an accurate summary of what --              23   something suspicious going on.
   24     A. That's -- that's close to what I said, I             24     Q. Uh-huh, and I want to talk about all of
   25   think.                                                    25   those --

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    1     Q. Okay. Anything else?                                  1         MR. CHALOS: Wait. Let him finish. Let him
    2     A. I think that's it.                                    2     finish.
    3     Q. Okay. Let's look at Opinion V.                        3     A. So the -- the problem that I have with that
    4         Now, in the facts of this case where you             4   is, you know, without really consulting with the
    5   were testifying as an expert, the wholesale                5   pharmacy to see if there were reasons for all of
    6   distributor unilaterally stopped providing                 6   this, they just made the decision to cut that
    7   controlled substances to a pharmacy, right?                7   pharmacy out.
    8     A. Yes.                                                  8     Q. And they made that decision based purely on
    9     Q. And that was, in part, because of that                9   numbers, right?
   10   pharmacy's oxycodone orders?                              10         MR. CHALOS: Hold on.
   11     A. That was alleged, yes.                               11         Doctor, were you finished with your answer?
   12     Q. Okay. And you disagreed with the                     12         THE WITNESS: I think so, yeah.
   13   distributor's decision to stop selling to the             13         MR. CHALOS: Okay.
   14   pharmacy, right?                                          14         THE WITNESS: Thank you.
   15     A. Based on the fact that the distributor's             15         MR. CHALOS: Okay. Please, Counsel, let him
   16   decision was made using general guidelines rather         16     finish his answer. I know you want to get on to
   17   than guidelines that were specifically considered         17     your next question. I also -- I'll -- maybe we
   18   for that pharmacy, yes.                                   18     can go another question or two on this, but these
   19     Q. Okay. And you note in Paragraph 26 that the          19     opinions are far outside of the scope of his
   20   distributor's decision to stop selling controlled         20     opinions that are being offered in our case here.
   21   substances was based on "two primary                      21     So I object to further questioning on suspicious
   22   considerations." The first you identified was --          22     order monitoring since that's not part of his
   23   and this is a quote -- "a superficial internal            23     opinions here.
   24   analysis of the volume of purchases of controlled         24         MS. RODGERS: I'm sorry. We're entitled to
   25   substances by Cherokee Pharmacy," correct?                25     ask questions about his prior expert testimony to

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    1   the extent --                                           1   marketing of the supply chain, of -- of opioids
    2      MR. CHALOS: I don't think that's true.               2   in general. This issue of kind of what --
    3      MS. RODGERS: -- it has a bearing on this             3   whether distributors should or should not
    4   case.                                                   4   distribute is central and core to that opinion.
    5      MR. CHALOS: Well, to the extent it has a             5       Moreover, you know, it's a prior expert
    6   bearing on his opinions in this case.                   6   report that he actually authored himself, so he
    7      MS. RODGERS: To the extent it has a bearing          7   has held himself out as an expert in this area.
    8   on this case.                                           8   You know, it goes -- we're entitled to ask
    9      MR. CHALOS: No, I'm sorry, that's not                9   questions for purposes of impeachment, for
   10   right.                                                 10   quality of work, for bias, to test his expertise.
   11      MS. RODGERS: If we need to call the special         11       You know, it's kind of -- it kind of goes to
   12   master, we can, but I'm going to keep asking           12   the foundation of the testimony about roles in
   13   questions --                                           13   the supply chain, and so we think we're entitled
   14      MR. CHALOS: Yes, why -- we should do that           14   to ask these questions.
   15   then probably.                                         15       MR. CHALOS: Okay. So our position is that
   16      You're not entitled to get into suspicious          16   you're entitled to ask him questions about the
   17   order monitoring when he has no opinions about         17   opinions that he's offered within the four
   18   that in this case.                                     18   corners of his report, which is Exhibit 1 to his
   19      MS. RODGERS: Okay. Do you want to let me            19   deposition.
   20   go a couple more questions, or do you want to          20       He has said over and over again that he's
   21   call the special master?                               21   not giving any opinions about suspicious order
   22      MR. CHALOS: It's up to you. It's your --            22   monitoring in this case. We have experts who
   23   your deposition, so you can say --                     23   will do that. You can ask them all about that,
   24      MS. RODGERS: Well, I'm going to keep asking         24   and you can maybe even ask them about Dr. Perri's
   25   questions, so it's -- it's a question of if            25   prior opinions in a different case in a

                                                  Page 303                                                     Page 305
    1   you --                                                  1   completely different context.
    2       MR. CHALOS: Okay. Well, yeah, so then why           2      But your position that you're entitled to
    3   don't we pause here. I don't think you should           3   ask him about any opinion he's given in any case
    4   ask any more questions about suspicious order           4   for any reason and at any time in the past, we
    5   monitoring, his opinions, because he hasn't             5   just don't agree with.
    6   offered any of those in this case.                      6      So suspicious order monitoring is not part
    7       I was trying to be cooperative and give you         7   of his opinions in this case. We don't think you
    8   a few more questions, but you obviously intend to       8   are entitled to ask about them.
    9   take advantage of that, so we're not going to do        9      I was trying to be cooperative and let you
   10   any more questions on suspicious order --              10   get to a point using this Exhibit 10, which is a
   11   suspicious order monitoring.                           11   prior opinion in a different case involving
   12       If you want to stop the deposition now and         12   different issues, but you obviously intend to ask
   13   call David Cohen, then we can do that.                 13   him his suspicious order monitoring opinion --
   14       MS. RODGERS: Okay. Let's do that.                  14   opinions, which he does not have in this case,
   15       MR. CHALOS: Okay.                                  15   and he's not holding himself out as an expert in
   16       THE VIDEOGRAPHER: We are now going off the         16   that area in this case that we're here about
   17   video record. The time is currently 5:59 p.m.          17   today, so --
   18      (Recess from 5:59 p.m. until 6:09?p.m.)             18      MS. RODGERS: And just to clarify, we're
   19       MR. CHALOS: I believe you're going to tell         19   intending to ask him questions about whether he
   20   me why you're entitled to get into opinions that       20   thinks distributors should be shipping
   21   he's not giving in this case.                          21   prescription opioids to certain pharmacies.
   22       MS. RODGERS: Yeah. So Dr. Perri has                22   You're classifying it as "suspicious order
   23   testified repeatedly about the distributors' role      23   monitoring." I think it's a little bit broader
   24   in the supply chain and how their distribution of      24   and different than that, and, you know, I think
   25   opioids to pharmacies was integral to the              25   we are entitled for a number of reasons to ask

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    1     these questions.                                          1 only thing that I might -- is if new questions are
    2         MR. CHALOS: Okay. Well, we disagree and               2 posed, but I don't anticipate doing any further work
    3     you can, you know, call it what you will. It's            3 on the case.
    4     about -- it's about monitoring orders to                  4     Q. If new questions are posed to you by whom?
    5     pharmacies, and that's not what his opinions are          5     A. By Counsel, yeah.
    6     about here. It's a marketing -- he's a marketing          6     Q. And are you otherwise prepared to testify
    7     guy. He's giving marketing opinions in this               7   about the opinions that you've included in your
    8     case, so --                                               8   report?
    9         MS. RODGERS: Do you want me to continue               9         MR. CHALOS: Object to the form. I think it
   10     asking questions and you can object, or do you --        10     gets into attorney-client privilege stuff about
   11     are you preventing your witness from --                  11     his preparation.
   12         MR. CHALOS: I think we shouldn't waste any           12         So I'm going to instruct you not to answer
   13     more time. Y'all are telling me you're going --          13     that question.
   14         MS. RODGERS: Well, it's our time to decide           14     Q. Are you considering any additional opinions
   15     how we use it. So, I guess, are you cutting --           15   that are not otherwise in your report?
   16     are you instructing your witness not to answer           16     A. Not at this time, no.
   17     these questions, or did you want to reserve your         17     Q. Okay.
   18     rights to object and --                                  18         MS. RODGERS: I have no further questions
   19         MR. CHALOS: Yeah. I'm telling you that               19     pending resolution of our dispute with Special
   20     it's beyond the scope of his opinions and I don't        20     Master Cohen.
   21     think it's proper to ask him any more questions          21         MR. CHALOS: Our dispute is not with Special
   22     about opinions that he doesn't have in this case.        22     Master Cohen. He will be adjudicating our
   23         So that's right, we'll table this issue,             23     dispute. We have no dispute with Special Master
   24     we'll get David Cohen on the phone to have an            24     Cohen.
   25     adjudication of whether you can ask him about            25         THE VIDEOGRAPHER: We are now going off the

                                                        Page 307                                                       Page 309
    1     suspicious order monitoring or other supply               1     video record. The time is currently 6:15 p.m.
    2     monitors -- monitoring, but I don't intend to let         2        (Recess from 6:15 p.m. until 6:19 p.m.)
    3     him answer any questions about opinions that he's         3         THE VIDEOGRAPHER: We are now back on the
    4     not giving in this case.                                  4     video record. The time is currently 6:19 p.m.
    5        MS. RODGERS: Okay. All right.                          5               CROSS-EXAMINATION
    6        Can, actually, one of the cocounsel e-mail             6   BY MR. LADD:
    7     Special Master Cohen while we go off the record?          7     Q. Good afternoon, Dr. Perri. My name is
    8        MR. CHALOS: So why don't we go on to some              8   Matthew Ladd from the law firm Morgan, Lewis &
    9     other questioning and leave this to the side so           9   Bockius representing defendant Rite Aid. I'm going
   10     we don't have to -- and then we can get a ruling         10   to ask you a few questions this afternoon.
   11     on it and then you can come back to it and ask           11     A. Okay.
   12     him.                                                     12     Q. Have we met before, prior to today's
   13        MS. RODGERS: Okay.                                    13   deposition?
   14           (Discussion off the record.)                       14     A. I don't think so.
   15       (Recess from 6:13?p.m. until 6:14?p.m.)                15     Q. And are you aware that there are several
   16        THE VIDEOGRAPHER: We are now back on the              16   retail pharmacy defendants in this case?
   17     video record with the beginning of Media                 17     A. Yes.
   18     Number 7. The time is currently 6:14 p.m.                18     Q. Do you know who they are?
   19   BY MS. RODGERS:                                            19     A. My understanding was they were Walgreens,
   20     Q. Okay. Mr. Perri, I just have a couple more            20   CVS, and Walmart and a couple of others. I guess
   21   questions pending our conversation with Special            21   since you're here, that would include Rite Aid.
   22   Master Cohen, and the first is whether you've              22     Q. So you're aware that Rite Aid is also a
   23   completed all the work that you intend to do on this       23   defendant in this case?
   24   matter.                                                    24     A. Yes.
   25     A. Unless more information is provided. The              25     Q. And do you understand that the retail

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    1   pharmacy defendants have been sued in this case in       1   wholesale distribution that would be part of this
    2   their capacity as distributors?                          2   case.
    3     A. That's my understanding, yes.                       3     Q. And is it your understanding that all the
    4     Q. So you understand that retail pharmacy --           4   retail pharmacy -- pharmacies in this case did
    5   retail pharmacy defendants are not being sued in         5   distribute CII drugs?
    6   this case as dispensing pharmacies?                      6     A. As I said just a moment ago, Walgreens, my
    7     A. Yes, I do understand that.                          7   analysis of the materials, the answer is yes.
    8     Q. And you understand that the retail pharmacy         8         For Walmart, they -- they did
    9   defendants in this case are not being sued with          9   because they -- well, Walmart -- as far as I
   10   respect to dispensing at any of their retail            10   understand, Walmart did distribute CIIs through
   11   pharmacy stores?                                        11   their own central warehouse, and CVS ordered -- CVS
   12     A. That is my understanding, yes.                     12   distributed controlled substances but not
   13     Q. Is it also your understanding that the             13   Schedule II. My understanding is they distributed
   14   retail pharmacy defendants in this case distribute      14   controlled substances through -- through their
   15   controlled substances only to their own pharmacy        15   warehouse but excluded the Schedule II narcotics in
   16   stores?                                                 16   that.
   17     A. So the answer to that is I'm not sure. I           17     Q. Are you aware also that Rite Aid never
   18   know that the documents that I reviewed in the          18   distributed CII controlled drugs?
   19   record, I -- I did draw that conclusion for -- you      19     A. As I said, I have not seen documents related
   20   know, in looking at each defendant individually to      20   to Rite Aid.
   21   formulate a -- you know, an aggregate opinion. I        21     Q. Do you have any reason to believe that Rite
   22   was able -- I think this was brought up this            22   Aid did distribute Schedule II narcotics at any
   23   morning. I was able to ascertain that Walgreens did     23   time?
   24   distribute Schedule II narcotics through their --       24     A. I didn't see any documents or testimony that
   25   for at least a period of time through their central     25   indicated that they did distribute that or that they

                                                     Page 311                                                        Page 313
    1   warehousing. Walmart and CVS were a little bit           1   didn't, so --
    2   different. I don't know for Rite Aid.                    2     Q. Do you know whether any of the retail
    3      Q. Do you have any reason to believe that Rite        3   pharmacy defendants in this case are currently
    4   Aid made distributions of controlled substances          4   distributing Schedule II narcotics?
    5   other than to its own pharmacy stores?                   5     A. I know that -- at least my understanding is,
    6      A. I don't have any reason to believe that            6   from the record, is that Walgreens no longer does.
    7   and -- no, I don't.                                      7   Walmart, I don't know. CVS never -- never did, as
    8      Q. And I want to return to what you said              8   far as I know, or at least not in a relevant time
    9   earlier this morning and ask you a few questions         9   period.
   10   about it.                                               10     Q. Do you know when Walgreens stopped
   11         If I remember correctly, you said something       11   distributing?
   12   to the effect, during Mr. Volney's questioning, that    12     A. I saw the documentation about this, and I
   13   it would have some bearing on your opinions if          13   think it was around 2013 or '14.
   14   retail chain pharmacies were ordering from their own    14     Q. Were you asked to review any materials that
   15   distribution centers as opposed to ordering from a      15   were produced by the retail pharmacy defendants in
   16   wholesale distributor; is that correct?                 16   this case?
   17         MR. CHALOS: Object to the form.                   17     A. I wasn't specifically asked. I cannot say
   18      A. So I -- I'm not sure I remember the exact         18   one way or the other how many documents or -- other
   19   testimony this morning, but I think I can answer        19   than deposition testimony that were from the retail
   20   your question.                                          20   pharmacy defendants, because it was a very small
   21         The -- if a chain pharmacy was engaged in         21   subset of the documents that were produced.
   22   wholesale distribution, they would be engaged in        22     Q. Setting aside deposition testimony, do you
   23   wholesale distribution to their own stores.             23   have any specific recollection of reviewing any
   24   However, if they did not distribute CII drugs at any    24   documents that were produced by any of the retail
   25   point, then they would not be engaged in the            25   pharmacy defendants?

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    1     A. Just the Walgreens, some Walgreens                    1     Q. Correct.
    2   documents.                                                 2     A. No.
    3     Q. Any other?                                            3     Q. And if you had, those documents would have
    4     A. I'm thinking.                                         4   been in Schedule 3 of your report, correct?
    5         I could give you a very specific answer to           5     A. Yes, it would have been contained in
    6   that question if I had my resources available to me,       6   Schedule 3 if -- if documents from each of those
    7   but if we looked at my report as a representative          7   defendants were actually in the documents that were
    8   sample of what documents are cited from which              8   either identified and provided to me or documents
    9   defendants, I don't believe there are. I believe           9   that I searched for and identified myself.
   10   there is a Walgreens document cited, but I don't          10     Q. If you could turn to Exhibit 1, Dr. Perri,
   11   believe there is a Walmart document.                      11   I'd like to ask you a few questions about your
   12         I'd have to look to see for sure, but there         12   report, starting on Page 9, under the heading "Basis
   13   were very few documents that I reviewed related to        13   and Reasons for Opinions," Section 1, "Marketing and
   14   the pharmacy defendants.                                  14   Pharmaceutical Marketing."
   15     Q. And I think you said a moment ago that you           15     A. Yes.
   16   did not recall reviewing any documents produced by        16     Q. Does Section 1, titled "Marketing and
   17   Rite Aid; is that correct?                                17   Pharmaceutical Marketing," specifically discuss
   18     A. Yes, I don't recall Rite Aid specifically at         18   marketing connected by any of the retail pharmacy
   19   all.                                                      19   defendants?
   20     Q. Do you recall reviewing any documents                20     A. Not specifically, no.
   21   produced by CVS?                                          21     Q. So none of the retail pharmacy defendants
   22     A. I honestly can't recall, as I sit here right         22   are, for instance, mentioned by name in Section 1?
   23   now.                                                      23     A. That's correct.
   24     Q. And do you recall what the Walgreens                 24     Q. And there is no specific discussion in
   25   document was that you reviewed?                           25   Section 1 of any particular marketing efforts

                                                     Page 315                                                          Page 317
    1     A. I believe it was an e-mail exchange or a              1   conducted or developed specifically by the retail
    2   letter that was discussing the issue of ceasing            2   pharmacy defendants; is that right?
    3   distribution from the wholesale facility, the              3     A. I'm sorry, I -- it's getting late in the
    4   company-run wholesale facility, and discussing that        4   day, and I think I lost you on that one.
    5   they would use up existing supplies of CIIs but,           5     Q. I understand. I'll repeat the question.
    6   after that, the CIIs would be coming from the              6         In Section 1, there is no specific
    7   wholesaler.                                                7   discussion of any particular marketing efforts
    8     Q. Did that document have anything to do with            8   conducted or developed specifically by the retail
    9   the marketing of opioids?                                  9   pharmacy defendants?
   10     A. Only inasmuch as the distribution of the             10     A. That's correct, yes.
   11   opioids is, in my opinion, a marketing activity.          11     Q. Is that right?
   12     Q. I understand.                                        12     A. Yes.
   13         So aside from your opinion that the                 13     Q. If you could turn to Page 64 of your report,
   14   distribution of opioids is a marketing activity,          14   please. I know you've discussed this table before.
   15   that document contained no other marketing-related        15         Do you see the table titled "Table 1:
   16   substance aside from a discussion about ceasing           16   Pharmaceutical Supply Chain System Stakeholders" at
   17   distribution?                                             17   the top of Page 64?
   18     A. I think -- I think you're asking me about            18     A. Yes, I do.
   19   marketing messages, such as contained in Table II.        19     Q. And on the left-hand column, there is a
   20         And no, it did not.                                 20   heading that says Entity; is that right?
   21     Q. Aside from what we just talked about, to             21     A. Yes.
   22   your recollection, did you review any other               22     Q. And what's your understanding of which
   23   materials that were produced by the retail pharmacy       23   entity listed in the left-hand column of this table
   24   defendants?                                               24   corresponds to the retail pharmacy defendants?
   25     A. Other than deposition testimony? No.                 25         Where do the retail pharmacy defendants fall

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    1 in this list?                                             1     Q. And can you explain to me a little bit more
    2     A. Under "Pharmacies" or under "Wholesale             2   what you mean by managing data and to what extent
    3   Distributors." The analysis that I did would not        3   warehousing pharmacy chains like the retail pharmacy
    4   have included them under "Pharmacies" because I         4   defendants in this case are managing data?
    5   didn't really look at pharmacy dispensing, but I did    5     A. Yeah. So I -- my -- my belief is, is that
    6   look at wholesale distributors, so they would fall      6   they are not doing that. They would be -- in terms
    7   under "Warehousing Pharmacy Chains."                    7   of providing data to, for example, a manufacturer on
    8     Q. So in the context of the opinions in your          8   sales movement of products and where resources need
    9   report specific to retail pharmacy defendants, you      9   to be allocated for future production, I don't think
   10   were looking at them as Warehousing Pharmacy Chains;   10   the warehousing chains engage in that.
   11   is that right?                                         11         Again, I haven't done any analysis of their
   12     A. That's correct.                                   12   business activities, so what I'm speaking to here is
   13     Q. And in the right-hand column, there's a           13   not part of what I did in this case but just my
   14   heading that says Supply Chain System Roles; is that   14   understanding of what happens in the industry and
   15   right?                                                 15   based on my experience from working -- my experience
   16     A. Yes.                                              16   in working for at least one of the chains that we're
   17     Q. And there are four roles listed on the            17   talking about.
   18   right-hand side; is that correct?                      18     Q. And to the extent that retail chain
   19     A. For wholesale distributors?                       19   pharmacies are captive distributors -- in other
   20     Q. Correct.                                          20   words, to the extent that they are supplying and
   21     A. Yes.                                              21   distributing drugs only to their own stores, any
   22     Q. And can you just read those out loud for the      22   data that they are managing would be in the context
   23   record, please, each of those four?                    23   of distribution to those stores; is that correct?
   24     A. Manage distribution of products, Facilitate       24     A. That's my experience with -- in working with
   25   customer discounts and chargebacks, Service            25   Walmart, yes.

                                                  Page 319                                                           Page 321
    1 pharmacies/generic source programs, Negotiate             1     Q. Okay. Because when talking about customers,
    2 pricing with pharmacies.                                  2   the stores are the retail pharmacies' only
    3     Q. Thank you.                                         3   customers; is that right?
    4         And is it your opinion that all of those          4     A. Yes. In terms of the distribution process,
    5   four supply chain system roles are equally              5   yes.
    6   applicable to warehousing pharmacy chains as they       6     Q. Right. And among these four roles here on
    7   are to full-service -- full-service wholesalers?        7   the right-hand side of Table 1, does the word
    8     A. I think my opinion would be that                   8   "marketing" appear in any of these four roles?
    9   full-service wholesalers do more than a wholesaling     9     A. It does -- it does -- it does in the first
   10   pharmacy chain would do because of their ability to    10   box under "Pharmaceutical Manufacturers."
   11   manage data, which the wholesale -- wholesaling        11     Q. And so let me rephrase my question.
   12   pharmacy chains may not do. They may engage in some    12         You're looking at the first box on the
   13   of that, but the wholesale distributors are much       13   right-hand side across from the box that says
   14   more able to draw the data transmission that goes on   14   Pharmaceutical Manufacturers, Branded, Generic,
   15   in the industry, to provide the kind of data that's    15   Specialty. Is that right?
   16   actually useful to a pharmaceutical company.           16     A. Yes.
   17         The warehousing pharmacy chains are              17     Q. Okay. Let me bring you down to those four
   18   basically -- my understanding and my experience in     18   bullet points that we were just talking about, the
   19   working in the industry for so many years was that     19   box on the right-hand side across from the box that
   20   they were doing that as a cost-saving measure and a    20   says Wholesale Distributors, Full Service
   21   way to increase their own internal efficiencies, but   21   Wholesalers, Warehousing Pharmacy Chains, those four
   22   not to participate in some of these other -- for       22   bullet points that we just talked about a few
   23   example, other activities such as are defined in the   23   moments ago.
   24   flowchart on the page -- in Figure 4 on the page       24         Does the word "marketing" appear in that
   25   before this.                                           25   box?

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    1     A. It does not.                                            1     us know exactly what you're looking at?
    2     Q. Could we go to Page 86 of your report,                  2     A. Yes. In response to the question about the
    3   please?                                                      3   references, I noticed that Schedule 16,
    4         I know that when Ms. Rodgers was asking you            4   "Co-Promotional Marketing with Distributor
    5   some questions, you answered some questions about            5   Defendants" -- I wanted to make sure that, if
    6   this particular table. I'm going to ask you a                6   possible -- and I don't know that it will be, that
    7   similar question concerning the retail chain                 7   this did not include any of the retail pharmacies.
    8   pharmacy defendants.                                         8   I don't believe that it does, but I just wanted to
    9         This is called -- this is titled Table II:             9   verify that and give you the best answer possible.
   10   Marketing Messages; is that right?                          10         No, you're correct. I'm sorry. It does
   11     A. Yes, sir.                                              11   not.
   12     Q. And it's a table with four columns, the                12     Q. I'll read the question back one more time
   13   right-hand column of which reads Defendant; is that         13   just so we have a record.
   14   right?                                                      14         This section of the report, Section 3H of
   15     A. Yes, it does.                                          15   your expert report, does not cite to any documents
   16     Q. Can you tell me generally what this -- what            16   that -- that were produced by the retail pharmacy
   17   information this table contains?                            17   defendants; is that right?
   18     A. Table II contains --                                   18     A. That's correct.
   19         MR. CHALOS: Object to the form; asked and             19     Q. And similarly, this section of your report
   20     answered.                                                 20   does not specifically mention any of the retail
   21     A. Table II contains marketing messages that              21   pharmacy defendants; is that right?
   22   were summarized by looking at a large volume of             22     A. It -- it doesn't mention any of them by
   23   marketing-oriented documents grouped together under         23   name, no.
   24   subheadings that reflected general themes of those          24     Q. Thank you.
   25   marketing messages.                                         25         Looking at Paragraph 183 of your report, the
                                                    Page 323                                                            Page 325
    1     Q. Thank you. And to your knowledge, do the                1   second sentence of that paragraph, you write: "In
    2   names of any of the retail pharmacy defendants --            2   the pharmaceutical industry, the distribution
    3   Rite Aid, CVS, Walmart, or Walgreens -- appear at            3   function is provided by pharmaceutical wholesale
    4   all in this table?                                           4   distributors, and pharmacy chains who provide all or
    5     A. They did not.                                           5   part of the wholesale distribution function through
    6     Q. So it's your understanding that this table              6   their own vertically integrated wholesale
    7   contains no documents or refers to no documents that         7   distribution divisions."
    8   were produced by the retail pharmacy defendants; is          8         Did I read that correctly?
    9   that correct?                                                9     A. Yes.
   10     A. That is my --                                          10     Q. Is it fair to say that what you're saying
   11         MR. CHALOS: Object to the form; asked and             11   here concerning pharmacy chains is that retail
   12     answered.                                                 12   pharmacies are part of the supply chain?
   13     A. That is my understanding, yes.                         13     A. That would be fair to say, yes.
   14     Q. Could I direct you, Dr. Perri, to Page 151             14     Q. Are you saying anything else in this
   15   of your report, please?                                     15   paragraph concerning any purported marketing efforts
   16     A. Yes, sir.                                              16   by retail chain pharmacies other than that they are
   17     Q. And specifically looking at Section H,                 17   part of the supply chain?
   18   "Wholesale Distributors and Defendants' Marketing,"         18         MR. CHALOS: Object to the form.
   19   that section begins at Paragraph 183 and extends to         19     A. My opinions about the pharmacy chains are
   20   Paragraph 187 on Page 154; is that correct?                 20   related specifically to their involvement, if any,
   21     A. That's correct.                                        21   in the distribution function as part of the supply
   22     Q. And this section of the report does not cite           22   chain and not as -- not as pharmacies dispensing
   23   to any documents that were produced by the retail           23   prescriptions to patients.
   24   pharmacy defendants; is that right?                         24     Q. And when you say "through their own
   25         And you're looking at a binder. Can you let           25   vertically integrated wholesale distribution

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    1   divisions," is that a reference to what we were             1   again, I'm -- I'm at a slight disadvantage here
    2   speaking about a few moments ago as -- as retail            2   because I don't have access to my documents, but the
    3   pharmacies being captive distributors and                   3   question that's on my mind and the one that I may
    4   distributing to their own stores?                           4   not be able to answer for you right this moment is
    5      A. Yes, it is.                                           5   whether or not retail pharmacies in general
    6      Q. Could you turn the page to Paragraph 187,             6   distributed any patient-level brochures that were
    7   the final paragraph of this section?                        7   provided by drug companies in their marketing
    8         And in Paragraph 187, you write: "Given the           8   efforts.
    9   forms of generic marketing, including the essential         9         If -- if they did do that -- and I -- again,
   10   function of drug distribution in the supply chain          10   as I sit here right now, I can't recall whether
   11   system, the increased sales of opioids resulting           11   that's true or false, but it is entirely plausible
   12   from Defendants' marketing could not have occurred         12   that that did occur because it's something that does
   13   without wholesale distributors and pharmacies which        13   occur in the industry. It would -- it would engage
   14   completed the supply chain system and made opioids         14   the retail pharmacies as more of a part of marketing
   15   available to patients."                                    15   than just the distribution function.
   16         Did I read that correctly?                           16     Q. And you're talking about brochures that a --
   17      A. Yes, you did.                                        17   that a retail pharmacy store might provide to a
   18      Q. Again, this paragraph is simply reiterating          18   patient or somebody coming in to pick up a
   19   the role in the supply chain that the retail chain         19   prescription?
   20   pharmacies play and that we discussed a moment ago;        20     A. Not the package insert, but more -- more
   21   is that correct?                                           21   along the lines of some of the brochures that were
   22         MR. CHALOS: Object to the form.                      22   created by the marketing defendants in the
   23      A. I -- and that's partially correct, but when          23   manufacturing sector that focused on patient
   24   I read the sentence now, it -- it says "completed          24   education materials that would be distributed
   25   the supply chain and made opioids available to             25   through doctors' offices.

                                                      Page 327                                                        Page 329
    1   patients," so it does -- it does certainly seem like        1         And as I said, I can't recall, as we sit
    2   I'm including pharmacies in their dispensing role           2   here right now, whether they were distributed
    3   here. However, I can tell you that I do not have an         3   through any pharmacies. I don't think it's the
    4   opinion about that, other than that they were part          4   case, but I just want to leave open the possibility.
    5   of the supply chain.                                        5   And I do need to check on that.
    6     Q. And I guess what I'm trying to get at is               6     Q. Okay. So let me just break that down and --
    7   that, setting aside dispensing, are you alleging            7   because it was kind of a long answer, so I'm going
    8   that retail chain pharmacies engaged in any sort of         8   to ask a handful of follow-up questions.
    9   marketing efforts aside from their role in the              9     A. Sure.
   10   supply chain, as you discuss here?                         10     Q. Is there -- is there anything in your
   11     A. No, I'm not.                                          11   report, in Exhibit 1, specifically concerning what
   12     Q. In other words, you're not contending in              12   you're talking about?
   13   this report that retail pharmacy defendants                13         You said brochures that -- that patients
   14   advertised opioids to doctors; is that right?              14   going to pharmacies might have received.
   15     A. No, I'm not.                                          15     A. I don't think so. Again, I don't believe
   16     Q. And you're not contending in this report              16   that to be the case.
   17   that the retail pharmacy defendants advertised             17     Q. Okay. And then, second, any of these
   18   opioids directly to patients, correct?                     18   patient education materials that would be
   19     A. My analysis did not provide that                      19   distributed through doctors' offices, are you trying
   20   information. I am not alleging that, no.                   20   to say that retail chain pharmacies, as
   21     Q. And similarly, you're not alleging in this            21   distributors, would have had any role in
   22   report that the retail pharmacy defendants                 22   distributing those sorts of promotional materials?
   23   advertised opioids to the general public?                  23     A. Not as -- not as distributors, per se, but
   24     A. So you made the -- the distinction with the           24   just through the distribution of patient-oriented
   25   term "advertised." I'm trying to recall -- and,            25   materials through either the pharmaceutical

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    1   manufacturers or even through advocacy groups. It's         1   analysis going to be accurate if it does not account
    2   possible that some of those patient materials ended         2   for those variables that you just mentioned?
    3   up in retail pharmacies.                                    3         MR. CHALOS: Object to the form.
    4         As I said, I have not seen those documents,           4     A. The -- a dispensing analysis, even paying
    5   and I cannot recall, as we sit here today, whether          5   attention to those variables, might not be accurate
    6   that occurred or not.                                       6   because it must be considered in terms of the
    7     Q. You haven't seen anything in the documents             7   actual -- the pharmacy that's in question.
    8   that you've -- that you have reviewed for this case         8         A few moments ago we were discussing the
    9   indicating that the retail chain pharmacies were            9   specific pharmacy that was being asked about in the
   10   distributing patient-oriented materials?                   10   questions, and it was my assertion that some of the
   11     A. Not that I recall.                                    11   numbers that were looked at in that dispensing
   12     Q. So returning to my question, when I asked             12   analysis were sort of unfair to the pharmacy because
   13   you're not contending in this report that the retail       13   of the pharmacy's location being in a rural area,
   14   pharmacy defendants advertised opioids to the              14   being in a -- a border between two states, being
   15   general public, setting aside this -- the small            15   next to a hospital, and so forth.
   16   piece that you can't recall, is there anything else?       16         But again, these are -- these are issues
   17         MR. CHALOS: Object to the form.                      17   that I really didn't look at in this case and -- and
   18     A. I don't think so, no.                                 18   were not part of -- not part of my report or
   19     Q. Returning, if you would, to Page 64 of your           19   something that I even discussed in my report.
   20   report, Dr. Perri, we discussed warehousing pharmacy       20         MS. RODGERS: I just want to say for the
   21   chains and this -- this Table 1 entitled                   21     record he's now going into this report again. I
   22   "Pharmaceutical Supply Chain System Stakeholders."         22     think we're squarely entitled to ask questions --
   23         I'd like to ask you, you mentioned the role          23         MR. CHALOS: No. He asked him questions and
   24   of pharmacies in the supply chain system. And very         24     I let him ask one question. Absolutely we're not
   25   broadly, pharmacies dispense medication to patients        25     waiving anything. He shouldn't have asked the

                                                       Page 331                                                       Page 333
    1   with prescriptions; is that right?                          1     question. That doesn't mean he can open the door
    2     A. Yes.                                                   2     for you. I mean, good try, but no.
    3     Q. And what kinds of dispensing analyses are              3         MS. RODGERS: He's testifying about it.
    4   you aware of that distributors or other entities            4         MR. CHALOS: He asked him a question about
    5   might -- might undertake in order to evaluate the           5     it.
    6   propriety of a pharmacy's dispensing?                       6   BY MR. LADD:
    7     A. I'm not sure I understand your question.               7     Q. So I -- I did ask a question, and I want to
    8         Are you asking me what a manufacturer or              8   go back now, Dr. Perri, and ask you some additional
    9   wholesaler might look at to determine if the                9   questions concerning Exhibit 10, which was your
   10   pharmacy was a legitimate business or --                   10   prior report in the Cherokee Pharmacy case.
   11     Q. I'm asking you generally, what's your                 11         MR. CHALOS: Well, we're not going to --
   12   understanding of the term "dispensing analysis"?           12     we're not going to do that, subject to the same
   13     A. The -- and my understanding of the term               13     issue.
   14   "dispensing analysis" would be a review of the             14         MR. LADD: So if that's your -- are you
   15   information that can be summarized regarding patient       15     instructing Dr. Perri not to answer any questions
   16   pharmacy purchases in a given pharmacy.                    16     about --
   17         For example, we were talking about, a few            17         MR. CHALOS: I mean, are you going to do the
   18   moments ago, whether the -- the numbers of patients        18     same thing that she tried to do?
   19   that pay cash for their prescriptions, the numbers         19         MR. LADD: I'm asking you if you're
   20   of patients that receive controlled substances, the        20     instructing --
   21   numbers of patients who live a certain distance from       21         MR. CHALOS: I'm asking you what questions
   22   the pharmacy, and variables such as that that can be       22     you're going to ask him. If you're going to ask
   23   determined just based on the raw data that's in the        23     him about suspicious order monitoring and what
   24   pharmacy prescription computers.                           24     duties a distributor has with respect to
   25     Q. And in your opinion, is a dispensing                  25     monitoring the dispensing practices of a

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    1   pharmacy, that's beyond the report that is given            1     decided we're not going to ask him until we get a
    2   in this case, and I'm not going to let him answer           2     ruling on that.
    3   those questions, subject to the same issue.                 3         MR. LADD: So for the record, we, Rite Aid,
    4       I mean, this is not honest -- this is not an            4     reserves all its rights to answer -- to ask any
    5   honest undertaking, you trying to do what we're             5     questions about this prior report subject to
    6   debating and are going to bring to Special Master           6     Special Master Cohen's ruling on this dispute.
    7   Cohen.                                                      7         MR. CHALOS: Okay. Don't be sneaky.
    8       MR. LADD: I disagree, and for the record, I             8         MR. LADD: I'm not sneaky.
    9   would like to say that we intended to ask                   9   BY MR. LADD:
   10   Dr. Perri questions about this report. We                  10     Q. Dr. Perri, does your report contain all the
   11   believe that there are opinions that we --                 11   opinions you are providing in this case concerning
   12       MR. CHALOS: Which report? The one from the             12   the retail pharmacy defendants?
   13   other case you're talking about?                           13     A. Yes, it does.
   14       MR. LADD: The one from the other case.                 14     Q. Are you considering any additional opinions
   15       MR. CHALOS: Okay.                                      15   with respect to the retail pharmacy defendants that
   16       MR. LADD: -- that there are opinions in                16   are not currently reflected in your report?
   17   Dr. Perri's prior report that go directly to the           17     A. No, sir.
   18   heart of this case and that we are entitled to             18         MR. LADD: I have nothing else at this time.
   19   put any document that we would like in front of            19         THE WITNESS: Thank you.
   20   Dr. Perri, not just his current expert report,             20         MR. LADD: Thank you for your time.
   21   so --                                                      21         THE VIDEOGRAPHER: We are now going off the
   22       MR. CHALOS: You're arguing the same thing              22     video record. The time is currently 6:52 p.m.
   23   she just argued. We're -- we're going to have              23       (Recess from 6:52 p.m. until 6:54 p.m.)
   24   Special Master Cohen rule on that, so don't try            24         THE VIDEOGRAPHER: We are now back on the
   25   to do the same thing that we're going to have              25     video record. The time is currently 6:54 p.m.

                                                     Page 335                                                         Page 337
    1   Special Master Cohen rule about.                            1                CROSS-EXAMINATION
    2       If you have other questions, ask them.                  2   BY MR. CARTER:
    3   Otherwise, we'll get a ruling and then you can              3     Q. Good afternoon, Dr. Perri. My name is Ed
    4   come back and ask questions and you can come back           4   Carter, and I represent Walmart. I have some
    5   and ask questions if he rules your way, but don't           5   questions for you.
    6   be dishonest and try to do something sneaky like            6     A. Okay. Have we met, Mr. Carter?
    7   that --                                                     7     Q. Not to my knowledge.
    8       MR. LADD: I'm not being dishonest.                      8        Do you recall meeting me?
    9       MR. CHALOS: -- which is what you just did.              9     A. It seems so, but I could be mistaken.
   10       MR. LADD: And for the record, I would just             10     Q. Okay. Are you familiar with Dr. Dean
   11   like to make clear that your position is you're            11   Krugman in the marketing department at the
   12   instructing Dr. Perri not to answer any questions          12   University of Georgia?
   13   about this report?                                         13     A. Yes, I am.
   14       MR. CHALOS: Subject to --                              14     Q. Do you consider him an expert on marketing,
   15       MR. LADD: Subject to --                                15   generally?
   16       MR. CHALOS: -- an adjudication --                      16     A. He's -- I think he's an -- what I would
   17       MR. LADD: Subject to Special Master                    17   refer to as an advertising expert. I don't know
   18   Cohen's --                                                 18   about his expertise in the field of marketing in
   19       MR. CHALOS: Listen, I'll -- I'll say my own            19   general, but I know in advertising, he's top-notch.
   20   words. Okay?                                               20     Q. How do you define "marketing" versus
   21       Subject to Special Master Cohen considering            21   "advertising"? What's the distinction you draw?
   22   and ruling on this issue. And don't be sneaky              22     A. So advertising is a subset of marketing, a
   23   and try to do something that you know is going to          23   very specific subset that relates to communication
   24   be adjudicated with Special Master Cohen, trying           24   of messages, specifically. But the overall
   25   to ask the same questions that we've already               25   marketing process is much more comprehensive than

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    1   just advertising, so there's -- there's more to it            1      A. Generally, I agree with that, yes.
    2   than just the communication of the messages.                  2      Q. So when -- when Coca-Cola is marketing,
    3         So all these issues we've been talking about            3   they're not trying to increase sales of Pepsi?
    4   here today regarding supply chain considerations              4      A. They might not be trying to, but
    5   and -- and so forth would be part of the marketing            5   inadvertently their marketing efforts will result in
    6   program but not necessarily just part of                      6   increased sales of Pepsi. That would be my opinion
    7   advertising.                                                  7   on that. It is very difficult -- there is a lot of
    8     Q. When we talk about marketing, marketing can              8   literature about that kind of marketing activity
    9   serve a number of different roles, correct?                   9   when -- for example, competitive, Eveready Energizer
   10     A. Yeah. I mean, I generally agree with that,              10   Bunny versus Duracell that -- that one marketing
   11   yes.                                                         11   program impacts the other, and if you have
   12     Q. Marketing can stimulate primary product                 12   head-to-head comparisons of Duracell to Energizer,
   13   demand?                                                      13   it lends credibility to the competitor, the
   14     A. Oh, I see what you're getting at.                       14   underdog, so to speak.
   15         Yes, absolutely.                                       15         So there's a lot of -- a lot of reasons to
   16     Q. Marketing can also affect allocation or                 16   consider why that would -- it would be true that
   17   brand switching within a product line, correct?              17   marketing raises -- sort of raises the level of the
   18     A. Right. I refer to that as "market share."               18   pond in terms of the shared voice that a product
   19     Q. Market share.                                           19   category might have in the overall marketplace; and
   20         With respect to your analysis of the                   20   therefore, everybody benefits from marketing when
   21   aggregate marketing relative to opioids, have you            21   one manufacturer is doing it.
   22   undertaken any quantitative assessment as to which           22      Q. So is it your opinion to the jury in this
   23   portion was geared towards generating primary demand         23   case that Energizer Bunny commercials sell Duracell
   24   versus allocation of a brand market share?                   24   batteries?
   25     A. I know that I reviewed documents that                   25      A. They can, yes.

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    1   discussed those -- those issues. I know I reviewed            1      Q. You indicated earlier that your
    2   metrics that evaluated the capture of market share            2   understanding of Walmart --
    3   and market expansion, but I did not quantitatively            3      A. I'm sorry. I need to clarify.
    4   assess that.                                                  4      Q. Okay.
    5         The information I was looking for in those              5      A. When they do a head-to-head comparison
    6   kinds of documents was what was the impact of the             6   between the two, if Duracell is the underdog and
    7   marketing, and it certainly is clear from the                 7   they compete with Eveready, it lends credibility to
    8   analysis that the metrics that manufacturers                  8   the Duracell brand, yes.
    9   recorded showed significant and substantial                   9      Q. Okay. And when Eveready is developing
   10   increases in the size of the opioid market overall,          10   product testing and writing market plans for an
   11   as well as their ability to capture market share             11   Energizer Bunny spot, do you have any reason to
   12   from competition.                                            12   believe that their goal is to sell more Duracell
   13     Q. But in terms of parsing that or categorizing            13   batteries?
   14   the different documents cited in your reliance               14      A. No, I don't think so.
   15   materials, you're not able to give a percentage or           15      Q. Okay. That would be antithetical to their
   16   any kind of quantitative value to the purpose of the         16   purpose?
   17   marketing materials?                                         17      A. It could be antithetical, but I think they
   18     A. I suppose that could be done, but I didn't              18   realize as marketers that when they do advertising,
   19   undertake that analysis.                                     19   it will -- it will promote the brand -- the brand
   20     Q. So you're not prepared to provide that                  20   and the category.
   21   information to the jury in this case?                        21      Q. Okay. You indicated earlier that your
   22     A. I don't plan on offering any opinions about             22   understanding of Walmart's role as a distributor was
   23   that, no.                                                    23   a little bit different, and then you indicated that
   24     Q. Okay. Do you agree that marketing is                    24   you believe Walmart distributed CII opioids through
   25   inherently a competitive undertaking?                        25   a warehouse, correct?

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    1     A. My recollection was that we -- while I never          1   your expert report word for word?
    2   placed any CII orders when I worked for Walmart, was       2     A. I used a search tool to identify key words
    3   that they were ordered on Sunday and -- one time a         3   in the depositions and it would -- it would pull up
    4   week, and it came from a Walmart facility. That's          4   all depositions where those search words were found
    5   the best I can give you on that. I didn't see              5   and then I would read the relevant sections of the
    6   documents in the record that would have informed me        6   depositions that were identified.
    7   one way or the other beyond that.                          7     Q. Okay. So for any depositions cited in your
    8     Q. Okay. So sitting here today, do you have an           8   report, is there any deposition that you read word
    9   opinion prepared to a reasonable degree of                 9   for word?
   10   scientific certainty describing Walmart's                 10     A. Yes, there are.
   11   distribution process of opioids?                          11     Q. Are those noted anyway -- well, excuse me.
   12     A. No, I don't.                                         12         Strike that.
   13     Q. Okay. What was the time frame where you              13         Are those noted in a way that we could
   14   worked at Walmart as a community pharmacist?              14   identify the ones that you did read cover to cover?
   15     A. It was between about 2001 and 2007.                  15     A. I can probably tell you which ones I read
   16     Q. Do you know -- can you narrow that down with         16   cover to cover if I had a list of depositions in
   17   any greater specificity?                                  17   front of me. I know I wanted to try to read a key
   18     A. Well, I mean, I worked through that entire           18   marketing representative for each of the marketing
   19   period as a relief pharmacist. It wasn't -- I             19   defendants and also -- so that would be six or seven
   20   wasn't employed full-time by Walmart.                     20   depositions there. And then I also wanted to read
   21     Q. Were you ever, at any point in time, a               21   the depositions of physicians that were related to
   22   full-time Walmart employee?                               22   Ohio Medicaid.
   23     A. For no longer than a period of about a week          23     Q. Okay. You've indicated a couple times that
   24   or two, yes.                                              24   you're lacking materials that would help you answer
   25     Q. And why did you stop working part-time at            25   questions. Is there a reason you didn't bring your

                                                       Page 343                                                       Page 345
    1   Walmart?                                                   1   full set of reliance materials in a way that would
    2     A. When the 4-dollar prescriptions came into             2   be accessible to you for the purpose of this
    3   being, which was around 2007 or 2008, we were              3   deposition?
    4   instructed that we were going to have additional           4     A. I just, out of -- not having the, you know,
    5   staff added to the stores to help meet the increased       5   technological resources or knowledge that I would be
    6   volume. That never materialized, and I just                6   allowed to have a computer here and to look for
    7   basically wasn't willing to put my license on the          7   things on it.
    8   line to be understaffed.                                   8     Q. And in a --
    9     Q. Now, in terms of your experience at Walmart,          9         MR. CHALOS: We're coming up -- actually,
   10   did you ever -- were you ever involved in the             10     we're way past the time --
   11   diversion of controlled substances?                       11         MR. LADD: Okay.
   12     A. No.                                                  12         MR. CHALOS: -- so...
   13     Q. Were you ever given instructions from the            13         MR. LADD: I'll do one more for today, and
   14   company to engage in conduct that you thought was         14     then we'll -- we'll wrap up today.
   15   unethical or that would result in the diversion of        15   BY MR. LADD:
   16   controlled substances?                                    16     Q. In the notebook that you brought with you
   17     A. Related to controlled substances? No.                17   today, does that include any highlighting,
   18     Q. Okay. You mentioned -- well, let me ask              18   handwritten notes, or margin area?
   19   this: In your expert report, you do not identify          19     A. No, it's simply a printed report of the
   20   any interviews or Walmart-specific information            20   entire -- a printed copy of the entire report.
   21   cited, correct?                                           21     Q. So other than having it punched and in a
   22     A. That's correct.                                      22   binder, there is nothing different about what's
   23     Q. Okay. You identified some documents that             23   already been provided to the defendants in this
   24   have been discussed. You mentioned some deposition        24   case?
   25   testimony. Did you read the depositions cited in          25     A. That's right.

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    1        MR. CARTER: Okay. Those are the questions                   1            INSTRUCTIONS TO WITNESS
    2     for today. I still have additional questioning,                2
    3     but we'll wrap in light of the late hour.                      3
    4        THE WITNESS: Okay.                                          4         Please read your deposition over carefully
    5        THE VIDEOGRAPHER: We are going off the                      5   and make any necessary corrections. You should
    6     video record. The time is currently 7:04 p.m.                  6   state the reason in the appropriate space on the
    7     This is the end of Media Number 7.                             7   errata sheet for any corrections that are made.
    8        (The deposition recessed at 7:04 p.m.)                      8
    9                                                                    9        After doing so, please sign the errata sheet
   10                                                                   10   and date it. It will be attached to your
   11                                                                   11   deposition.
   12                                                                   12
   13                                                                   13        It is imperative that you return the
   14                                                                   14   original errata sheet to the deposing attorney
   15                                                                   15   within thirty (30) days of receipt of the deposition
   16                                                                   16   transcript by you. If you fail to do so, the
   17                                                                   17   deposition transcript may be deemed to be accurate
   18                                                                   18   and may be used in court.
   19                                                                   19
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    1             CERTIFICATE                                            1             ------
    2        I, SUSAN D. WASILEWSKI, Registered                          2             ERRATA
    3 Professional Reporter, Certified Realtime Reporter                 3             ------
    4 and Certified Realtime Captioner, do hereby certify                4 PAGE LINE CHANGE
    5 that, pursuant to notice, the deposition of MATTHEW                5 ____ ____ _________________________________________
    6 PERRI III, BS Pharm, Ph.D., RPh, was duly taken on                 6   REASON: _____________________________________________
    7 Tuesday, April 23, 2019, at 9:28 a.m. before me.                   7 ____ ____ _________________________________________
    8        The said MATTHEW PERRI III, BS Pharm, Ph.D.,                8   REASON: _____________________________________________
    9 RPh, was duly sworn by me according to law to tell                 9 ____ ____ _________________________________________
   10 the truth, the whole truth and nothing but the truth              10   REASON: _____________________________________________
   11 and thereupon did testify as set forth in the above               11 ____ ____ _________________________________________
   12 transcript of testimony. The testimony was taken                  12   REASON: _____________________________________________
   13 down stenographically by me. I do further certify                 13 ____ ____ _________________________________________
   14 that the above deposition is full, complete, and a                14   REASON: _____________________________________________
   15 true record of all the testimony given by the said                15 ____ ____ _________________________________________
   16 witness, and that a review of the transcript was                  16   REASON: _____________________________________________
   17 requested.                                                        17 ____ ____ _________________________________________
   18                                                                   18   REASON: _____________________________________________
   19 ______________________________________________________            19 ____ ____ _________________________________________
   20 Susan D. Wasilewski, RPR, CRR, CCP                                20   REASON: _____________________________________________
   21 (The foregoing certification of this transcript does              21 ____ ____ _________________________________________
   22 not apply to any reproduction of the same by any                  22   REASON: _____________________________________________
   23 means, unless under the direct control and/or                     23 ____ ____ _________________________________________
   24 supervision of the certifying reporter.)                          24   REASON: _____________________________________________
   25                                                                   25


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    1          ACKNOWLEDGMENT OF DEPONENT
    2
    3       I, ______________________________, do hereby
    4 acknowledge that I have read the foregoing pages, 1
    5 through 349, and that the same is a correct
    6 transcription of the answers given by me to the
    7 questions therein propounded, except for the
    8 corrections or changes in form or substance, if any,
    9 noted in the attached Errata Sheet.
   10
   11
   12 _____________________________________________________
   13 MATTHEW PERRI III, BS Pharm, Ph.D., RPh                DATE
   14
   15
   16
   17
   18 Subscribed and sworn to before me this
   19 ____ day of ______________, 20___.
   20 My Commission expires: _________________
   21
   22 ________________________________________
        Notary Public
   23
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   25

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